                                                              United States Bankruptcy Court
                                                                Northern District of Ohio
In re:                                                                                                                 Case No. 25-30191-maw
The Bellevue Hospital                                                                                                  Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0647-3                                                  User: dzeme                                                                 Page 1 of 53
Date Rcvd: Feb 06, 2025                                               Form ID: pdf912                                                        Total Noticed: 2717
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

++++             Addresses marked '++++' were modified by the USPS Locatable Address Conversion System. This system converts rural route numbers to street
                 addresses.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 08, 2025:
Recip ID                 Recipient Name and Address
cr                     + THE BANK OF NEW YORK MELLON TRUST COMPANY, N.A., c/o Patricia Fugee, Esq., 27100 Oakmead Dr., #306, Perrysburg, OH
                         43402, UNITED STATES 43551-2670
28071064               + 1157 DESIGN CONCEPTS, LLC, 210 S. LESTER AVE., SIDNEY, OH 45365-7057
28071065               + 1CALL - DIVISION OF AMTELCO, 4800 CURTIN DRIVE, MC FARLAND, WI 53558-9424
28071066               + 1CALL, A DIVISION OF AMTELCO, ATTN: GENERAL COUNSEL, 4800 CURTIN DR, MC FARLAND, WI 53558-9424
28071067               + 2 TEAS LLC, 114 N SANDUSKY ST, BELLEVUE, OH 44811-1424
28071123               + 20 AESTO HEALTH, ATTN: MICHELE GALLANT, 1800 INTERNATIONAL PARK DR, BIRMINGHAM, AL 35243-4231
28071295               + 20 BAYLESS PATHMARK, INC., ATTN: ACCTS RECEIVABLE/YILAN, 19250 E BAGLEY RD, MIDDLEBURG HEIGHTS, OH
                         44130-3348
28071403               + 20 BOSTON SCIENTIFIC CORP., ATTN: KAREN BOURQUE, 100 BOSTON SCIENTIFIC WAY, MARLBOROUGH, MA
                         01752-1234
28071536                 20 CHANGE HEALTHCARE, ATTN: ACCTS RECEIVABLE, 100 AIRPARK CENTER DRIVE EAST, NASHVILLE, TN 37217
28071784               + 20 DORNIER MEDTECH, 1155 ROBERTS BOULEVARD, KENNESAW, GA 30144-3601
28071855               + 20 EMERGENCY PROFESSIONAL, ATTN: ACCOUNTING DEPT, 307 SOUTH EVERGREEN AVE, WOODBURY, NJ 08096-2739
28072352               + 20 INTUITIVE SURGICAL, INC., ATTN: ACCTS RECEIVABLE, 1020 KIFER RD, SUNNYVALE, CA 94086-5301
28072651                 20 MEDLINE INDUSTRIES, INC., ATTN: NEDRA WARE-HOOD, THREE LAKES DRIVE, NORTHFIELD, IL 60093-2753
28072685                 20 MERGE HEALTHCARE, ATTN: ACCTS RECEIVABLE, 900 WALNUT RIDGE DR., HARTLAND, WI 53029-8347
28072868               + 20 OHA: ASSOCIATION FOR HOSPITALS, ATTN: SCOTT BORGEMENKE, 65 EAST STATE ST., STE. 500, COLUMBUS, OH
                         43215-4277
28073056               + 20 PRESS GANEY ASSOC., INC., ATTN: BUSINESS SERVICE DEPT, 1173 IGNITION DRIVE, SOUTH BEND, IN 46601-2901
28073065                 20 PRIORITY HEALTHCARE DISTRIBUTION, ATTN: ACCTS RECEIVABLE, 2297 SOUTHWEST BLVD STE D, GROVE CITY,
                         OH 43123-1822
28073077                 20 PROMEDICA PHYSICIAN GROUP, ATTN: ONTHA OBERLEY, MSC-S2339, TOLEDO, OH 43604
28073192               + 20 RIVERSIDE RAD & INTERVENTIONAL, ATTN: ASHLEY FAYZLYEV, 100 E CAMPUS VIEW BLVD, STE 100, COLUMBUS,
                         OH 43235-8628
28073490                 20 STRYKER SALES, LLC, ATTN: ACCTS RECEIVABLE, 21343 NETWORK PLACE, CHICAGO, IL 60673-1213
28073577               + 20 THE TOLEDO CLINIC, ATTN: RYAN VICARS, 4235 SECOR RD, TOLEDO, OH 43623-4299
28073689                 20 UT PHYSICIANS, ATTN: YUTONG WU, MAIL STOP 840, TOLEDO, OH 43615
28073757               + 20 WADSWORTH SLAWSON NW, ATTN: ANDREA PHILLIPS, 1500 MICHAEL OWENS WAY, PERRYSBURG, OH 43551-2975
28073788               + 20 WEATHERBY LOCUMS, INC., ATTN: AUSTIN REMICK, 641 N FEDERAL HWY #800, FORT LAUDERDALE, FL 33304
28073876               + 20 ZIMMER BIOMET, ATTN: CUSTOMER SERVICE, 14235 COLLECTION DRIVE, CHICAGO, IL 60693-0001
28071068                 21ST CENTURY MEDIA - OHIO, PO BOX 8003, WILLOUGHBY, OH 44096-8003
28071069               + 3 CORDS SOLUTIONS, LLC, 2715 BRANSFORD AVE, NASHVILLE, TN 37204-3130
28071070               + 340B CONCORDANCE HEALTHCARE SOLUTIONS, PO BOX 94631, CLEVELAND, OH 44101-4631
28071071               + 3M, PO BOX 371227, PITTSBURGH, PA 15250-7227
28071074               + 3M HEALTH INFORMATION SYSTEMS INC, ATTN: PRICING AND CONTRACT DIRECTOR, 575 WEST MURRAY BLVD,
                         MURRAY, UT 84123-4611
28071073               + 3M HEALTH INFORMATION SYSTEMS INC, ATTN: LEGAL, 575 WEST MURRAY BLVD, MURRAY, UT 84123-4611
28071075               + 3M HEALTH INFORMATION SYSTEMS INC, ATTN: GENERAL COUNSEL, 575 WEST MURRAY BLVD, MURRAY, UT




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                     84123-4611
28071076             3M HEALTH INFORMATION SYSTEMS, INC., PO BOX 844394, DALLAS, TX 75284-3398
28071077             5AAB TRANSPORT, LLC, 445 COMMERCE SQ, COLUMBUS, OH 43228-2107
28071078         +   7L CONSTRUCTION LLC, 553 SOUTHWEST ST, BELLEVUE, OH 44811-1761
28071079             A-1 SEWER AND DRAIN, INC/, 2610 ST 61, NORWALK, OH 44857
28071081         +   A-1 SPRINKLER CO, INC, 2383 NORTHPOINTE DR, MIAMISBURG, OH 45342-2989
28071080         +   A-1 SPRINKLER CO, INC, ATTN: RACHEL CLARK, 2383 NORTHPOINTE DR, MIAMISBURG, OH 45342-2989
28071082         +   A-M SYSTEMS, PO BOX 850, CARLSBORG, WA 98324-0850
28071083         +   A1 SPRINKLER & SYSTEMS INTEGRATION LLC, ATTN: GENERAL COUNSEL, 2383 NORTHPOINTE DR, MIAMISBURG, OH
                     45342-2989
28071084             ABBOTT NUTRITION, 75 REMITTANCE DR., CHICAGO, IL 60675-1310
28071085         +   ABBOTT, MEGHAN, 4337 HILL AVE APT 7, TOLEDO, OH 43607-2107
28071086         +   ABBVIE, 62671 COLLECTIONS CENT, CHICAGO, IL 60693-0001
28071087         +   ABBVIE, 62671 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0001
28071088         +   ABBVIE US LLC, ATTN: GENERAL COUNSEL, 62671 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0001
28071089         +   ABC FINANCIAL SERVICES INC, ATTN: GENERAL COUNSEL, PO BOX 6800, NORTH LITTLE ROCK, AR 72124-6800
28071090         +   ABCO FIRE PROTECTION INC, PO BOX 931933, CLEVELEAND, OH 44193-0049
28071091             ABILITY NETWORK INC., PO BOX 856015, MINNEAPOLIS, MN 55485-6015
28071092         +   ABMS SOLUTIONS LLC, ATTN: GENERAL COUNSEL, 2870 PEACHTREE RD, STE 1516, ATLANTA, GA 30305-2918
28071093        #+   ABOUT FACE DESIGNS, INC., 1510 OLD DEERFIELD RD, HIGHLAND PARK, IL 60035-3070
28071094         +   ACCESS RN, INC./DYNAMIC ACCESS, 2600 N CENTRAL EXPRESS, SUITE 280, RICHARDSON, TX 75080-2057
28071095         +   ACCESS RN, INC./DYNAMIC ACCESS, 2600 N CENTRAL EXPRESSWAY, RICHARDSON, TX 75080-2055
28071096         +   ACCESSORIZE ME LLC, 2794 UNIVERSITY AVE, DUBUQUE, IA 52001-5686
28071099         +   ACCUVEIN INC, DEPT CH16850, PALATINE, IL 60055-0001
28071100         +   ACERA SURGICAL, 1650 DES PERES ROAD SUITE 120, ST LOUIS, MO 63131-1851
28071101         +   ACHI, LLC, PO BOX 243, HASKINS, OH 43525-0243
28071102             ACIST MEDICAL SYSTEMS, PO BOX 978975, DALLAS, TX 75397-8975
28071103             ACKERMANN, JOSEPH, 319 LINDEN WAY DR, SANDUSKY, OH 44870-6316
28071104         +   ACOEM, 39032 EAGLE WAY, CHICAGO, IL 60678-0390
28071105         +   ACR, 1891 PRESTON WHITE, RESTON, VA 20191-4326
28071106         +   ACTION DOOR SERVICE, 938 LORAIN BLVD., ELYRIA, OH 44035-2820
28071107         +   ACTION MANAGEMENT SERVICES LLC, 6055 ROCKSIDE WOODS BLVD, 160, INDEPENDENCE, OH 44131-2302
28071108         +   ADAMS, LORI, 407 LYME ST, BELLEVUE, OH 44811-1243
28071109        #+   ADAPTIVE MEDICAL PARTNERS, 3229 PREMIER DR., STE 200, IRVING, TX 75063-2611
28071110         +   ADDITIVE ORTHOPEDICS LLC, PO BOX 310, LITTLE SILVER, NJ 07739-0310
28071111             ADKINS, ANGELA, 639 SHUMAKER DR, BELLEVUE, OH 44811-1639
28071112             ADKINS, NICOLE, 6 LIBERTY ST, NORWALK, OH 44857-1987
28071114         +   ADVANCED STERILIZATION, 33 TECHNOLOGY DR, IRVINE, CA 92618-2346
28071115             ADVANCED STERILIZATION PRODUCTS, PO BOX 74007359, CHICAGO, IL 60674-7359
28071116         +   ADVANCED STERILIZATION PRODUCTS SERVICES, ATTN: GENERAL COUNSEL, 33 TECHNOLOGY DR, IRVINE, CA
                     92618-2346
28071117         +   AEGIS TRAINING SOLUTIONS, LLC, 9477 SILVERSIDE, SOUTH LYON, MI 48178-8809
28071118         +   AEGIS TRAINING SOLUTIONS, LLC, ATTN: GENERAL COUNSEL, 9477 SILVERSIDE, SOUTH LYON, MI 48178-8809
28071119             AERO US INC, PO BOX 849783, LOS ANGELES, CA 90084-9783
28071120         +   AESCULAP, PO BOX 536397, PHILADELPHIA, PA 15253-5905
28071121         +   AESTO HEALT, 1800 INTERNATIONAL PAR, SUITE 110, BIRMINGHAM, AL 35243-4232
28071122         +   AESTO HEALT, 1800 INTERNATIONAL PARK DR, BIRMINGHAM, AL 35243-4231
28071124         +   AESTO HEALTH LLC D/B/A AESTO HEALTH, ATTN: SHARON HELLER, CHIEF RISK OFFICER, 1800 INTERNATIONAL
                     PARK DR, STE 110, BIRMINGHAM, AL 35243-4232
28071125         +   AESTO LLC D/B/A AESTO HEALTH, ATTN: GENERAL COUNSEL, 1800 INTERNATIONAL PARK DR, STE 110,
                     BIRMINGHAM, AL 35243-4232
28071126         +   AHI SOFTWARE INC, ATTN: GENERAL COUNSEL, 15476 NW 77 CT, STE 624, MIAMI LAKES, FL 33016-5823
28071127         +   AHNER COMMERCIAL & SUPPLY LLC, 2101 W PERKINS AVE, SANDUSKY, OH 44870-2043
28071128         +   AIGLER, LINDA, 318 GREENWOOD HEIGHTS, BELLEVUE, OH 44811-1015
28071130             AIRBORNE EXPRESS, P.O. BOX 91001, SEATTLE, WA 98111
28071131        #+   AIRPORT INFINITI, 13940 BROOKPARK RD, CLEVELAND, OH 44135-5150
28071132         +   AIRSTRIP, 2915 W BITTERS RD, STE 215, SAN ANTONIO, TX 78248-1412
28071133         +   AIRSTRIP, 2915 W BITTERS, STE 215, SAN ANTONIO, TX 78248-1412
28071134         +   AIRSTRIP, ATTN: GENERAL COUNSEL, 335 E SONTERRA BLVD, STE 200, SAN ANTONIO, TX 78258-4385
28071135         +   ALAFITA, 524 GARDNER ROAD, BELLEVUE, OH 44811-1611
28071136         +   ALCON VISION, LLC, 6201 SOUTH FREEWAY, FORT WORTH, TX 76134-2001
28071137         +   ALCOR SCIENTIFIC, 11 KNIGHT ST, WARWICK, RI 02886-1397
28071138             ALERE TOXICOLOGY-PRODUCTS DIVISION, PO BOX 734598, CHICAGO, IL 60673-4598
28071139         +   ALLEN MEDICAL SYSTEMS INC, 1 POST OFFICE SQUARE, ACTON, MA 01720-3962




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28071140         + ALLEN, MELANIE, 303 WHITE ST., CLYDE, OH 43410-1931
28071141         + ALLEN, WILLARD, 435 SIXTH ST., FREMONT, OH 43420-4237
28071142           ALLERGAN USA, INC, 12975 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0129
28071143         + ALLEY, 7045 CO. RD. 191, BELLEVUE, OH 44811-8701
28071144         + ALLGAUER, 116 ELLIS AVE, BELLEVUE, OH 44811-1802
28071145           ALLSCRIPTS LLC, 24630 NETWORK PLACE, CHICAGO, IL 60673-1246
28071146         + ALLSCRIPTS LLC, ATTN: GENERAL COUNSEL, 305 CHURCH AT NORTH HILLS ST, RALEIGH, NC 27609-2667
28071147         + ALLSCRIPTS LLC, ATTN: GENERAL COUNSEL, 24630 NETWORK PL, CHICAGO, IL 60673-1246
28071148           ALLSTATE WORKPLACE DIVISION, PO BOX 650514, DALLAS, TX 75265-0514
28071149         + ALLY TITLE AGENCY, 202 MILAN AVENUE, NORWALK, OH 44857-1170
28071150         + ALMA LASERS INC, ATTN: GENERAL COUNSEL, 485 HALF DAY RD, STE 100, BUFFALO GROVE, IL 60089-8806
28071151         + ALMA LASERS, INC., 485 HALF DAY ROAD, BUFFALO GROVE, IL 60089-8806
28071153         + ALPHA IMAGING, 4455 GLENBROOK RD, WILLOUGHBY, OH 44094-8219
28071152         + ALPHA IMAGING, ATTN: BRAD TARORICK, 4455 GLENBROOK RD, WILLOUGHBY, OH 44094-8219
28071154         + ALPHA IMAGING LLC, ATTN: GENERAL COUNSEL, 4455 GLENBROOK RD, WILLOUGHBY, OH 44094-8219
28071156           ALT, CHERYL, 15478 E TOWNSHIP ROAD 136, BELLEVUE, OH 44811-9571
28071157         + ALTA DIAGNOSTICS INC, 3123 RESEARCH WAY, CARSON, NV 89706-7994
28071158           ALTERA DIGITAL HEALTH, PO BOX 735183, CHICAGO, IL 60673-5183
28071160         + ALTERA DIGITAL HEALTH INC, ATTN: GENERAL COUNSEL, 2429 MILITARY RD, STE 300, NIAGARA FALLS, NY
                   14304-1551
28071161         + ALTERNATIVE HEALTHCARE SOLUTIONS, 36200 EUCLID AVE. STE. 5, WILLOUGHBY, OH 44094-4400
28071162         + ALVARADO, ANTONIO, 627 FULTON ST, FREMONT, OH 43420-1903
28071163         + ALYTINSON HOLDINGS, LL, ATTN JEFFREY PAY, D.O., 1007 WESTWIND TRACE, HINCKLEY, OH 44233-9338
28071164         + ALYTINSON HOLDINGS, LLC, 1007 WESTWIND TRACE, HINCKLEY, OH 44233-9338
28071165           AMANDA BLU, 23520 E 86TH ST, SHAWNEE MISSION, KS 66227
28071166         + AMANDA HILLS, PO BOX 301, ETNA, OH 43018-0301
28071167           AMARC, LTD, 15 FORT MONROE INDUSTRIAL PARKWAY, MONROEVILLE, OH 44847
28071168           AMAZON CAPITAL SERVICES, INC, PO BOX 81207, SEATTLE, WA 98108-1207
28071170           AMERICAN ACADEMY OF PEDIATRICS, PO BOX 776442, CHICAGO, IL 60677-6442
28071171         + AMERICAN AIR FILTER, 9920 CORPORATE CAMPUS DR., LOUISVILLE, KY 40223-4051
28071172         + AMERICAN CANCER SOCIETY, PO BOX 1981, CLEVELAND, OH 44106-0181
28071174           AMERICAN COLLEGE OF RADIOLOGY, PO BOX 412722, BOSTON, MA 02241-2722
28071175        #+ AMERICAN HOLE 'N ONE, 55 SCOTT STREET, BUFORD, GA 30518-3056
28071176           AMERICAN HOSPITAL ASSOCIATION, PO BOX 92247, CHICAGO, IL 60675-2247
28071177         + AMERICAN INTERIORS, PO BOX 73442, CLEVELAND, OH 44193-1122
28071179         + AMERICAN MEDICAL ASSOCIATION, ORDER DEPARTMENT, ATLANTA, GA 31193-0001
28071183           AMERISOURCE BERGEN ASD HEALTHCARE, 27550 NETWORK PLACE, CHICAGO, IL 60673-1275
28071184           AMERISOURCEBERGEN CORP, PO BOX 27550, CHICAGO, IL 60673-1275
28071187         + AMERISOURCEBERGEN DRUG CORPORATION, 1 WEST FIRST AVENUE, CONSHOHOCKEN, PA 19428-1800
28071186           AMERISOURCEBERGEN DRUG CORPORATION, PO BOX 27550, CHICAGO, IL 60673-1275
28071185         + AMERISOURCEBERGEN DRUG CORPORATION, ATTN: GENERAL COUNSEL, 1 WEST FIRST AVE, CONSHOHOCKEN, PA
                   19428-1800
28071188           AMERITAS LIFE INS CORP, PO BOX 81889, LINCOLN, NE 68501-1889
28071189           AMN HEALTHCARE LANGUAGE SERVICES/, PO BOX 675248, DETROIT, MI 48267-5248
28071190         + AMNIO TECHNOLOGY LLC, 22510 N 18TH DRIVE, PHOENIX, AZ 85027-1363
28071191         + AMWELL, 75 STATE ST, 26TH FLOOR, BOSTON, MA 02109-1824
28071192         + ANCONA CONTROLS INC, 28021 GRAND OAKS CT, WIXOM, MI 48393-3340
28071193         + ANDAX, 613 WST PALMER, ST MARY'S, KS 66536-1629
28071194           ANDERSON, EMILY, 311 WALNUT ST., PORT CLINTON, OH 43452-1311
28071195           ANDREA GAZDECKI, 106 WALNUT STREET, LINDSEY, OH 43442
28071197         + ANDRES, 2734 COUNTY ROAD 276, BELLEVUE, OH 44811-9480
28071198         + ANDRES, 217 W. SMITH STREET, GIBSONBURG, OH 43431-1323
28071196         + ANDRES, 2656 CR 276, BELLEVUE, OH 44811-9490
28071200           ANDRES, KEVIN, 21826 JACKSON RIDGE RD, LAWRENCEBURG, IN 47025-8761
28071201         + ANDREWS, 13774 E. CO RD 34, BELLEVUE, OH 44811-9699
28071202         + ANDREWS, AMELIA, 118 LIBERTY ST, CLYDE, OH 43410-1893
28071203         + ANDY'S CENTER STREET AUTO REPAIR, 205 W CENTER ST, BELLEVUE, OH 44811-1350
28071204         + ANGEL STAR, 195 MAST ST 100, MORGAN HILL, CA 95037-5147
28071205           ANGELONE, ANDREW, 162 FRIEDLEY AVE, BELLEVUE, OH 44811-1047
28071208           ANSTEAD, 7820 FORT STREET, OLD FORT, OH 44861
28071209         + ANSTEAD, 2760 EAST COUNTY ROAD 113, GREEN SPRINGS, OH 44836-9607
28071210         + APEX MEDICAL SERVICES COMPANY LLC, 979 TOWNSHIP RD 2206, PERRYSVILLE, OH 44864-9549
28071211           APPLIED MEDICAL, PO BOX 3511, CAROL STREAM, IL 60132-3511




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28071212         +   APPLIED STATISTICS & M, 31515 RANCHO PUEBLO, TEMECULA, CA 92592-4837
28071213         +   APPLIED STATISTICS & MGMT INC, 32848 WOLF STORE ROAD, TEMECULA, CA 92592-8277
28071214         +   AQUILUS HEALTHCARE SOLUTIONS, 1411 WASHINGTON ST. #9, BOSTON, MA 02118-2060
28071215         +   AR SYSTEMS INC, PO BOX 2521, TWIN FALLS, ID 83303-2521
28071216         +   ARDUS MEDICAL INC, PO BOX 23128, CINCINNATI, OH 45223-0128
28071217         +   AREA WIDE MICROSCOPE & EQUIPMENT, 6587 INNSDALE PLACE, HUBER HEIGHTS, OH 45424-3538
28071219             ARGON MEDICAL DEVICES, DEPT 0527, PO BOX 120527, DALLAS, TX 75312-0527
28071218             ARGON MEDICAL DEVICES, PO BOX 120527, DALLAS, TX 75312-0527
28071220         +   ARGUELLES, JAZMINE L., 1710 COUNTY ROAD 66, GIBSONBURG, OH 43431-9614
28071222             ARJO INC., PO BOX 640799, PITTSBURGH, PA 15264-0799
28071223         +   ARMSTRONG MEDICAL, PO BOX 700, LINCOLNSHIRE, IL 60069-0700
28071224         +   ARNETT, CHARLEY, 10709 STRECKER RD., BELLEVUE, OH 44811-9641
28071225         +   ARNOLD, JANE, 4659 E CO RD 16, TIFFIN, OH 44883-8802
28071226             ARRO, PO BOX 60519, CHARLOTTE, NC 28260-0519
28071229         +   ARTELON, 8601 DUNWOODY PLACE, SANDY SPRINGS, GA 30350-2513
28071230             ARTHREX INC, PO BOX 403511, ATLANTA, GA 30384-3511
28071231             ARUP LABORATORIES, PO BOX 27964, SALT LAKE CITY, UT 84127-0964
28071233         +   ASCOM US INC, 3428 COLLECTION CENTER DR, CHICAGO, IL 60693-0034
28071234             ASD HEALTHCARE, PO BOX 848104, DALLAS, TX 75284-8104
28071235             ASD SPECIALTY HEALTHCARE, LLC, PO BOX 848104, DALLAS, TX 75284-8104
28071236             ASD SPECIALTY HEALTHCARE, LLC, 27550 NETWORK PLACE, CHICAGO, IL 60673-1275
28071237         +   ASHCOM TECHNOLOGIES IN, 3917 RESEARCH PARK DT, SUITE B4, ANN ARBOR, MI 48108-2354
28071238         +   ASHCOM TECHNOLOGIES INC, 3917 RESEARCH PARK DT, ANN ARBOR, MI 48108-2354
28071239         +   ASHLAND UNIVERSITY, 401 COLLEGE AVE, ASHLAND, OH 44805-3799
28071240         +   ASPEN SURGICAL, 6945 SOUTHBELT DR SE, CALEDONIA, MI 49316-7664
28071241         +   ASSA ABLOY ENTRANCE SYSTEMS US INC., 29263 CLEMENS RD, WESTLAKE, OH 44145-1002
28071242             ASSOC FOR NURS'G PROF DEVELOPMENT, 8444 SOLUTIONS CENTER, CHICAGO, IL 60677-8004
28071243         +   ASSURED MED SUPPLY LLC., 4136 DEL REY AVENUE, MARINA DEL REY, CA 90292-5604
28071244             ASSURITY LIFE INS. CO., PO BOX 957494, ST LOUIS, MO 63195-7494
28071245         +   ATKINSON, DONALD, 3778 OAK HARBOR RD., FREMONT, OH 43420-9381
28071246         +   ATLANTA COMPUTER SALES INC, ATTN: GENERAL COUNSEL, 1925 GRASSLAND PKWY, ALPHARETTA, GA 30004-7717
28071247         +   ATLAS SPINE INC, ATTN: GENERAL COUNSEL, 1555 JUPITER PARK DR, STE 4, JUPITER, FL 33458-8085
28071248         +   ATLAS SPINE, INC, 1555 JUPITER PARK DR, SUITE 1, JUPITER, FL 33458-8085
28071249         +   AUBLE, DUGAN, PO BOX 62, BASCOM, OH 44809-0062
28071250         +   AVANOS MEDICAL INC, 5405 WINDWARD PARKWAY, ALPHARETTA, GA 30004-4667
28071251         +   AVANTE HEALTH SOLUTIONS, 212 AVENIDA FABRICANTE, SAN CLEMENTE, CA 92672-7538
28071252             AVANTIK, 19 CHAPIN ROAD, PINE BROOK, NJ 07058
28071253         +   AVERY, JAMES, 312 W. BUCKEYE ST., CLYDE, OH 43410-1938
28071254         +   AVITUS ORTHOPAEDICS INC, 6 ARMSTRONG ROAD, SHELTON, CT 06484-4722
28071255         +   AVOTEC INC, 609 NW BUCK HENDRY WAY, STUART, FL 34994-9669
28071256         +   AXOGEN, 13631 PROGRESS BLVD, ALACHUA, FL 32615-9409
28071257         +   AYRES, MIDORI, 501 UNION PLACE, FREMONT, OH 43420-1910
28071258         +   B. BRAUN MEDICAL INC, 824 12TH AVE, BETHLEHEM, PA 18018-3524
28071259             BAILEY, TERRY, 1607 EDWARDS DR, FREMONT, OH 43420-9578
28071260         +   BAKER, 138 HIGH STREET, BELLEVUE, OH 44811-1419
28071261         +   BAKER, 7273 CR 247, CLYDE, OH 43410-9735
28071262         +   BAKER AUTOMOTIVE REPAIR, 1744 W MCPHERSON HWY, CLYDE, OH 43410-1011
28071263         +   BAKER HOSTETLET, ATTN: MATTHEW TENEROWICZ, ESQ., 127 PUBLIC SQUARE, SUITE 2000, CLEVELAND, OH
                     44114-1214
28071264         +   BAKER MARY, 122 NATHAN DR, CLYDE, OH 43410-9645
28071265         +   BAKER VEHICLE SYSTEMS, 9035 FREEWAY DR, MACEDONIA, OH 44056-1508
28071266         +   BAKER, BENJAMIN, 394 CLEVELAND ROAD, NORWALK, OH 44857-8862
28071267         +   BAKER, JUSTIN, 8 BRADLEY AVE APT 2, RICHLAND, OH 44875-1846
28071268         +   BAKER, PATRICK, 3533 CO RD 174, FREMONT, OH 43420-8905
28071269         +   BALDOSSER, 7941 E TWP RD. 138, REPUBLIC, OH 44867-9633
28071270         +   BALDOSSER, SHANA, 7941 E TWP RD 138, REPUBLIC, OH 44867-9633
28071271         +   BALDWIN WALLACE UNIVERSITY, 275 EASTLAND RD, BEREA, OH 44017-2088
28071272         +   BALES, 2582 CRESCENT ROAD, NEW LONDON, OH 44851-9496
28071273         +   BALL HIRT PROPERTIES LTD, PO BOX 303, BELLEVUE, OH 44811-0303
28071274         +   BALL MEDICAL CLINIC INC., 1255 WMAIN ST., BELLEVUE, OH 44811-9420
28071275         +   BALL, SUZANNE, 1508 W. ARROWHEAD RD., FREMONT, OH 43420-9131
28071276         +   BALLREICH BROS INC, 186 OHIO AVE, TIFFIN, OH 44883-1746
28071278         +   BAPTISTA, 381 NATHAN DRIVE, CLYDE, OH 43410-9648




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28071279         +   BAPTISTA, OLIVIA, 283 ETHAN DRIVE, FREMONT, OH 43420-0019
28071280         +   BARD MEDICAL DIVISION,, 8195 INDUSTRIAL BLVD, COVINGTON, GA 30014-1497
28071281         +   BARGER, TONYA, 106 GUNTHER ST., BELLEVUE, OH 44811-1513
28071282         +   BARNARD, 1212 COUNTY ROAD 310, CLYDE, OH 43410-9733
28071283             BARNETT, JARROD, 1306 SCHAEFFER RD, NORWALK, OH 44857-9790
28071284         +   BAS BROADCASTING INC, 1281 NORTH RIVER ROAD, FREMONT, OH 43420-9760
28071285         +   BASIC, PO BOX 88297, MILWAUKEE, WI 53288-8297
28071286         +   BASIC BENEFITS LLC, ATTN: GENERAL COUNSEL, 9246 PORTAGE INDUSTRIAL DR, PORTAGE, MI 49024-6176
28071287         +   BAUER, 2220 COUNTY ROAD 41, FREMONT, OH 43420-8690
28071288         +   BAUER, CHRISTOPHER, 6551 YOUND RD, BELLEVUE, OH 44811-9790
28071289             BAUER, RICHARD, 225 RACE ST., CLYDE, OH 43410-1816
28071290             BAUSCH & LOMB AMERICAS INC., PO BOX 772690, DETROIT, MI 48277-2690
28071292             BAYER HEALTHCARE, PO BOX 360172, PITTSBURGH, PA 15251-6172
28071294         +   BAYLESS PATHMARK, INC, 19250 E BAGLEY RD, MIDDLEBURG HEIGHTS, OH 44130-3348
28071293         +   BAYLESS PATHMARK, INC, 19250 E BAGLEY RD, SUITE 101, MIDDLEBURG HEIGHTS, OH 44130-3348
28071296             BCI INTERNATIONAL, 238 N 1650 ROCKWOOD, WAUKESHA, WI 88638
28071297         +   BD-CRITICAL CARE, PO BOX 223095, PITTSBURGH, PA 15251-2095
28071298         +   BE STRONG UNIFORMS AND LEARNING, 26 WHITTLESEY AVE, NORWALK, OH 44857-1423
28071299             BEACON MEDAES, DEPT 3234, DALLAS, TX 75312-3234
28071300         +   BEARD, CARLA, 1341 NORTH STATE ROUTE 590, FREMONT, OH 43420-8946
28071301             BEAT, DAVID, 1292 SCHAFFER RD, NORWALK, OH 44857-8918
28071302         +   BECK SUPPLIERS INC., PO BOX 931120, CLEVELAND, OH 44193-1411
28071303             BECKMAN COULTER INC, DEPT CH 10164, PALATINE, IL 60055-0164
28071304             BECTON DICKINSON, 21588 NETWORK PLACE, CHICAGO, IL 60673-1215
28071306         +   BEGGS, 1508 CR 302, BELLEVUE, OH 44811-9432
28071307         +   BEHL, 30218 CHATHAM POINT DRIVE, BAY VILLAGE, OH 44140-1725
28071308             BEHNING, CINDY, 2050 SECTION LINE ROAD 30, BELLEVUE, OH 44811-9770
28071309         +   BELCHER, BETHANY, 424 N WOODLAND, CLYDE, OH 43410-1416
28071310         +   BELLEVUE AREA CHAMBER OF COMMERCE, ONE UNION SQUAR - SUITE A, BELLEVUE, OH 44811-1400
28071311         +   BELLEVUE AREA TOURISM & VISITORS, PO BOX 63, BELLEVUE, OH 44811-0063
28071312         +   BELLEVUE ATHELETIC BOOSTERS, 5796 CR 177, BELLEVUE, OH 44811-8704
28071313         +   BELLEVUE ATHLETIC DEPT., 200 OAKLAND AVE, BELLEVUE, OH 44811-1033
28071314         +   BELLEVUE BASEBALL COMMISSION, PO BOX 263, BELLEVUE, OH 44811-0263
28071315         +   BELLEVUE CITY SCHOOLS, ATTN: GENERAL COUNSEL, 125 NORTH ST, BELLEVUE, OH 44811-1451
28071316         +   BELLEVUE COMMUNITY CENTER, 110 CHERRY BLVD, BELLEVUE, OH 44811-1713
28071317         +   BELLEVUE HIGH SCHOOL, 200 OAKLAND AVE, BELLEVUE, OH 44811-1032
28071318         +   BELLEVUE MUNICIPAL COURT, 3000 SENECA IND PKY, BELLEVUE, OH 44811-8709
28071319         +   BELLEVUE MUSIC BOOSTERS, PO BOX 576, BELLEVUE, OH 44811-0576
28071320         +   BELLEVUE PROFESSIONAL SERVICES INC, 1400 W MAIN STE A, BELLEVUE, OH 44811-9088
28071321         +   BELLEVUE REC. DEPT, 110 CHERRY BLVD, BELLEVUE, OH 44811-1713
28071322         +   BELLEVUE ROTARY FOUNDATION, PO BOX 291, BELLEVUE, OH 44811-0291
28071323         +   BELLEVUE UNITED SELECTIV, 250 W MAIN ST, BELLEVUE, OH 44811-1326
28071324         +   BENNETTS CG LLC, 11291 OLD MILL RD, SPENCER, OH 44275-9580
28071326             BENTON KIRBY, PO BOX 463, FORT ATKINSON, WI 53538-0463
28071327         +   BERARDI'S FRESH ROAST,, ATTN: SEAN LENEGHAN, 12029 ABBEY RD, NORTH ROYALTON, OH 44133-2637
28071328         +   BERARDI'S FRESH ROAST, INC, 12029 ABBEY RD, NORTH ROYALTON, OH 44133-2637
28071329             BERBERICK, DONALD, 467 S COUNTY ROAD 43, REPUBLIC, OH 44867-9687
28071330         +   BERENDT, 7 E. UNION STREET, GREENWICH, OH 44837-1148
28071331         +   BERKELEY DESIGNS, 1535 S BAKER AVE, ONTARIO, CA 91761-8072
28071333         +   BETSCHMAN SECURITY INC, 2 HORSESHOE DR, MONROEVILLE, OH 44847-9707
28071334         +   BETSCHMAN, DEAN, 8654 ST RT 18, BELLEVUE, OH 44811-9549
28071335         +   BEVERLY, DAVE, 1128 LAGUNA DR., HURON, OH 44839-2605
28071336         +   BG MEDICAL, PO BOX 1861, BARRINGTON, IL 60011-1861
28071337         +   BGSU - OFFICE OF THE BURSAR, 1001 E WOOSTER ST, BOWLING GREEN, OH 43403-0001
28071338         +   BGSU FOUNDATION INC., 1851 N. RESEARCH DR., BOWLING GREEN, OH 43403-4401
28071339         +   BIEHL, 1044 SOUTH CR 278, CLYDE, OH 43410-9462
28071340         +   BIG NUT SCHOLARSHIP FUND, 1990 CR 239, FREMONT, OH 43420-9584
28071341             BILLINGS, JEANETTE, 307 E MAPLE ST, CLYDE, OH 43410-1222
28071342         +   BILLIONTOONE INC, ATTN: NICOLE BARRETT AND AP, 1035 O'BRIEN DR, MENLO PARK, CA 94025-1408
28071343             BINTING, DONALD, 4416 COLUMBUS AVE, SANDUSKY, OH 44870-7124
28071344         +   BIO MEDICAL DEVICES, 17171 DAIMLER AVE, IRVINE, CA 92614-5508
28071345             BIO RAD LAB INC, CLINICAL DIAG DIV, LOS ANGELES, CA 90084-9740
28071346             BIOCOMPATIBLES INC, FIVE TOWER BRIDGE, WEST CONSHOHOCKEN, PA 19428




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28071347         +   BIOCOMPOSITES INC, 700 MILITARY CUTOFF R, WILMINGTON, NC 28405-8384
28071349         +   BIOFIRE DIAGNOSTICS LLC, PO BOX 581463, SALT LAKE CITY, UT 84158-1463
28071350         +   BIOFIRE DIAGNOSTICS LLC, ATTN: GENERAL COUNSEL, 515 COLOROW WAY, SALT LAKE CITY, UT 84108-1248
28071351         +   BIOLOGICA, 1905 ASTON AVE, CARLSBAD, CA 92008-7392
28071352         +   BIOMERIEUX INC, PO BOX 500308, ST LOUIS, MO 63150-0308
28071354         +   BIOMERIEUX INC, ATTN: GENERAL COUNSEL, PO BOX 500308, ST LOUIS, MO 63150-0308
28071355         +   BIOMERIEUX INC, ATTN: GENERAL COUNSEL, 515 COLOROW DR, SALT LAKE CITY, UT 84108-1248
28071356         +   BIONESS, 25103 RYE CANYON LOOP, VALENCIA, CA 91355-5004
28071357         +   BIOPRO, 2929 LAPEER RD, PORT HURON, MI 48060-2558
28071358         +   BIOTRONIC NEURONETWORK, 812 AVIS DRIVE, ANN ARBOR, MI 48108-9649
28071359         +   BIOTRONIK INC., 6024 JEAN RD, LAKE OSWEGO, OR 97035-5599
28071360             BIOVENTUS LLC, PO BOX 732823, DALLAS, TX 75373-2823
28071361             BIRCH, ROBERT, 1861 COUNTY ROAD 302, BELLEVUE, OH 44811-9103
28071362         +   BIRDEYE, PO BOX 173, WOOSTER, OH 44691-0173
28071363         +   BIRDEYE DESIGN LLC, ATTN: GENERAL COUNSEL, 2479 E BAYSHORE RD, STE 188, PALO ALTO, CA 94303-3245
28071364         +   BISCHOFF, 12378 E. TWP. RD. 148, REPUBLIC, OH 44867-9625
28071365             BISHOP, REBECCA, 3840 HORN ROAD, MONROEVILLE, OH 44847-9461
28071366         +   BISIGNANO, PO BOX 385, ATTICA, OH 44807-0385
28071369         +   BIZMATICS INC., 33115 COLLECTION CENTE, CHICAGO, IL 60693-0001
28071370         +   BIZMATICS INC., 33115 COLLECTION CENTER DRIVE, CHICAGO, IL 60693-0001
28071371         +   BKD CPA AND ADVISORS, 910 E. ST. LOUIS ST, SUITE 200, SPRINGFIELD, MO 65806-2568
28071372         +   BLACKBAUD, PO BOX 830413, PHILADELPHIA, PA 19182-0519
28071373         +   BLAIR, 134 LEMON STREET, CLYDE, OH 43410-2032
28071374         +   BLAIR, DEITZEL, 642 HETTLE ROAD, WILLARD, OH 44890-9521
28071375         +   BLANCHARD, 485 W BUCKEYE STREET, CLYDE, OH 43410-1939
28071376         +   BLEDSOE, 3109 HURON AVERY ROAD, HURON, OH 44839-2442
28071377         +   BLODY, TABATHA, 426 EVERETT RD, FREMONT, OH 43420-1421
28071378             BLOXSON, KENNETH, 8301 PORTLAND RD, CASTALIA, OH 44824-9768
28071379             BLUE & CO., LLC, 2712 SOLUTION CENTER, CHICAGO, IL 60677-2007
28071380         +   BLUE ORANGE COMPLIANCE, 2500 FARMERS DRIVE, COLUMBUS, OH 43235-5706
28071381         +   BLUEWAVE AQUATICS, 5279 SANCTUARY LANE, SHEFFIELD VILLAGE, OH 44054-3101
28071383         +   BOBER, 601 MONROE STREET, BELLEVUE, OH 44811-1734
28071384         +   BOESKEN, 11359 WEST CULLMUN ROAD, OAK HARBOR, OH 43449-9102
28071386         +   BOGNER, 705 NORTHWEST STREET, BELLEVUE, OH 44811-1027
28071385         +   BOGNER, 1471 WURTZ ROAD, ATTICA, OH 44807-9562
28071387         +   BOHNE, MATTHEW, 31 WALNUT ST., NORWALK, OH 44857-2338
28071388         +   BOILER SPECIALISTS INC, 1669 MERWIN AVE, CLEVELAND, OH 44113-2421
28071389         +   BOILERS CONTROLS & EQIPMENT INC, 3935 N. DETROIT AVE, TOLEDO, OH 43612-1368
28071391         +   BOLLENBACHER, 13224 E. CO. RD. 32, BELLEVUE, OH 44811-9567
28071390         +   BOLLENBACHER, 5168 STATE ROUTE 547, BELLEVUE, OH 44811-9734
28071392             BOLLENBACHER, KATHRYN, 11055 SENECA CO RD 32 E., BELLEVUE, OH 44811
28071393         +   BOLLINGER, 2396 CR 276, BELLEVUE, OH 44811-9081
28071395         +   BOLLINGER, EMMA GRACE, 2396 CR 276, BELLEVUE, OH 44811-9081
28071396         +   BONE BOYS BBQ, 109 W MAIN ST, BELLEVUE, OH 44811-1329
28071397         +   BONE FOAM, 20175 COUNTY RD 50, CORCORAN, MN 55340-9345
28071398             BONE SUPPORT, INC, PO BOX 844806, BOSTON, MA 02284-4806
28071399         +   BONER, 10256 E. TWP. RD. 12, BLOOMVILLE, OH 44818-9456
28071401         +   BOSTON SCIENTIFIC CORP, PO BOX 8500-6205, PHILADELPHIA, PA 19178-0001
28071402             BOSTON SCIENTIFIC CORP, PO BOX 786205, PHILADELPHIA, PA 19178-6205
28071404         +   BOSTON SCIENTIFIC CORPORATION, ATTN: GENERAL COUNSEL, 4100 HAMLINE AVE NORTH, ST PAUL, MN 55112-5798
28071405         +   BOUILLON, DANIELLE, 3328 SOUTH TWP RD 59, ALVADA, OH 44802-9709
28071406         +   BOWERSOX, 41 ERIE STREET, TIFFIN, OH 44883-1629
28071407         +   BOWERSOX, ALICIA, 41 ERIE ST, TIFFIN, OH 44883-1629
28071408         +   BOWLING GREEN STATE UNIVERSITY, ATTN: CHRIS SCHOMMER, ATHLETIC TRAINING PROGRAM DIRECTOR,
                     BOWLING GREEN, OH 43403-0001
28071409             BOXOUT, LLC, PO BOX 72178, CLEVELAND, OH 44192-0002
28071410         +   BOYER FAMILY HOMES, LLC, 5963 GRAND PAVILION WAY, ALEXANDRIA, VA 22303-2268
28071412         +   BRACCO DIAGNOSTICS INC, ATTN: GENERAL COUNSEL, PO BOX 532411, CHARLOTTE, NC 28290-0001
28071413         +   BRADY SIGNS, 1721 HANCOCK STREET, SANDUSKY, OH 44870-4121
28071414         +   BRANCO, 310 HARTLAND DR., BELLEVUE, OH 44811-9097
28071415         +   BRANDT, 615 LORRAINE AVENUE, BOWLING GREEN, OH 43402-1532
28071416         +   BRECHEISEN, JOHN, 3136 COUNTY ROAD 704, LINDSEY, OH 43442-9718
28071417         +   BRECKENRIDGE KITCHEN EQUIPMENT, PO BOX 327, HURON, OH 44839-0327




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28071418         + BREG INC, PO BOX 849991, DALLAS, TX 75284-9991
28071419           BRENNER, NATHAN, 21 LIBERTY ST., BLOOMVILLE, OH 44818
28071420         + BRESLIN, WILLIAM, 123 MCKIM ST., BELLEVUE, OH 44811-1756
28071421         + BREYMAN, 146 COUNTRY VIEW DRIVE, BELLEVUE, OH 44811-9087
28071422           BRICKER & ECKLER, L-4070, COLUMBUS, OH 43260-4070
28071423           BRIDINGER, ROBERTA, 73 KENSINGTON AVE, TIFFIN, OH 44883-2020
28071424         + BRIGGS CORPORATION, PO BOX 1355, DES MOINES, IA 50306-1355
28071425         + BROKAW, 2246 SEMINARY RD., MILAN, OH 44846-9475
28071427         + BROOKS, 6142 BAUER ROAD, BELLEVUE, OH 44811-9795
28071428           BROOKS, MARK, 122 BELLE AVE., BELLEVUE, OH 44811-1847
28071429         + BROWN, 118 NORTH MULBERRY STREET, CLYDE, OH 43410-1948
28071430         + BROWN ALBERT, 220 MAPLE LN LOT 82, GREENSPRINGS, OH 44836-9693
28071431         + BROWN, BRENDA, 157 HAMILTON ST, BELLEVUE, OH 44811-1308
28071432         + BROWN, CARMEN, 389 COUNTY ROAD 242, FREMONT, OH 43420-9234
28071433           BRUMBAUGH, MICHAEL, 2358 HAYES AVE, FREMONT, OH 43420-2635
28071434           BRUNER LAW GROUP, SUITE 140, EXCELSLOR, MN 55331
28071435           BRYANT, RAMONA, 3895 LIMERICK RD, CLYDE, OH 43410-1853
28071436           BSN MEDICAL INC, PO BOX 3036, CAROL STREAM, IL 60132-3036
28071437           BUCHER, MICHAEL, 6496 COUNTY ROAD 191, BELLEVUE, OH 44811-9469
28071438           BUCKEYE MEDICAL INC., 1991 W. MAIN ST., BELLEVUE, OH 44811
28071441           BUCKEYE POWER SALES, ATTN: GENERAL COUNSEL, 8155 HOWE INDUSTRIAL PKWY CANAL, WINCHESTER, OH 43310
28071442         + BUCKINGHAM, 2991 FITCHVILLE RIVER RD., WAKEMAN, OH 44889-9320
28071443         + BUCKLEY, TARA, 645 WEST 130TH ST, HINCKLEY, OH 44233-9568
28071444         + BUCKNER, 219 MAPLE STREET, BELLEVUE, OH 44811-1055
28071445         + BUEHRER GROUP ARCHITECTURE, 314 CONANT ST, MAUMEE, OH 43537-3358
28071446         + BUIT, TIM, ADMIN - TBH, 1121 MIDDLEFIELD TRAIL, BRUNSWICK, OH 44212-5306
28071447         + BULGER, 102 NORTH CHURCH STREET, CLYDE, OH 43410-1660
28071448           BURD, MICHAEL, 164 OAKLEY MEADOW LN, TIFFIN, OH 44883-3493
28071449         + BURGER, 1125 TOWNLINE ROAD 131 WEST, WILLARD, OH 44890-9516
28071450         + BURGHARDT, 21815 LUCKEY ROAD, LUCKEY, OH 43443-9710
28071451           BURGOS, ANDREA, 215 W EUCLID ST, GREEN SPRINGS, OH 44836-9699
28071452         + BURKETT, 118 ROGER AVE, BELLEVUE, OH 44811-1151
28071453         + BURKETT MATTHEW, 5859 E STATE ROUTE 101, CLYDE, OH 43410-9717
28071454           BURKETT, BETH ANN, 5859 STATE ROUTE 101 E, CLYDE, OH 43410-9717
28071455           BURKETT, JERMAINE, 140 COUNTRY VIEW DR, BELLEVUE, OH 44811-9087
28071456         + BURLINGTON MEDICAL SUPPLIES INC, 3 ELMHURST ST, NEWPORT NEWS, VA 23603-1137
28071457         + BURMEISTER, 630 EVERETT ROAD, FREMONT, OH 43420-1425
28071458         + BURR, TODD, 400 S. COLLINWOOD BLVD., FREMONT, OH 43420-4534
28071459         + BUTLER, 14650 EAST TOWNSHIP ROAD 178, BELLEVUE, OH 44811-9585
28071460         + BUYERS DIRECT, PO BOX 8206, WILSON, NC 27893-1206
28071461         + BYRON MEDICAL, 602 W RILLITO ST, TUCSON, AZ 85705-5442
28071462         + C F CLARK EQUIPMENT, 9512 HAYES AVE, SANDUSKY, OH 44870-9717
28071463         + C R BARD INC, PO BOX 75767, CHARLOTTE, NC 28275-0767
28071464         + C.A.PARKS SIGNS, 3883 SANDHILL ROAD, BELLEVUE, OH 44811-9733
28071465         + C2DX, PO BOX 1351, SOUTH BEND, IN 46624-1351
28071466         + CADRE, 201 E 5TH ST, CINCINNATI, OH 45202-4162
28071467         + CADWELL, 909 N KELLOGS ST, KENNEWICK, WA 99336-7688
28071468         + CALLPOINTE WEST INTERACTIVE, 3444 N COUNTRY CLUB RD, TUCSON, AZ 85716-1200
28071469           CALLPOINTE.COM INC., PO# 74007088, CHICAGO, IL 60674-7088
28071470         + CAMP FIRE SANDUSKY COUNTY, 2100 BAKER ST, FREMONT, OH 43420-8803
28071471           CAMPBELL, RONDA, 4024 COUNTY ROAD 195, CLYDE, OH 43410-9515
28071472           CANADA, KIAH, 802 OLD MILL RD, SANDUSKY, OH 44870-8144
28071473         + CANCER SERVICES, 505 E PERKINS AVE, SANDUSKY, OH 44870-4910
28071475           CANON MEDICAL FINANCE, ATTN: VAN BROWER, PO BOX 911608, DENVER, CO 80291-1608
28071476           CANON MEDICAL FINANCE USA, PO BOX 911608, DENVER, CO 80291-1608
28071477         + CANON MEDICAL SYSTEMS, ATTN: VAN BROWER, PO BOX 775220, CHICAGO, IL 60677-5220
28071478           CANON MEDICAL SYSTEMS USA INC, PO BOX 7476, CAROL STREAM, IL 60197-7476
28071479         + CANON MEDICAL SYSTEMS USA INC, ATTN: JULIE SPAULDING, 2441 MICHELLE DR, TUSTIN, CA 92780-7047
28071481         + CANON MEDICAL SYSTEMS USA INC, ATTN: AUDREY WEIDEMANN, 2441 MICHELLE DR, TUSTIN, CA 92780-7047
28071482         + CANON MEDICAL SYSTEMS USA INC, ATTN: GENERAL COUNSEL, PO BOX 775220, CHICAGO, IL 60677-5220
28071480         + CANON MEDICAL SYSTEMS USA INC, ATTN: LINDSAY CALVIN, 2441 MICHELLE DR, TUSTIN, CA 92780-7047
28071483           CAPITAL GROUP, PO BOX 659530, SAN ANTONIO, TX 78265-9530
28071484         + CAPITAL RX INC, ATTN: LEGAL, 228 PARK AVE S, STE 87234, NEW YORK, NY 10003-1502




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28071485         +   CAPP USA, 201 MARPLE AVE, CLIFTON HTS, PA 19018-2414
28071487         +   CARANFA, 6299 STATE ROUTE 113, BELLEVUE, OH 44811-9704
28071488         +   CARBARY, 150 SINCLAIR STREET, BELLEVUE, OH 44811-1533
28071489        #+   CARDINAL COFFEE SYSTEMS, 207 S WASHINGTON ST, CASTALIA, OH 44824-9262
28071490         +   CARDINAL HEALTH, MEDICAL PRODUCTS, CHICAGO, IL 60673-0001
28071491         +   CARDINAL HEALTH 108, INC., 14265 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0001
28071492         +   CARDINAL HEALTH PHARMACY SOLUTIONS, 21377 NETWORK PLACE, CHCAGO, IL 60673-1213
28071493         +   CARDIO COMMAND, 4920 W CYPRESS ST, TAMPA, FL 33607-3837
28071495         +   CAREFUSION, 25565 NETWORK PLACE, CHICAGO, IL 60673-1255
28071496             CAREFUSION 2200 INC, 25146 NETWORK PLACE, CHICAGO, IL 60673-1250
28071497         +   CAREFUSION SOLUTIONS LLC, ATTN: GENERAL COUNSEL, 25082 NETWORK PL, CHICAGO, IL 60673-1250
28071498             CAREFUSION SOLUTIONSLLC, 25082 NETWORK PLACE, CHICAGO, IL 60673-1250
28071499         +   CAREGILITY, ATTN: GENERAL COUNSEL, 81 CORBETT WAY, EATONTOWN, NJ 07724-2264
28071500         +   CAREY, 11 PINE STREET, NORWALK, OH 44857-2229
28071502             CARLSON, 320 SOURT CR 294, CLYDE, OH 43410
28071501         +   CARLSON, 10353 SCARLET OAK DRIVE, PERRYSBURG, OH 43551-9168
28071504         +   CARSTENS INC., LBX 95195, CHICAGO, IL 60694-0001
28071505         +   CASALE, JOHN, 9201 SW 55TH CT, COOPER CITY, FL 33328-5846
28071506         +   CASEMETRO LLC, 520 LINCOLN AVE SUITE 200, DOWNINGTOWN, PA 19335-3006
28071507             CASH, PETTY CASH, BELLEVUE, OH 44811
28071508         +   CASTER, 3524 CR 113, GREEN SPRINGS, OH 44836-9608
28071509         +   CATAWBA ISLAND CLUB, 4235 E BEACH CLUB RD, PORT CLINTON, OH 43452-3009
28071510         +   CATTEAU, FRANCES, 49 EXECUTIVE DR, NORWALK, OH 44857-2471
28071511         +   CBLH DESIGN, 7850 FREEWAY CIRLE, CLEVELAND, OH 44130-6317
28071512         +   CBORD GROUP INC, ATTN: GENERAL COUNSEL, 950 DANBY RD, STE 100C, ITHACA, NY 14850-5795
28071513         +   CBORD GROUP, INC., 950DANBY ROAD, SUITE 1, ITHACA, NY 14850-5795
28071514             CBS OUTDOOR, PO BOX 33074, NEWARK, NJ 07188-0074
28071515         +   CDW GOVERNMENT INC, ATTN: GENERAL COUNSEL, 75 REMITTANCE DR, STE 1515, CHICAGO, IL 60675-1515
28071517             CDW GOVERNMENT INC., 75 REMITTANCE DR., CHICAGO, IL 60675-1515
28071516             CDW GOVERNMENT INC., 75 REMITTANCE DR., SUITE 1515, CHICAGO, IL 60675-1515
28071518         +   CEDAR CREST COLLEGE, ATTN: GENERAL COUNSEL, 100 COLLEGE DR, ALLENTOWN, PA 18104-6196
28071519             CENTAURI HEALTH SOLUTIONS, PO BOX 637901, CINCINNATI, OH 45263-7901
28071520         +   CENTEC CAST METAL PRODUCTS, 501 KNAPP ST, FREMONT, OH 43420-2514
28071521         +   CENTRAL EXTERMINATING, 3202 ST CLAIR AVE, CLEVELAND, OH 44114-4082
28071522         +   CENTRAL EXTERMINATING, ATTN: JERRY RANDLEMAN, 3202 ST CLAIR AVE, CLEVELAND, OH 44114-4082
28071523         +   CENTRAL EXTERMINATING CO, 1525 GEORGE ST, SANDUSKY, OH 44870-1732
28071524         +   CENTRAL EXTERMINATING COMPANY INC, ATTN: GENERAL COUNSEL, 3202 ST CLAIR AVE, CLEVELAND, OH
                     44114-4082
28071525             CENTRAL INFUSION ALLIANCE INC, 752 ST LOUIS AVE, SKOKIE, IL 60076
28071526         +   CENTRAL OHIO POISON CENTER, 700 CHILDREN'S DR, COLUMBUS, OH 43205-2664
28071527         +   CERECORE, 1100 DR. MARTIN L. KING JR. BLVD., NASHVILLE, TN 37203-5742
28071528         +   CGS ADMINISTRATORS, LLC, 3180 RIDER TRAIL SOUTH, EARTH CITY, MO 63045-1518
28071529         +   CHAMBER OF COMMERCE OF, 1245 NAPOLEON ST, FREMONT, OH 43420-2358
28071530         +   CHAMBERLAIN, GARY, 3490 CR 247, VICKERY, OH 43464-9786
28071531         +   CHAMPION VIABLE AIR TESTING, LLC., 5605 DEERWOOD DR, COMMERCE TOWNSHIP, MI 48382-1019
28071532         +   CHAMPVA, PO BOX 30750, TAMPA, FL 33630-3750
28071533         #   CHANGE HEALTHCARE, PO BOX 572490, SALT LAKE CITY, UT 84157-2490
28071535             CHANGE HEALTHCARE, PO BOX 98347, CHICAGO, IL 60693-8347
28071534        #+   CHANGE HEALTHCARE, ATTN: AARON TORRES, PO BOX 572490, SALT LAKE CITY, UT 84157-2490
28071537         +   CHANGE HEALTHCARE TECHNOLOGIES LLC, ATTN: GENERAL COUNSEL, PO BOX 572490, SALT LAKE CITY, UT
                     84157-2490
28071538             CHANNING BETE CO, ONE COMMUNITY PLACE, S. DEERFIELD, MA 01373-7328
28071542         +   CHEATHAM, CHRISTINA, 363 NATHAN DRIVE, CLYDE, OH 43410-9648
28071543         +   CHECKPOINT SURGICAL, 6050 OAK TREE BLVD, INDEPENDENCE, OH 44131-6938
28071544         +   CHEMPACE CORPORATION, 339 ARCO DR., TOLEDO, OH 43607-2908
28071545         +   CHERRY, 3341 STATE ROUTE 4, BELLEVUE, OH 44811-9207
28071547         +   CHRISTIAN CLOGGERS DANCE TEAM, 824 STOWBRIDGE RD, HURON, OH 44839-1446
28071548         +   CHUDZINSKI, LYNDA, 1516 RIVER DR., FREMONT, OH 43420-3619
28071549         +   CHURCH, ANGIE, 103 S OHIO AVE, FREMONT, OH 43420-4422
28071550         +   CHURCHILL, 4934 COUNTY ROAD 183, CLYDE, OH 43410-9782
28071551         +   CHURCHILL, DOUGLAS, 4934 COUNTY RD 183, CLYDE, OH 43410-9782
28071552         +   CINCINNATI SUB ZERO, 12011 MOSTELLER RD, CINCINATTI, OH 45241-6401
28071554         +   CINTAS CORPORATION 318, PO BOX 630910, CINCINNATI, OH 45263-0910




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28071556         +   CINTAS DOCUMENT MGMT, PO BOX 633842, CINCINNATI, OH 45263-3842
28071557         +   CIRCADIAN INFORMATION LP, TWO MAIN STREET, STONEHAM, MA 02180-3335
28071558         +   CIRCASSIA PHARMACEUTICALS INC, 5151 MC CRIMMON PKWY, MORRISVILLE, NC 27560-0177
28071560         +   CITY OF BELLEVUE, 3000 SENECA INDUSTRIAL PARKWAY, BELLEVUE, OH 44811-8709
28071559             CITY OF BELLEVUE, 3000 SENECA INDIPKY, BELLEVUE, OH 44811
28071561         +   CITY OF CLYDE, 222 N MAIN ST., CLYDE, OH 43410-1655
28071562         +   CITY OF CLYDE UTILITIES, 222 N MAIN ST, CLYDE, OH 43410-1637
28071563         +   CITY OF CLYDE UTILITIES, 225 N MAIN ST, CLYDE, OH 43410-1636
28071564             CIVCO MEDICAL INSTRUMENT, PO BOX 933598, ATLANTA, GA 31193-3598
28071565             CLAPP, STACEY, 7521 MAIN ST., FLAT ROCK, OH 44828
28071566         +   CLARK, DOUGLAS, 6695 CO RD 191, BELLEVUE, OH 44811-9468
28071567             CLARK, SCOTT, 3837 STATE ROUTE 598 S, WILLARD, OH 44890-9257
28071568         +   CLAUS, LARRY, 279 NORTHWEST ST., BELLEVUE, OH 44811-1058
28071569         +   CLEVELAND CLINIC LABOR, PO BOX 74222, CLEVELAND, OH 44194-0002
28071570             CLEVELAND CLINIC LABORATORIES, PO BOX 74222, CLEVELAND, OH 44194-4222
28071571         +   CLEVELAND DOOR CONTROLS INC, 29263 CLEMENS RD, WESTLAKE, OH 44145-1002
28071572             CLEVELAND STATE UNIVERSITY, BERKMAN HALL,ROOM 114, CLEVELAND, OH 44115
28071573         +   CLEVELAND VICON CO INC., 4550 WILLOW PARKWAY, CLEVELAND, OH 44125-1094
28071574             CLIA LABORATORY PROGRAM, PO BOX 530882, ATLANTA, GA 30353-0882
28071576         +   CLINICAL COLLEAGUES INC, ATTN: KURT D ZUMWALT, 1765 E NINE MILE RD, STE 1-229, PENSACOLA, FL 32514-5479
28071575         +   CLINICAL COLLEAGUES INC, ROBINSON & ASSOCIATES, PLLC, ATTN: JAMES P ROBINSON III, 700 N ST MARY'S ST STE
                     1400, SAN ANTONIO, TX 78205-3535
28071577         +   CLINICAL COLLEAGUES, INC, PO BOX 824246, PHILADELPHIA, PA 19182-4246
28071579             CLINICAL COMPUTER SYSYTEM, PO BOX 74008556, CHICAGO, IL 60674-8556
28071580         +   CLINICAL DATA MANAGEMENT INC, PO BOX 279, CONIFER, CO 80433-0279
28071581         +   CLINICAL REFERENCE LABORATORY, PO BOX 802273, KANSAS CITY, MO 64180-2273
28071582         +   CLINICAL TECHNOLOGY, 7005 SOUTH EDGERTON RD, BRECKSVILLE, OH 44141-4210
28071583         +   CLINKER, 4105 EVERINGIN ROAD, MONROEVILLE, OH 44847-9776
28071584             CLOUD COLLECTIONS, PO BOX 936497, ATLANTA, GA 31193-6497
28071585         +   CLOUD, AMANDA, 214 HEARTLAND DRIVE, BELLEVUE, OH 44811-9089
28071586         +   CLYDE BACK DOOR FOOD PANTRY, 803 W. MCPHERSON HWY, CLYDE, OH 43410-1111
28071587         +   CLYDE CAREER WOMEN, 131 PAULA DR, CLYDE, OH 43410-1885
28071588         +   CLYDE FAIR, 222 N. MAIN STREET, CLYDE, OH 43410-1637
28071589         +   CLYDE HEALTH CLINIC, ATTN: GENERAL COUNSEL, 1005 WEST MCPHERSON HWY, CLYDE, OH 43410-1001
28071590         +   CLYDE HIGH SCHOOL, 1015 RACE STREET, CLYDE, OH 43410-1832
28071591         +   CLYDE-GREEN SPRINGS MUSIC BOOSTERS, PO BOX 307, CLYDE, OH 43410-0307
28071592         +   COASTAL LIFE SYSTEMS, 7027 FAIRGROUNDS PKWY, SAN ANTONIO, TX 78238-4544
28071593             COCA COLA ENT INC, PO BOX 602937, CHARLOTTE, NC 28260-2937
28071594         +   COE, GAIL, 1867 SOUTH MAIN ST., CLYDE, OH 43410-9507
28071595         +   COFFEY, LEAH, 1173 S MAIN ST, CLYDE, OH 43410-2082
28071596             COLE, MELLISA, 9988 W LOCUST POINT RD, OAK HARBOR, OH 43449-9107
28071597         +   COLIZOLI, JILL, 959 S. ROOSEVELT AVE, BEXLEY, OH 43209-2542
28071599             COLLEGE OF AMERICAN, PATHOLOGISTS, CHICAGO, IL 60694-1698
28071600             COLLIERS INTERNATIONAL, 26791 NETWORK PLACE, CHICAGO, IL 60673-1267
28071601         +   COLOPLAST CORP, ATTN: GENERAL COUNSEL, 1601 WEST RIVER RD N, MINNEAPOLIS, MN 55411-3431
28071605         +   COLUMBUS COLLEGE OF ART & DESIGN, 60 CLEVELAND AVE, COLUMBUS, OH 43215-3808
28071606             COLVIN, SHAWN, 5300 COUNTY ROAD 113, CLYDE, OH 43410-9798
28071608             COMMUNITY BLOOD CENTER, COMMUNITY TISSUE, PITTSBURGH, PA 15264
28071609         +   COMMUNITY HEALTH SERVI, 2221 HAYES AVE, FREMONT, OH 43420-2632
28071610         +   COMMUNITY HEALTH SERVICES, 2221 HAYES AVE, FREMONT, OH 43420-2632
28071611             COMPHEALTH, PO BOX 972651, DALLAS, TX 75397-2651
28071612         +   COMPLIANCE ASSOCIATES, PS, 4314 COUNTY ROAD 166, FORT PAYNE, AL 35967-8026
28071613         +   COMPREHENSIVE REIMBURSEMENT, INC., 2592 PEEBLES RD, TROY, OH 45373-8513
28071614         +   COMPUTERS AT WORK!, INC, 2338 IMMOKALEE RD #151, NAPLES, FL 34110-1445
28071615             COMPX SECURITY PRODUCTS, PO BOX 931717, ATLANTA, GA 31193-1717
28071616         +   COMPXFORT, 715 CENTER ST, GRAYSLAKE, IL 60030-1651
28071617         +   CONCORDANCE HEALTHCARE, PO BOX 94631, CLEVELAND, OH 44101-4631
28071618         +   CONCORDANCE HEALTHCARE SOL, PO BOX 94631, CLEVELAND, OH 44101-4631
28071619         +   CONCORDANCE HEALTHCARE SOLUTIONS LLC, ATTN: GENERAL COUNSEL, 85 SHAFFER PARK DR, TIFFIN, OH
                     44883-9290
28071621         +   CONE INSTRUMENTS, 5201 NAIMAN PARKWAY, SOLON, OH 44139-1078
28071622         +   CONINE, 5183 N. GENOA CLAY CENTER ROAD, CURTICE, OH 43412-9618
28071624             CONMED CORPORATION, PO BOX 6814, NEW YORK, NY 10249-6814




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28071625             CONMED LINVATEC, PO BOX 301231, DALLAS, TX 75303-1231
28071626             CONRAD, KATHRYN, 872 US HIGHWAY 20 E, WILLARD, OH 44890-9503
28071627             CONTIGO HEALTH, PO BOX 7410641, CHICAGO, IL 60674-0641
28071629         +   CONTIGO HEALTH LLC, ATTN: GENERAL COUNSEL, 300 EXECUTIVE PKWY WEST, STE 100, HUDSON, OH 44236-1603
28071628         +   CONTIGO HEALTH LLC, C/O PREMIER HEALTHCARE ALLIANCE, ATTN: GENERAL COUNSEL, 13034 BALLANTYNE
                     CORPORATE PL, CHARLOTTE, NC 28277-1498
28071630         +   CONTOUR MD, 8055 BOND ST., LENEXA, KS 66214-1593
28071631         +   CONTRACTORS DESIGN ENGINEERING, 1623 OLD STATE RD, NORWALK, OH 44857-9377
28071632         +   CONTRERAS, DANIEL, 6603 SKADDEN RD., SANDUSKY, OH 44870-8633
28071633             CONTRERAS, REGINA, 2485 COUNTY ROAD 233, FREMONT, OH 43420-9044
28071634         +   CONVERGINT TECHNOLOGIES LLC, 3075 N WILSON COURT NW, GRAND RAPIDS, MI 49534-7566
28071635         +   COOK, 507 STRAYER, BELLEVUE, OH 44811-1535
28071636             COOK INCORPORATED, PO BOX 4401, BLOOMINGTON, IN 47402
28071637             COOK MEDICAL INC., 22988 NETWORK PLACE, CHICAGO, IL 60673-1229
28071639         +   COOK, SMITH & COMPANY CPAS, LLC, 1355 WEST MAIN STE B, BELLEVUE, OH 44811-9082
28071640             COOLEY, TIFFANY, 140 WOODLAND PL, CLYDE, OH 43410-1556
28071641             COOPER SURGICAL, PO BOX 1206, MONROE, CT 06468-8206
28071642         +   COPLEY SALLY, 3401 STATE RT 600, GIBSONBURG, OH 43431-9719
28071643         +   COPPER TOP BAKE SHOP, 114 N SANDUSKY STREET, BELLEVUE, OH 44811-1424
28071644         +   CORBIN, JOSEPH S., 5090 COUNTY ROAD 223, CLYDE, OH 43410-9432
28071645         +   COREPOINT HEALTH LLC, ATTN: GENERAL COUNSEL, 3010 GAYLORD PKWY, STE 320, FRISCO, TX 75034-8298
28071646         +   COREPOINT HEALTH, LLC D/B/A LYNIATE, ATTN: GENERAL COUNSEL, 3010 GAYLORD PKWY, STE 320, FRISCO, TX
                     75034-8298
28071647         +   COREY FAZIO, 628 CO RD. 312, BELLEVUE, OH 44811-9027
28071648         +   CORONET, 7781 FIRST PLACE, OAKWOOD VILLAGE, OH 44146-6705
28071649             CORPORATE COMPASS TRAINING AND, DEVELOPMENT, LLC, SANDUSKY, OH 44870
28071651         +   COSTFLEX SYSTEMS, PO BOX 91089, MOBILE, AL 36691-1089
28071650         +   COSTFLEX SYSTEMS, ATTN: MIMI PERKINS, PO BOX 91089, MOBILE, AL 36691-1089
28071652         +   COSTFLEX SYSTEMS INC, ATTN: GENERAL COUNSEL, 4320 BLVD PARK SOUTH, MOBILE, AL 36609-3405
28071653         +   COULMED PRODUCTS GROUP, LLC, 44 COMMERCE STREET, SPRINGFIELD, NJ 07081-3004
28071654         +   COUNTY OF SANDUSKY, OHIO, 622 CROGHAN ST., FREMONT, OH 43420-2415
28071656         +   COUSINO RESTORATION & ENVIRONMENTAL LLC, ATTN: GENERAL COUNSEL, 26901 ECKEL RD, PERRYSBURG, OH
                     43551-1215
28071657             COVERYS, PO BOX 674027, DETROIT, MI 48267-4027
28071658             COVIDIEN SALES LLC, 4642 COLLECTION CENTER DR., CHICAGO, IL 60693-0046
28071659         +   COX, GERALD, 151 SINCLAIR ST, BELLEUVE, OH 44811-1532
28071660         +   COY, 8 WEST MAIN STREET, NORTH FAIRFIELD, OH 44855-9523
28071661             CPS SOLUTIONS LLC, F/K/A CPS LLC, PO BOX 7410634, CHICAGO, IL 60674-0634
28071662             CPS SOLUTIONS LLC, PO BOX 7410634, CHICAGO, IL 60674-0634
28071663         +   CPS SOLUTIONS LLC, ATTN: GENERAL COUNSEL, 655 METRO PL SOUTH, STE 450, DUBLIN, OH 43017-3388
28071664         +   CPS SUPPLY CHAIN SOLUTIONS LLC, F/K/A PSI SUPPLY CHAIN SOLUTIONS LLC, ATTN: LINDA GANNIES, 655 METRO PL
                     SOUTH STE 450, DUBLIN, OH 43017-3388
28071665         +   CPS TELEPHARMACY INC, CPS TELEPHARMACY, INC, ATTN: GENERAL COUNSEL, 6409 QUAIL HOLLOW RD, MEMPHIS,
                     TN 38120-1414
28071666         +   CPS TELEPHARMACY INC, ATTN: GENERAL COUNSEL, 1771 DIEHL RD, STE 300, NAPERVILLE, IL 60563-4921
28071667             CPS TELEPHARMACY, INC., PO BOX 7410636, CHICAGO, IL 60674-0636
28071668             CRAMER, NORMAN, 2250 COUNTY ROAD 308, BELLEVUE, OH 44811-9466
28071669             CRANEWARE, PO BOX 934241, ATLANTA, GA 31193-4241
28071670             CRANEWARE, ATTN: GENERAL COUNSEL, 7301 WEST 128TH ST, STE 210, OVERLAND PARK, KS 66213
28071672         +   CREATIVE BRANDS, 1013 VETERANS DRIVE, LEWISBURG, TN 37091-6862
28071673         +   CREATIVE OFFICE SOLUTIONS, 4673 SALEMS WAY, MEDINA, OH 44256-8287
28071674             CREATIVE RISK UNDERWRITERS, LLC, PO BOX 117298, ATLANTA, GA 30368-7298
28071675         +   CREDENTIALING CORP, 20800 CENTER RIDGE RD, ROCKY RIVER, OH 44116-4306
28071676         +   CREDENTIALING CORP, 20800 CENTER RIDGE RD 312, ROCKY RIVER, OH 44116-4306
28071678         +   CRIMSON CUP INC., 700 ALUM CREEK DRIVE, COLUMBUS, OH 43205-1640
28071679         +   CRM ROOFING, 7040 STATE RT 101, CLYDE, OH 43410-9636
28071681         +   CROSSBRIDGE, ATTN: GENERAL COUNSEL, 1645 N MAIN ST, ORRVILLE, OH 44667-9171
28071683         +   CROSSBRIDGE MARKETING, 1645 NORTH MAIN STREET, ORRVILLE, OH 44667-9171
28071682         +   CROSSBRIDGE MARKETING, ORRVILLE PRINT'G, 1645 NORTH MAIN STREET, ORRVILLE, OH 44667-9171
28071684             CROSSROADS EXTREMITY SYSTEMS, PO BOX 75260, CHICAGO, IL 60675-5260
28071685         +   CRUZ, 103 ROGER AVE, BELLEVUE, OH 44811-1152
28071686         +   CULBERT, 214 CR 130, FREMONT, OH 43420-9711
28071687         +   CULLEN, 311 MARSHALL AVE, SANDUSKY, OH 44870-6904
28071688         +   CULLEN, KIM, 311 MARSHALL AVE, SANDUSKY, OH 44870-6904




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28071689         + CULLIGAN OF NORTHERN OH, PO BOX 47606, WICHITA, KS 67201-7606
28071690         + CUMMINGS, BRANDI, 292 WEST MARKET ST., TIFFIN, OH 44883-2733
28071691           CURBELL, 62882 COLLECTION CENTER DRIVE, CHICAGO, IL 60693-0628
28071692         + CURRANCE INC, PO BOX 92288, LAS VEGAS, NV 89193-2288
28071693         + CURRANCE INC, ATTN: GENERAL COUNSEL, 15615 ALTON PKWY, STE 450, IRVINE, CA 92618-3308
28071694         + CURRENCY INC, ATTN: JEFFREY MACDONALD, 15615 ALTON PKWY, STE 450, IRVINE, CA 92618-3308
28071695           CUSTOM SPECIALTIES &, SUPPLY COMPANY, MATAIRIE, LA 70002
28071696         + CUSTOMIZED COMMUNICATIONS, PO BOX 5566, ARLINGTON, TX 76005-5566
28071698         + CYGNUS MEDICAL, 965 W MAIN ST, BRANFORD, CT 06405-3453
28071699         + DACOR INTERNET SERVICES, 725 HASKINS RD, BOWLING GREEN, OH 43402-1619
28071700           DAGG, HOLLY, 1132 FRANKLIN AVE, FREMONT, OH 43420-1702
28071701         + DAHM, PATRICIA, 4106 WILLIAM ROAD, MONROEVILLE, OH 44847-9442
28071702         + DANIELS HEALTH, 111 W JACKSON BLVD., CHICAGO, IL 60604-3589
28071703         + DANIELS HEALTH, 111 W. JACKSON BLVD SUITE 1900, CHICAGO, IL 60604-3585
28071704         + DANIELS SHARPSMART INC, ATTN: GENERAL COUNSEL, 111 W JACKSON BLVD, STE 1900, CHICAGO, IL 60604-3585
28071705           DARKE, ANN, 1103 CHARLES ST, BOWLING GREEN, OH 43402-3510
28071706         + DARLING INGREDIENTS, ATTN: GENERAL COUNSEL, 5601 N MACARTHUR BLVD, IRVING, TX 75038-6538
28071708           DARR, DIXIE, 1431 S MAIN ST., CLYDE, OH 43410-2042
28071709         + DARRS CLEANING INC., 5089 COUNTY ROAD 175, CLYDE, OH 43410-9467
28071710         + DATA INNOVATIONS LLC, 463 MOUNTAIN VIEW DRIVE, COLCHESTER, VT 05446-5952
28071711         + DATA MANAGEMENT, PO BOX 789, FARMINGTON, CT 06034-0789
28071713         + DAVE LAWRENCE IRRIGATION, 4807 LISBON CIRCLE, SANDUSKY, OH 44870-5873
28071714         + DAVID SCOTT COMPANY, 2 MASTER DR, FRANKLIN, MA 02038-3052
28071715         + DAVIS, BEN, 222 DOGWOOD DR, CLYDE, OH 43410-8400
28071716           DAVIS, MEGAN, 9300 AMBERLEIGH DR, PLAINFIELD, IN 46168-4725
28071717           DAYSMART SOFTWARE, LLC, PO BOX 505664, ST. LOUIS, MO 63150-5670
28071718         + DBA ENOVIS FOOT & ANKLE, 727 N SHEPHERD DRIVE, HOUSTON, TX 77007-1320
28071720         + DEAN, 7012 MAGILL RD., CASTALIA, OH 44824-9306
28071721         + DEANDA, 1777 SOUTH BUCHANAN STREET, FREMONT, OH 43420-4923
28071722           DEARSMAN, LEAH, 4389 TIFFIN RD, FREMONT, OH 43420-9536
28071723         + DEARTH, NICOLE, 254 WOODHAVEN CRESCENT, CLYDE, OH 43410-4001
28071724         + DEBRA LEWIS, 220 MAPLE LANE, LOT 75, GREENSPRINGS, OH 44836-9693
28071725         + DEBRA LEWIS, C/O LESLIE MURRAY LAW LLC, ATTN: LESLIE O. MURRAY, 316 E. WATER ST., SANDUSKY, OH
                   44870-2825
28071726         + DEE PRINTING INC, PO BOX 132, COLUMBUS, OH 43216-0132
28071727         + DELAHUNT APPRAISAL SERVICE, 2920 CLEVELAND RD W., HURON, OH 44839-1011
28071728         + DELGARBINO, OLIVIA, 1946 GUILFORD RD., UPPER ARLINGTON, OH 43221-4324
28071730           DELL MARKETING L.P., C/O DELL USA L.P., PITTSBURGH, PA 15264-3561
28071731           DELTA DENTAL, PO BOX 633198, CINCINNATI, OH 45263-3198
28071732         + DELTA DENTAL OF OHIO, 1300 EAST NINTH STREET, SUITE 1703, CLEVELAND, OH 44114-1504
28071733         + DELTA DENTAL PLAN OF OHIO INC, ATTN: GENERAL COUNSEL, FIFTH THIRD CENTER, 600 SUPERIOR AVE EAST STE
                   2600, CLEVELAND, OH 44114-2620
28071735         + DENDINGER, 131 HUFFMAN ST., BELLEVUE, OH 44811-1017
28071736           DENDINGER, CHRISTINE, 1158 FERN LN, DELAND, FL 32724-7506
28071737         + DENNIS, HEATHER, 519 SANDUSKY ST. FRONT, FREMONT, OH 43420-7755
28071738         + DENUDT, MARK, 4680 CR 183, CLYDE, OH 43410-9408
28071740         + DEPINET, MELISSA, 1860 CR 296, BELLEVUE, OH 44811-9450
28071741         + DEPUY MITEK/J&J HCS, 5972 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0059
28071744         + DEPUY SYNTHES, ATTN: GENERAL COUNSEL, 1690 RUSSELL RD, PO BOX 1766, PAOLI, PA 19301-0800
28071745         + DEPUY SYNTHES (USA), 1302 WRIGHTS LANE EA, WEST CHESTER, PA 19380-3417
28071746           DEPUY SYNTHES SALES, INC, PO BOX 8538-662, PHILADELPHIA, PA 19171-0662
28071747         + DEPUY SYNTHES TRAUMA, ATTN: GENERAL COUNSEL, 1302 WRIGHTS LANE EAST, WEST CHESTER, PA 19380-3417
28071748         + DESIGNS FOR VISION, INC., 4000 VETERANS MEMORIAL HWY, BOHEMIA, NY 11716-1024
28071749         + DESOUTTER MEDICAL, 224 ROLLING HILL ROAD, MOORESVILLE, NC 28117-8090
28071750         + DEVICOR MEDICAL PRODUCTS INC, 300 E BUSINESS WAY, CINCINNATI, OH 45241-2384
28071751         + DEVICOR MEDICAL PRODUCTS INC D/B/A MAMMO, ATTN: GENERAL COUNSEL, 300 E-BUSINESS WAY, 5TH FLOOR,
                   CINCINNATI, OH 45241-2384
28071753         + DEVICOR MEDICAL PRODUCTS INC D/B/A MAMMO, ATTN: SERVICE DEPARTMENT, 300 E-BUSINESS WAY, 5TH FLOOR,
                   CINCINNATI, OH 45241-2384
28071752         + DEVICOR MEDICAL PRODUCTS INC D/B/A MAMMO, ATTN: LEGAL DEPARTMENT, 300 E-BUSINESS WAY, 5TH FLOOR,
                   CINCINNATI, OH 45241-2384
28071754         + DEVON MD LLC, 700 AMERICAN AVENUE, KING OF PRUSSIA, PA 19406-4031
28071755         + DEWITT CONSTRUCTION LLC, ATTN: GENERAL COUNSEL, 608 E MAIN ST, BELLEVUE, OH 44811-1547
28071756         + DEWITT CONSTRUCTION, L, 608 E. MAIN STREET, BELLEVUE, OH 44811-1547




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28071757         + DEWITT CONSTRUCTION, LLC, 608 E. MAIN STREET, BELLEVUE, OH 44811-1547
28071758         + DICHIARO, 3629 HARTLAND PARKSIDE PLACE, LEXINGTON, KY 40515-1295
28071759         + DICKMAN, 11316 THOMAS ROAD, MONROEVILLE, OH 44847-9615
28071760           DICOM GRID, INC, PO BOX 737096, DALLAS, TX 75373-7096
28071761         + DINAN, QUINCEY, 303 WHITE ST., CLYDE, OH 43410-1931
28071763           DINSMORE & SHOHL, LLP, PO BOX 639038, CINCINNATI, OH 45263-9038
28071762         + DINSMORE & SHOHL, LLP, PO BOX 640635, CINCINNATI, OH 45264-0001
28071764         + DINSMORE & SHOHL, LLP, ATTN: ELLEN ARVIN KENNEDY, 100 WEST MAIN ST., STE. 900, LEXINGTON, KY 40507-1839
28071765         + DIO MEDICAL CORPORATION, ATTN: GENERAL COUNSEL, 8770 W BRYN MAWR AVE, STE 1250, CHICAGO, IL 60631-3520
28071766         + DIOCESAN PUBLICATIONS, PO BOX 3250, DUBLIN, OH 43016-0115
28071767         + DIRECT ENERGY BUSINESS LLC, ATTN: GENERAL COUNSEL, 1001 LIBERTY AVE, PITTSBURGH, PA 15222-3728
28071768         + DISE, JAMES, 108 GLENDALE DR., BELLEVUE, OH 44811-1306
28071769         + DJ ORTHOPEDICS LLC., PO BOX 650777, DALLAS, TX 75265-0777
28071770           DJO LLC, PO BOX 650777, DALLAS, TX 75265-0777
28071771         + DJO LLC, ATTN: GENERAL COUNSEL, 2900 LAKE VISTA DR, DALLAS, TX 75067-3889
28071772           DJO MEDSHAPE/FOOT & ANKLE, PO BOX 200182, DALLAS, TX 75320-0182
28071773         + DM MERCHANDISING, INC, 835 N CHURCH COURT, ELMHURST, IL 60126-1036
28071774         + DNE LLC, 902 CLINT MOORE RD, BOCA RATON, FL 33487-2800
28071775         + DOBROSKY, 2209 NORTH REIMAN ROAD, GENOA, OH 43430-9434
28071776         + DOCTOR LOGIC, LLC, 6401 ELDORADO PARKWAY, MCKINNEY, TX 75070-5887
28071778           DOCUSIGN INC, PO BOX 735445, DALLAS, TX 75373-5445
28071780         + DODSON, CASEY, 301 WEST MAIN STREET, BELLEVUE, OH 44811-1333
28071781         + DOMINY, 8406 N. ST. RT. 18, BELLEVUE, OH 44811-9549
28071782         + DONLEY, 4333 MARIN WOODS, PORT CLINTON, OH 43452-3072
28071783           DORITY, RENEA, 6520 PARKER RD, CASTALIA, OH 44824-9378
28071785         + DORNIER MEDTECH, ATTN: ACCTS RECEIVABLE, 1155 ROBERTS BOULEVARD, KENNESAW, GA 30144-3601
28071786         + DOSERESPONSE ANTICOAGU, SERVICES, LLC, 142 DEER VALLEY DR, SEWICKLEY, PA 15143-9501
28071787         + DOSERESPONSE ANTICOAGULATION, 142 DEER VALLEY DR, SEWICKLEY, PA 15143-9501
28071788         + DOSERESPONSE ANTICOAGULATION SERVICES LL, ATTN: GENERAL COUNSEL, 142 DEER VALLEY DR, SEWICKLEY,
                   PA 15143-9501
28071789           DOSERESPONSE LLC, ATTN: GENERAL COUNSEL, 1860 BLAKE ST, STE B101, ST BELLEVUE, OH 44811
28071790           DOUGHERTY, RAYMOND, 2600 OHIO 269 N, BELLEVUE, OH 44811
28071791         + DOWNTOWN FREMONT, INC., 315 GARRISON ST., FREMONT, OH 43420-3031
28071792         + DR. CHRISTOPHER PENSIERO, 204 YORKSHIRE PLACE, BELLEVUE, OH 44811-9003
28071793         + DRAEGER MEDICAL, PO BOX 347482, PITTSBURGH, PA 15251-4482
28071794         + DRAEGER MEDICAL, PO BOX 13369, NEWARD, NJ 07101-3369
28071797         + DRAGER INC, ATTN: GENERAL COUNSEL, PO BOX 347482, PITTSBURGH, PA 15251-4482
28071795         + DRAGER INC, ATTN: GENERAL COUNSEL, 3135 QUARRY RD, TELFORD, PA 18969-1042
28071796         + DRAGER INC, ATTN: PRESIDENT, 3135 QUARRY RD, TELFORD, PA 18969-1042
28071798         + DRE, 1800 WILLIAMSON COURT, LOUISVILLE, KY 40223-4114
28071799         + DRFIRST.COM, INC, PO BOX 791487, BALTIMORE, MD 21279-1487
28071802         + DROSKY, KERI, PO BOX 357, ATTICA, OH 44807-0357
28071803         + DROWNS MARKET, 2575 CR 185, CLYDE, OH 43410-9542
28071804           DUCKETT D.O, KYLE, 2350 KIMBERLY DRIVE, TOLEDO, OH 43615-2739
28071805           DUFFY, VIRGINIA, 4706 E WOODLAND DR, PORT CLINTON, OH 43452-3144
28071806         + DUKESHIRE, 5920 E. STATE RT. 18, REPUBLIC, OH 44867-9309
28071807           DUKESHIRE, KIMBERLY, MED SURG, BELLEVUE, OH 44811
28071808         + DUMMINGER, EMILY, 1003 FINEFROCK RD., FREMONT, OH 43420-9680
28071809         + DUNBAR, 12718 PATTEN TRACT ROAD, MONROEVILLE, OH 44847-9630
28071810         + DUNCAN, TABITHA, 514 CHURCH ST., OAK HARBOR, OH 43449-1116
28071811         + DURDEL, LARRY L, 4169 FOX AVE, CLYDE, OH 43410-2025
28071812         + DUROLAST, 525 MORLEY DR, SAGINAW, MI 48601-9485
28071814         + DUTTRY, SARA, 311 EUCLID AVE., BELLEVUE, OH 44811-1005
28071815           DWIGHT, PATTY, 321 LOUISE AVE, BELLEVUE, OH 44811-1831
28071816         + DYNATRONICS, 7030 PARK CENTRE DR, SALT LAKE CITY, UT 84121-6618
28071818         + EADS, 2652 BOEHLER ROAD, MONROEVILLE, OH 44847-9775
28071819         + EAGLE TELEMEDICINE, 280 INTERSTATE NORTH C, SUITE 600, ATLANTA, GA 30339-2454
28071820         + EAGLE TELEMEDICINE, 280 INTERSTATE NORTH CIR SE, ATLANTA, GA 30339-2454
28071823         + EBERLY, HOSPITALIST-PED, 9052 EAST PARKVIEW COURT, LAKESIDE MARBLEHEAD, OH 43440-1243
28071824         + EBERLY, 314 SPRING STREET, CLYDE, OH 43410-1524
28071822         + EBERLY, 717 S. WESTFIELD DRIVE, GIBSONBURG, OH 43431-1371
28071825         + EBERLY, LEROY MD, HOSPITALIST-PED, 9052 EAST PARKVIEW COURT, LAKESIDE MARBLEHEAD, OH 43440-1243
28071826         + ECG MANAGEMENT CONSULTANTS, 1111 THIRD AVENUE, SEATTLE, WA 98101-3201




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28071827           ECOLAB FOOD SAFETY, SPECIALTIES, CHICAGO, IL 60673-1241
28071828         + ECRI AND THE INSTITUTE FOR, SAFE MEDICATION PRACTICES PSO, ATTN: RANDAL S WHITE CHIEF LEGAL OFFICER,
                   5200 BUTLER PIKE, PLYMOUTH MEETING, PA 19462-1203
28071832         + EDGE-GUARD, 100 E. BODMAN ST., BEMENT, IL 61813-1240
28071833         + EDIPHY ADVISORS, LLC., 1500 URBAN CENTER DRIVE, VESTAVIA HILLS, AL 35242-2632
28071834         + EDWARD LIFESCIENCES, 23146 NETWORK PLACE, CHICAGO, IL 60673-1231
28071835           EFI GLOBAL, INC, 2877 MOMENTUM PLACE, CHICAGO, IL 60689-5328
28071837         + EHOVE CAREER CENTER, 316 WEST MASON ROAD, MILAN, OH 44846-9500
28071836         + EHOVE CAREER CENTER, ATTN: WENDY SCHAFER, 316 WEST MASON ROAD, MILAN, OH 44846-9500
28071838         + EHS EHS EHEALTH SOULUTION CORP, 8 LINCOLN AVE, PAWTUCKET, RI 02861-3506
28071839         + EIGHTY EIGHT CATERING, PO BOX 295, UPPER SANDUSKY, OH 43351-0295
28071840         + EISENHOWER, 9761 E. TWP. ROAD 58, BLOOMVILLE, OH 44818-9211
28071841         + EITAN GROUP NORTH AMERICA, 65 ENTERPRISE, ALISO VIEJO, CA 92656-2601
28071842         + EITLE MACHINE TOOL INC, 6090 CODER RD, ATTICA, OH 44807-9638
28071843           ELECTRICAL APPLIANCE, REPAIR CENTER, CLEVELAND, OH 44131
28071844         + ELECTRO CAP INT'L INC, PO BOX 87, EATON, OH 45320-0087
28071845         + ELLERBECK, ELIZABETH, 204 KNOX ST., HOUSTON, TX 77007-8114
28071846         + ELMLINGER, 646 THOMAS RD, MONROEVILLE, OH 44847-9764
28071847         + ELMWOOD ASSISTED LIVING AND SKILLED, NURSING OF FREMONT, ATTN: GENERAL COUNSEL, 1545 FANGBONER
                   RD, FREMONT, OH 43420-1128
28071848         + ELMWOOD ASSISTED LIVING AND SKILLED, NURSING OF FREMONT, ATTN: KATHY HUNT, MANAGING MEMBER, 441
                   N BROADWAY ST, GREEN SPRINGS, OH 44836-9689
28071849         + ELY, EVAN, 413 N. SANDUSKY ST., BELLEVUE, OH 44811-1248
28071851         + EMD MILLIPORE CORPORATION, 25760 NETWORK PLACE, CHICAGO, IL 60673-1257
28071852         + EMD MILLIPORE CORPORATION, ATTN: GENERAL COUNSEL, 25760 NETWORK PL, CHICAGO, IL 60673-1257
28071850         + EMD MILLIPORE CORPORATION, ATTN: GENERAL COUNSEL, 400 SUMMIT DR, BURLINGTON, MA 01803-5258
28071853         + EMERALD & SAND QI GONG LLC, 28 E QUAIL HOLLOW AVE, NORWALK, OH 44857-2618
28071856           EMERGENCY PROFESSIONAL, PO BOX 634850, CINCINNATI, OH 45263-4850
28071857           EMPI, PO BOX 660154, DALLAS, TX 75266-0154
28071858         + EMPLOYERS ASSOCIATION, 1787 INDIAN WOOD CIRCLE, MAUMEE, OH 43537-4175
28071859           EMPLOYERS HEALTH COALITION INC, COALITION OF OH INC, CANTON, OH 44718
28071860           EMPOWER ANNUITY INS CO OF AMERICA, PO BOX 825749, PHILADELPHIA, PA 19182-5749
28071862         + EMRHEIN & ASSOCIATES, 7515 PEARL ROAD, MIDDLEBURG HTS, OH 44130-6409
28071863         + EMRHEIN & ASSOCIATES, ATTN: ANDY EMRHEIN, 7515 PEARL ROAD, MIDDLEBURG HTS, OH 44130-6409
28071865         + ENERGY CONTROL, 26477 SOUTHPOINT RD, PERRYSBURG, OH 43551-1371
28071866           ENERGY CONTROL INC, ATTN: GENERAL COUNSEL, 25477 SOUTHPOINT RD, PERRYSBURG, OH 43551
28071867         + ENERGY CONTROL INC, ATTN: GENERAL COUNSEL, 26477 SOUTHPOINT RD, PERRYSBURG, OH 43551-1371
28071868         + ENGELHART, 307 HIGH STREET, BELLEVUE, OH 44811-1231
28071869         + ENGLAND, 4508 E. STATE ROUTE 113, NORWALK, OH 44857-9603
28071870         + ENGLEHART, 5870 E. SR. 18, REPUBLIC, OH 44867-9310
28071871         + ENVIRO HEALTH, 1690 WOODLANDS DR, MAUMEE, OH 43537-4045
28071874           ENVIRONMENTAL PROTECTION AGENCY, ATTN: OFFICE OF GENERAL COUNSEL 2310A, 1200 PENNSYLVANIA
                   AVENUE, N.W., WASHINGTON, DC 20045
28071873         + ENVIRONMENTAL PROTECTION AGENCY, ATTN: LEGAL DEPARTMENT, RALPH METCALFE FEDERAL BUILDING, 77
                   WEST JACKSON BLVD., CHICAGO, IL 60604-3511
28071872         + ENVIRONMENTAL PROTECTION AGENCY, ATTN: LEGAL DEPARTMENT, 25089 CENTER RIDGE ROAD, WESTLAKE, OH
                   44145-4114
28071876         + ENVIRONMENTAL WATER, PO BOX 611, BOWLING GREEN, OH 43402-0611
28071875         + ENVIRONMENTAL WATER, ATTN: MIKE MCTINTOSH, PO BOX 611, BOWLING GREEN, OH 43402-0611
28071877         + ENVIRONMENTAL WATER LTD, ATTN: GENERAL COUNSEL, 143 E WOOSTER ST, STE B, BOWLING GREEN, OH
                   43402-2959
28071878         + EPIMED, 141 SAL LANDRIO DRIVE, JOHNSTOWN, NY 12095-3835
28071881         + EPIPHANY HEALTHCARE, ATTN: GENERAL COUNSEL, 4341 STATE ST RD, SKANEATELES FALLS, NY 13153-5300
28071882         + EPS INC., PO BOX 427, JAMISON, PA 18929-0427
28071883         + EPSTEIN BECKER & GREEN, PO BOX 30036, NEW YORK, NY 10087-0036
28071884           EPSTEIN BECKER & GREEN, P.C., PO BOX 30036, NEW YORK, NY 10087-0036
28071885         + EQUIPARTS CORP, 120 PENNSYVANIA AVE, OAKMONT, PA 15139-1923
28071886         + EQUISYS INC, 30000 MILL CREEK AVE, ALPHARETTA, GA 30022-1585
28071887         + ERF, KEVIN, 4704 YINGLING RD, BELLEVUE, OH 44811-9726
28071888           ERF, LEANN, 1894 GEIGER RD, MONROEVILLE, OH 44847-9749
28071889         + ERIC JONSEOF, 6915 PATTEN TRACT RD, SANDUSKY, OH 44870-9712
28071890         + ERIE COUNTY COMMON PLEAS COURT, 323 COLUMBUS AVENUE, SANDUSKY, OH 44870-2622
28071891         + ERIE COUNTY MUNICIPAL COURT, 150 W MASON RD., MILAN, OH 44846-9799
28071892         + ERIE SHORES SURGERY CENTER, 2800 HAYES AVENUE, SANDUSKY, OH 44870-7255




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28071893         + ES CONSULTING INC, 3849 PARK AVE WEST, ONTARIO, OH 44903-8662
28071894         + ESO SOLUTIONS INC, PO BOX 679449, DALLAS, TX 75267-9449
28071895           ESOTERIX GENETIC LABLLC, PO BOX 12140, BURLINGTON, NC 27216-2140
28071896         + ESP GLOBAL LLC, ATTN: GENERAL COUNSEL, 10205 US HWY 15-501, UNIT 26-168, SOUTHERN PINES, NC 28387-5179
28071897         + ESPRESSO EQUIPMENT SALES & SERVICE, 27100 OAKMEADDR, PERRYSBURG, OH 43551-2670
28071898         + ESTEP, JODY, 1730 MOORE ST., FREMONT, OH 43420-1615
28071900           ETACTICS INC, 4835 DARROW RD, STOW, OH 44224-1403
28071901         + EVANS, 11 WILLIAMS STREET, MONROEVILLE, OH 44847-9463
28071902         + EVANS, EVELYN, 622 GARDNER ST, BELLEVUE, OH 44811-1619
28071903           EVERSTREAM, P.O BOX 932549, CLEVELAND, OH 44193-0030
28071904         + EVERSTREAM, 1228 EUCLID AVE., SUITE 250, CLEVELAND, OH 44115-1831
28071905         + EVERSTREAM SOLUTIONS L, PO BOX 932549, CLEVELAND, OH 44193-0030
28071906           EVERSTREAM SOLUTIONS LLC, PO BOX 932549, CLEVELAND, OH 44193-0030
28071907         + EXP PHARMACEUTICAL SERVICES CORP, 48021 WARM SPRINGS BLVD, FREMONT, CA 94539-7497
28071908         + EZ TO USE.COM, PO BOX 1113, ALTOONA, PA 16603-1113
28071910         + FAMOUS SUPPLY, 641 SOUTH FRONT ST, FREMONT, OH 43420-3498
28071911         + FAMULARE, 219 GREEN STREET, BELLEVUE, OH 44811-1225
28071912           FANEUFF, RANDALL, 6955 STATE ROUTE 101 N, CLYDE, OH 43410-9622
28071913           FARGO, JENNIFER, 80 BOBB ST, TIFFIN, OH 44883-1716
28071914         + FARRAR PHILLIP, 145 W. MASON STREET, CLYDE, OH 43410-1125
28071915         + FARWELL, DENNIS, 657 KING RD, TEKONSHA, MI 49092-9682
28071916         + FAWWAD, 2354 GOLDENROD LANE, PERRYSBURG, OH 43551-5724
28071917         + FAY, 156 AIGLER BLVD., BELLEVUE, OH 44811-1101
28071918         + FAZIO, COREY, 628 CO RD. 312, BELLEVUE, OH 44811-9027
28071920           FDA MQSA PROGRAM, PO BOX 979109, ST LOUIS, MO 63197-9000
28071919           FDA MQSA PROGRAM, PO BOX 70953, CHARLOTTE, NC 28272
28071921         + FEASEL, 508 NORTH TOWNSHIP RD 15, TIFFIN, OH 44883-9666
28071922           FEDERAL EXPRESS CORP, PO BOX 371461, PITTSBURGH, PA 15250-7461
28071923         + FEENEY, 316 NORTH BROADWAY STREET, GREEN SPRINGS, OH 44836-9650
28071924         + FEGLEY, 226 UNION ST., BELLEVUE, OH 44811-1037
28071925         + FELDER, 454 S. CO. RD. 232, FREMONT, OH 43420-9230
28071926         + FELDER, DAVID, 4515 RIVER ROAD, NORWALK, OH 44857-8914
28071927           FERGUSON, RICKY, 220 SHERMAN ST., CLYDE, OH 43410-2146
28071928         + FEUSTON, BRAD, 1515 BERKSHIRE COURT EAST, SHIPSHEWANA, IN 46565-8759
28071929         + FIFTH THIRD BANK, PO BOX 633589, CINCINNATI, OH 45263-3589
28071931           FIFTH THIRD BANK, PO BOX 740523, CINCINNATI, OH 45274-0523
28071933         + FIFTH THIRD BANK, ATTN: TERICK R HINZE, 101 N MICHIGAN AVE, MD: H54011, BIG RAPIDS, MI 49307-1466
28071932         + FIFTH THIRD BANK, C/O VORYS, SATER, SEYMOUR AND PEASE LLP, ATTN: KARI B. CONIGLIO, 200 PUBLIC SQUARE
                   SUITE 1400, CLEVELAND, OH 44114-2327
28071935           FIFTH THIRD BANK (NORTHWESTERN OHIO), PO BOX 740523, CINCINNATI, OH 45274-0523
28071934           FIFTH THIRD BANK (NORTHWESTERN OHIO), PO BOX 633589, CINCINNATI, OH 45263-3589
28071936         + FIFTH THIRD BANK - COR, PO BOX 740523, CINCINNATI, OH 45274-0523
28071937           FIFTH THIRD BANK - CORPORATE CC, PO BOX 740523, CINCINNATI, OH 45274-0523
28071938           FIFTH THIRD BANK, NATIONAL ASSOCIATION, PO BOX 633589, CINCINNATI, OH 45263-3589
28071939           FIFTH THIRD BANK, NATIONAL ASSOCIATION, PO BOX 740523, CINCINNATI, OH 45274-0523
28071940         + FINQUERY LLC, PO BOX 771470, ST LOUIS, MO 63177-2470
28071941         + FIRELANDS ELECTRIC CO INC, 2721 COLUMBUS AVE, SANDUSKY, OH 44870-5532
28071942         + FIRELANDS LOCAL LLC, PO BOX 508, NORWALK, OH 44857-0508
28071945         + FIRELANDS REGIONAL MEDICAL CENTER, C/O DINSMORE & SHOHL, LLP, ATTN: ELLEN ARVIN KENNEDY, 250 W.
                   MAIN STREET, LEXINGTON, KY 40507-1721
28071947         + FIRELANDS-BELLEVUE URG, OPERATING COMPANY LLC, 1111 HAYES AVE, SANDUSKY, OH 44870-3323
28071948           FIRELANDS-BELLEVUE URGENT CARE, OPERATING COMPANY LLC, SANDUSKY, OH 44870
28071952         + FIS BUSINESS SYSTEM LLC, ATTN: GENERAL COUNSEL, 347 RIVERSIDE AVE, JACKSONVILLE, FL 32202-4909
28071953           FISER, PAUL, 112 FAIRHOME AVE, CLYDE, OH 43410-2006
28071954           FISH AND LOAVES, 203 MAPLE ST, BELLEVUE, OH 44811
28071955           FISHER & PAKEL HEALTHCARE, DEPT CH 16926, PALATINE, IL 60055-6926
28071956         + FISHER BROYLES, ATTN: PATRICIA FUG E, 27100 OAKMEAD DRIVE, #306, PERRYSBURG, OH 43551-2670
28071957         + FISHER HEALTHCARE, 13551 COLLECTIONS CTR DR., CHICAGO, IL 60693-0135
28071959         + FISHER-TITUS FOUNDATION, 272 BENEDICT AVE, NORWALK, OH 44857-2374
28071960         + FISHER-TITUS HEALTH, ATTN: BRENT BURKEY, PRESIDENT AND CEO, 272 BENEDICT AVENUE, NORWALK, OH
                   44857-2374
28071961         + FITZSIMMONS HOSPITAL, PO BOX 497, OAK FOREST, IL 60452-0497
28071962           FLAT ROCK HOMES, 7353 CR 29, FLAT ROCK, OH 44828




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28071963         +   FLAVIANO, 5380 PINTAIL DRIVE, PORT CLINTON, OH 43452-3714
28071964         +   FLIER FOOTBALL FOUNDATION, 1015 RACE ST, CLYDE, OH 43410-1832
28071965         +   FLORES, 35 PARSONS STREET, NORWALK, OH 44857-1608
28071966         +   FLUXERGY INC, 13766 ALTON PARKWAY, IRVINE, CA 92618-1639
28071967         +   FLYNN, PY & KRUSE CO, 115 WEST PERRY STREET, PORT CLINTON, OH 43452-1010
28071968         +   FLYNN, PY & KRUSE CO., 165 E WASHINGTON ROW, SANDUSKY, OH 44870-2610
28071969             FOLLETT, PO BOX 782806, PHILADELPHIA, PA 19178-2806
28071970         +   FOOS, BRIAN, 110 MEGAN LN, BELLEVUE, OH 44811-9019
28071971         +   FORBES, V CAREY, 131 N. PENNSYLVANIA AVE., FREMONT, OH 43420-4339
28071972         +   FORENSIC TECHNOLOGIES, 5844 DEER TRAIL CIRCLE, WOODBURY, MN 55129-9550
28071973         +   FORESIGHT IMAGING, 1 EXECUTIVE DRIVE, CHELMSFORD, MA 01824-2564
28071974         +   FORESIGHT IMAGING, ATTN: GENERAL COUNSEL, 1 EXECUTIVE DR, STE 202, CHELMSFORD, MA 01824-2564
28071975         +   FORGET ME NOT FLOWERS & GIFTS, 221 E MAIN ST, BELLEVUE, OH 44811-1410
28071976         +   FORMAN, 237 BELLE AVE, BELLEVUE, OH 44811-1850
28071977         +   FORTEC FIBERS, PO BOX 951147, CLEVELAND, OH 44193-0005
28071979         +   FORTEC MEDICAL INC, ATTN: GENERAL COUNSEL, 6245 HUDSON CROSSING PKWY, HUDSON, OH 44236-4348
28071978         +   FORTEC MEDICAL INC, PO BOX 951147, CLEVELAND, OH 44193-0005
28071980         +   FORTNEY, 1560 SOUTH MAIN STREET, CLYDE, OH 43410-2044
28071981             FORVIS, PO BOX 1190, SPRINGFIELD, MO 65801-1190
28071982         +   FORWARD ADVANTAGE INC, ATTN: GENERAL COUNSEL, 7255 N FIRST ST, STE 106, FRESNO, CA 93720-2972
28071983         +   FORWARD ADVANTAGE, INC, 7255 N FIRST STREET, SUITE 106, FRESNO, CA 93720-2972
28071984         +   FORWARD ADVANTAGE, INC., 7255 N FIRST STREET, FRESNO, CA 93720-2972
28071985         +   FOSTER SPECIAL INSTRUMENT, 6941 CORNELL RD, CINCINNATI, OH 45242-3004
28071986         +   FOUGHT, DIANA, 716 WEST STATE ST., FREMONT, OH 43420-2536
28071987         +   FOUGHT, JENNIFER, 2124 ELM DR., FREMONT, OH 43420-3116
28071988             FOX, DOLLY, 259 JEFFERSON ST., TIFFIN, OH 44883-3047
28071989             FOX, JOANN, 204 SUFFOLK DR, CLYDE, OH 43410-9480
28071990         +   FOX, VIRGINIA, 211 1/2 YORK ST., BELLEVUE, OH 44811-1363
28071991         +   FRAILEY, TONYA, 2325 COUNTY ROAD 270, CLYDE, OH 43410-9779
28071992         +   FRANKART, 5901 S. ST. RT. 67, TIFFIN, OH 44883-9745
28071993         +   FRANKART SHERRY, PO BOX 1453, SANDUSKY, OH 44871-1453
28071994             FRANKART, JOSEPH, 5901 S STATE ROUTE 67, TIFFIN, OH 44883-9745
28071995         +   FRANKE COFFEE SYSTEMS AMERICAS, LLC, 3149 PAYSPHERE CIRCLE, CHICAGO, IL 60674-0001
28071996         +   FRANKS, MICHELLE, 3367 CR 168, FREMONT, OH 43420-9552
28071997         +   FRANTZ WARD LLP, 200 PUBLIC SQUARE, CLEVELAND, OH 44114-1230
28071998         +   FRATER, HILARY, 1708 BUCKLAND AVE., FREMONT, OH 43420-3502
28071999         +   FREEDOM MEDICAL, INC., PO BOX 822704, PHILADELPHIA, PA 19182-2704
28072001         +   FREMONT FLOOR COVERING OUTLET, 218 N FRONT ST, FREMONT, OH 43420-2505
28072002         +   FREMONT MUNICIPAL COURT, 323 S FRONT ST, FREMONT, OH 43420-3069
28072003         +   FREMONT OVERHEAD DOOR LLC, 221 HOWLAND STREET, FREMONT, OH 43420-4109
28072004         +   FREMONT YOUTH HOCKEY, PO BOX 798, FREMONT, OH 43420-0798
28072005         +   FRESCH ELECTRIC, 1414 MILAN RD, SANDUSKY, OH 44870-4194
28072007         +   FRESHWORKS INC, 2950 S DELAWARE ST., SAN MATEO, CA 94403-2577
28072006         +   FRESHWORKS INC, 2950 S DELAWARE ST., SUITE 201, SAN MATEO, CA 94403-2578
28072009         +   FREY, 205 EAST STONE STREET, GIBSONBURG, OH 43431-1134
28072008         +   FREY, 232 HAMILTON ST., BELLEVUE, OH 44811-1313
28072010         +   FRIENDS SERVICE COMPANY, INC., L-4055, COLUMBUS, OH 43260-0001
28072011             FRIES, STACIE, 2166 WILLOW CRK, LELAND, NC 28451-6412
28072012         +   FRITZ, 7498 CR 219, BELLEVUE, OH 44811-9459
28072015         +   FRY, DANIEL, 1223 HAMLIN ST., FREMONT, OH 43420-2011
28072016         +   FRY, LOIS, 1841 COUNTY RD. 260, CLYDE, OH 43410-8527
28072017         +   FTMC MED PARK & MISC BILLING, 272 BENEDICT AVE, NORWALK, OH 44857-2374
28072018         +   FUCHS, 6741 N. CO. RD. 29, BELLEVUE, OH 44811-8822
28072020         +   FULTON COUNTY HEALTH CENTER, 725 S. SHOOP AVE, WAUSEON, OH 43567-1701
28072021             FULTON, JULIE, 16495 TOWNSHIP ROAD 178, BELLEVUE, OH 44811-9543
28072022         +   FULTZ, 406 TAYLOR RD, SANDUSKY, OH 44870-8341
28072023         +   G U TEK, 266 KING GEORGE RD, WARREN, NJ 07059-5186
28072024             GALLAGHER BENEFIT SERVICES, PO BOX 560812, DENVER, CO 80256-0812
28072025             GALLAGHER BENEFIT SERVICES 560812, PO BOX 560812, DENVER, CO 80256-0812
28072026         +   GALLOGLY, 248 JACKSON STREET, AMHERST, OH 44001-2429
28072027         +   GAMBOA, 282 ETHAN DRIVE, FREMONT, OH 43420-0019
28072028         +   GANGLUFF, 5002 W MASON ROAD, SANDUSKY, OH 44870-9369
28072029         +   GANNETT OHIO LOCALIQ, PO BOX 630599, CINCINNATI, OH 45263-0599




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28072032         +   GARBER, 107 SHUMAKER DRIVE, BELLEVUE, OH 44811-1637
28072033         +   GARCIA, 630 FLAT ROCK RD, BELLEVUE, OH 44811-9048
28072034         +   GARDNER, 6891 CR 191, BELLEVUE, OH 44811-8719
28072035         +   GARDOCKY, 132 SOUTH RIDGE STREET, MONROEVILLE, OH 44847-9415
28072036             GARY SIBIGTROTH, 200 MAPLE LANE, GREEN SPRINGS, OH 44836
28072037         +   GARZA, DINA, 8440 N SR 19, GREEN SPRINGS, OH 44836-9792
28072038             GARZA, EMILY, 166 RIVOLI LNDG, MACON, GA 31210-8632
28072039             GARZA, HECTOR III, 108 E. EUCLID ST., GREEN SPRINGS, OH 44836
28072040         +   GATES, 1017 E. MAIN ST, BELLEVUE, OH 44811-1556
28072041             GAZDECKI, 106 WALNUT ST, LINDSEY, OH 43442
28072043         +   GCX CORPORATION, 3875 CYPRESS DRIVE, PETALUMA, CA 94954-5635
28071712        ++   GE HEALTHCARE, 3000 N GRANDVIEW BLVD, WAUKESHA WI 53188-1615 address filed with court:, DATEX OHMEDA, PO
                     BOX 641936, PITTSBURGH, PA 15264-1936
28072046         +   GE HEALTHCARE IITS, 15724 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0001
28072047         +   GE HEALTHCARE IITS, ATTN: GENERAL COUNSEL, 15724 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0001
28072045         +   GE HEALTHCARE IITS, ATTN: JOANNE ACKLAND, 15724 COLLECTIONS CENT, CHICAGO, IL 60693-0001
28072051         +   GE MEDICAL SYSTEMS INFORMATION TECHNOLOG, ATTN: GENERAL COUNSEL, 9900 INNOVATION DR, WAUWATOSA,
                     WI 53226-4856
28072050         +   GE MEDICAL SYSTEMS INFORMATION TECHNOLOG, ATTN: GENERAL COUNSEL, 8200 WEST TOWER AVE,
                     MILWAUKEE, WI 53223-3219
28072052         +   GE MEDICAL SYSTEMS INFORMATION TECHNOLOG, ATTN: GENERAL COUNSEL, 5517 COLLECTIONS CENTER DR,
                     CHICAGO, IL 60693-0001
28072053         +   GE MEDICAL SYSTEMS IT, 5517 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0001
28072054             GE MEDICAL SYSTEMS UPC, ATTN: JOANNE ACKLAND, 75 REMITTANCE DR. STE, CHICAGO, IL 60675-1080
28072055             GE MEDICAL SYSTEMS UPCD, LLC, 75 REMITTANCE DR. STE 1080, CHICAGO, IL 60675-1080
28072056         +   GE PRECISION HEALTHCARE LLC, PO BOX 96483, CHICAGO, IL 60693-6483
28072057         +   GE PRECISION HEALTHCARE LLC, ATTN: GENERAL COUNSEL, 9900 W INNOVATION DR, WAUWATOSA, WI 53226-4856
28072058         +   GE PRECISION HEALTHCARE LLC, ATTN: GENERAL COUNSEL, 5517 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0001
28072059         +   GE PRECISION HEALTHCARE LLC, ATTN: GENERAL COUNSEL, 2984 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0001
28072060         +   GENEO UNITED LLC, 2077 GATEWAY PLACE, SAN JOSE, CA 95110-1090
28072061         +   GENERAL COUNSEL, DEPARTMENT OF HEALTH, AND HUMAN SERVICES, 200 INDEPENDENCE AVENUE, S.W.,
                     WASHINGTON, DC 20201-0004
28072062         +   GENESIS MEDICAL, 27732 SINSONITE, MISSION VIEJO, CA 92692-2516
28072063         +   GENTHERM MEDICAL, 12011 MOSTELLER ROAD, CINCINNATI, OH 45241-1528
28072064             GENZYME CORPORATION, 62665 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0626
28072065         +   GEORGE, 1800 CR 302, BELLEVUE, OH 44811-9103
28072066         +   GEORGIA SOUTHERN UNIVERSITY, PO BOX 106099, ATLANTA, GA 30348-6099
28072067         +   GERBER, 4538 HWY 20 W, MONROEVILLE, OH 44847-9720
28072068         +   GERINGER, 127 SINCLAIR STREET, BELLEVUE, OH 44811-1532
28072069         +   GERRY HOCKSTOK, 4736 POLEN DRIVE, DAYTON, OH 45440-1841
28072071         +   GETINGE USA SALES LLC, PO BOX 775436, CHICAGO, IL 60677-5436
28072070         +   GETINGE USA SALES LLC, ATTN: GENERAL COUNSEL, 1 GEOFFREY WAY, WAYNE, NJ 07470-2035
28072072         +   GETSET SURGICAL INC., 1207 DELAWARE AVE #512, WILMINGTON, DE 19806-4743
28072073             GETSET SURGICAL SA, ATTN: GENERAL COUNSEL, ROUTE DE LA CORNICHE 4, EPALINGES 1066 SWITZERLAND
28072074         +   GIBBS, 4796 CR 175, CLYDE, OH 43410-9791
28072075         +   GIBBS DUST TILL DAWN, 128 COUNTRY VIEW DR, BELLEVUE, OH 44811-9087
28072076         +   GIBBS, PAMELA, 6992 US HWY 6, VICKERY, OH 43464-9511
28072078         +   GILL PODIATRY SUPPLY & EQUIPMENT CO, 22400 ASCOA COURT, STRONGSVILLE, OH 44149-4766
28072079         +   GILLESPIE, 416 MICHIGAN AVE, SANDUSKY, OH 44870-5768
28072080         +   GISH, MICHAEL, 832 KILBOURNE ST., BELLEVUE, OH 44811-9496
28072081         +   GISH, SARAH, 202 HARTLAND DR., BELLEVUE, OH 44811-9089
28072082         +   GIVING BIRTHDAYS, PO BOX 244, CLYDE, OH 43410-0244
28072083         +   GLAUKOS CORP, PO BOX 741074, LOS ANGELES, CA 90074-1074
28072084             GLICK, SAMATHA, 308 GREENBRAIR CIR, FREMONT, OH 43420-9095
28072085         +   GLOBAL FOCUS MARKETING, 22650 HESLIP DR, NOVI, MI 48375-4141
28072089             GLOBAL HEATHCARE EXCHANGE, PO BOX 912199, DENVER, CO 80291-2199
28072091         +   GLOBAL MEDICAL FOAM, 2748 LEXINGTON AVE, LEXINGTON, OH 44904-1429
28072092             GLOVER, BRENDA, 826 DEL MOY AVE, BELLEVUE, OH 44811-1657
28072094             GOATEE, TREVOR, 930 N OHIO AVE, FREMONT, OH 43420-9569
28072095         +   GOBLE, CHANCE, 2 3RD ST., NORWALK, OH 44857-1205
28072096         +   GOLF GRAPHICS, PO BOX 124, BLUFFTON, OH 45817-0124
28072097         +   GONZALEZ, HANNAH, 727 EAST CENTER ST., BELLEVUE, OH 44811-1747
28072099             GORDON FOOD SERVICE, PO BOX 88029, CHICAGO, IL 60680-1029
28072100         +   GORDON FOOD SERVICE, ATTN: GENERAL COUNSEL, 1300 GEZON PKWY SW, WYOMING, MI 49509-9302




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28072098             GORDON FOOD SERVICE, ATTN: BETH, PO BOX88029, CHICAGO, IL 60680-1029
28072101         +   GORDON MEDICAL EQUIPMENT, 146 PINE HOLLOW CIRCLE, CHARDON, OH 44024-1484
28072102         #   GORDON STOWE & ASSOC INC, 586 PALWAUKEE DRIVE, WHEELING, IL 60090-6047
28072103         +   GORETZKI, 1506 KINGSLEY COURT, SANDUSKY, OH 44870-6045
28072104         +   GOTTWALD, JANET, 3800 BOARDWALK BLVD., SANDUSKY, OH 44870-7033
28072105             GOVERNMENT DATA SERVIC, ATTN: KRISTY LADUKE, 3200 WEST MARKET ST, SUITE 102, AKRON, OH 44333-3324
28072106             GOVERNMENT DATA SERVICES LLC, 3200 WEST MARKET ST, AKRON, OH 44333-3324
28072107         +   GOVERNMENT DATA SERVICES LLC, ATTN: GENERAL COUNSEL, 3200 MARKET ST, STE 102, AKRON, OH 44333-3324
28072108         +   GOWER, 605 PRAIRIE ROSE DRIVE, PERRYSBURG, OH 43551-5716
28072109         +   GRACE MEDICAL INC, PO BOX 5178, MEMPHIS, TN 38101-5178
28072110         +   GRAHL, PAUL, 1033 WOODROW ST., FREMONT, OH 43420-2138
28072111             GRAINGER, DEPT 824914980, PALATINE, IL 60038-0001
28072112        #+   GRAND PRIZE PROMOTIONS/, 55 SCOTT STREET, BUFORD, GA 30518-3056
28072113         +   GRAY, 267 EDWARDS ROAD, NORWALK, OH 44857-8956
28072114         +   GRAY, SHERI, 4388 CO RD 223, CLYDE, OH 43410-9708
28072116         +   GREAT BASIN SCIENTIFIC INC, 420 E SOUTH TEMPLE, SALT LAKE CITY, UT 84111-1319
28072117         +   GREAT LAKES COMMUNITY ACTION, PO BOX 590, FREMONT, OH 43420-0590
28072118         +   GREAT MIDWEST SPORTS, PO BOX 113, PORTAGE, OH 43451-0113
28072119         +   GREAT-WEST TRUST COMPANY LLC, ATTN: GENERAL COUNSEL, 8515 EAST ORCHARD RD, GREENWOOD VILLAGE, CO
                     80111-5002
28072121         +   GREEN HILLS GOLF COURSE & INN INC., 1959 SOUTH MAIN STREET, CLYDE, OH 43410-9507
28072122         +   GREEN SPRINGS LITTLE LEAGUE, PO BOX 372, GREEN SPRINGS, OH 44836-0372
28072123         +   GREENE, 5186 COUNTY ROAD 247, VICKERY, OH 43464-9555
28072124         +   GREENSLADE, NANCY, 2203 S. MAIN ST., CLYDE, OH 43410-9506
28072126         +   GREGORY, 205 LIBERTY AVE., CLYDE, OH 43410-1142
28072127         +   GRIFOLS USA, LLC., PO BOX 741919, ATLANTA, GA 30374-1919
28072128         +   GRILLIS D O INC, MICHA, 2281 HAYES AVE, FREMONT, OH 43420-2632
28072129         +   GRILLIS D O INC, MICHAEL E., 2281 HAYES AVE, FREMONT, OH 43420-2632
28072130         +   GROSS PLUMBING, 6843 LAKE AVE, ELYRIA, OH 44035-2149
28072131             GROUND PENETRATING RADAR, 7540 NEW WEST RD, TOLEDO, OH 43617-4200
28072132         +   GROVER, ERIN, 44 ADAMS ST, TIFFIN, OH 44883-2209
28072133         +   GUENTHER MECHANICAL, 1248 MIDDLE ROWSBURG, ASHLAND, OH 44805-2813
28072134             GUIDE BOOK PUBLISHING, PO BOX 240430, BALLWIN, MO 63024
28072135             GULICK, KELLY, 5630 STATE ROUTE 113, BELLEVUE, OH 44811-8900
28072136         +   GUTIERREZ, SABRINA, 314 NORTH OHIO AVE., FREMONT, OH 43420-4118
28072137         +   H&H PLUMBING & HEATING, 1101 CASTALIA ST, BELLEVUE, OH 44811-1162
28072138         +   HACKENBURG, 6015 COUNTY RD. 191, BELLEVUE, OH 44811-9069
28072139         +   HACKENBURG, 1148 CR 288, CLYDE, OH 43410-9772
28072141         +   HACKENBURG, PATRICIA, 210 S. CO RD 232, FREMONT, OH 43420-9171
28072142         +   HADE, 862 DEL MOY AVENUE, BELLEVUE, OH 44811-1657
28072143         +   HAGER, 162 SUNSET DRIVE, BELLEVUE, OH 44811-1115
28072144             HAGER, ERICA, 412 BUCKINGHAM DR., BELLEVUE, OH 44811-1855
28072145         +   HALL, 1785 LEMERT ROAD, BUCYRUS, OH 44820-9749
28072146             HALL, CURTIS, 5390 EDMONDS RD, BELLEVUE, OH 44811-8902
28072147             HALL, KATHLEEN, 3721 GARY DR., CASTALIA, OH 44824-9715
28072148             HALL, TINA, 1549 STATE ROUTE 510, CLYDE, OH 43410-9704
28072149             HALO BRANDED SOLUTIONS INC, 3182 MOMENTUM PLACE, CHICAGO, IL 60689-5331
28072150         +   HAND BIOMECHANICS LAB, 77 SCRIPPS DR, SACRAMENTO, CA 95825-6209
28072151         +   HANNA'S HANDIWORKS LLC, 350 SPACE CENTER DRIVE, LEES SUMMIT, MO 64064-1272
28072152         +   HANSEN, 3617 MILLIGAN ROAD, ONTARIO, OH 44906-1022
28072153         +   HANSEN, SHANNON, 3617 MILLIGAN RD, ONTARIO, OH 44906-1022
28072154         +   HARPER, CHRISTIE, 628 CASTALIA ST., BELLEVUE, OH 44811-1220
28072155         +   HARRIS, 1418 BARDSHAR ROAD, SANDUSKY, OH 44870-9750
28072156         +   HARRIS, 206 TOWNSEND STREET, SANDUSKY, OH 44870-3457
28072157         +   HARRISON, 3865 COUNTY ROAD 13, BURGOON, OH 43407-9704
28072158         +   HART ADVERTISING, 480 CROSSINGS ROAD, SANDUSKY, OH 44870-8901
28072159         +   HART ADVERTISING OPERATED BY, LAKE ERIE OUTDOOR GROUP LLC, ATTN: GENERAL COUNSEL, 69-75 E SEMINARY
                     ST, NORWALK, OH 44857-2118
28072160         +   HART MEDICAL EQUPMENT, 5445 ALI DRIVE STE C, GRAND BLANC, MI 48439-5197
28072161         +   HART MOVING SERVICE, 232 HUFFMAN ST., BELLEVUE, OH 44811-1018
28072162             HARTLEY, 7232 CR #175, BELLEVUE, OH 44811
28072163         +   HARTMAN, 69 SOUTH LINWOOD AVE, NORWALK, OH 44857-2138
28072164         +   HARTMAN, 210 HARTLAND DRIVE, BELLEVUE, OH 44811-9089




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28072165         + HARTUNG TITLE AGENCY INC, 217 MADISON STREET, PORT CLINTON, OH 43452-1142
28072166           HARTWICK, LORRAINE, 114 HICKORY ST., BELLEVUE, OH 44811-1750
28072167        #+ HARVEY, 124 DUANE STREET, CLYDE, OH 43410-1612
28072168         + HASSELBACH & PAUL INS, 107 W MAIN ST., BELLEVUE, OH 44811-1329
28072169         + HATLEY USA, ONE CUMBERLAND AVE, PLATTSBURGH, NY 12901-1833
28072170         + HAVEL'S, 3726 LONSDALE AVE, CINCINNATTI, OH 45227-3651
28072171         + HAY, 320 BELLE AVE, BELLEVUE, OH 44811-1851
28072173         + HAY, 6650 CR 175, BELLEVUE, OH 44811-9457
28072174         + HAY, 177 HAMILTON STREET, BELLEVUE, OH 44811-1308
28072172         + HAY, 6260 WEST ST RT 162, ATTICA, OH 44807-9726
28072175           HAY, BERNARD, 6886 COUNTY ROAD 191, BELLEVUE, OH 44811-8719
28072177        #+ HAYS COMPANIES, 80 S 8TH ST, STE 700, MINNEAPOLIS, MN 55402-2105
28072178           HAYS, MARY, 129 CLINTON AVE, TIFFIN, OH 44883-1619
28072179           HEALTH CARE LOGISTICS, PO BOX 400, CIRCLEVILLE, OH 43113-0400
28072180         + HEALTH IMPRESSIONS, 5045 FRANKLIN AVE, WACO, TX 76710-6919
28072181         + HEALTH INFORMATION ASS, PO BOX 3787, PAWLEYS ISLAND, SC 29585-3787
28072182         + HEALTH INFORMATION ASSOCIATES, PO BOX 3787, PAWLEYS ISLAND, SC 29585-3787
28072183         + HEALTH INFORMATION ASSOCIATES INC, ATTN: GENERAL COUNSEL, PO BOX 3787, PAWLEYS ISLAND, SC 29585-3787
28072184         + HEALTHCARE ALLIANCE LP, ATTN: GENERAL COUNSEL, 26 W DRY CREEK CIR, STE 640, LITTLETON, CO 80120-4661
28072187         + HEALTHCARE IT LEADERS, 26 FOREST RIDGE, ROWLEY, MA 01969-2152
28072188         + HEALTHCARE MEDIA TECHNOLOGIES INC, PO BOX 643178, CINCINNATI, OH 45264-3178
28072190           HEALTHCARE SOURCE HR INC, 33073 COLLECTION CENTER DRIVE, CHICAGO, IL 60693-0330
28072191           HEALTHMARK INDUSTRIES CO., PO BOX 7410624, CHICAGO, IL 60674-0624
28072193         + HEALTHSCRIPTS INC, 2142 ST MARY'S DRIVE, SALT LAKE CITY, UT 84108-2252
28072196         + HEARTLIGHT PHARMACY SE, ATTN: LAURA MEYER, 1331 N COLE ST, LIMA, OH 45801-3415
28072197         + HEARTLIGHT PHARMACY SERVICES, 1331 N COLE ST, LIMA, OH 45801-3415
28072198           HEAVY DIESEL SERVICE, LLC, 445 COMMERCE SQ, COLUMBUS, OH 43228-2107
28072199         + HEBERLEIN, 10342 EAST BAYSHORE ROAD, LAKESIDE MARBLEHEAD, OH 43440-2313
28072200         + HEILEMAN, TONYA, 2208 W. CROGHAN ST., FREMONT, OH 43420-2621
28072201         + HELMAN PAUL, 5 JACKSON ST, NORWALK, OH 44857-1904
28072203         + HEMINGER, 6640 CR 62, KANSAS, OH 44841-9703
28072204         + HEMMIINGS MOTOR NEWS, 222 MAIN ST, BENNINGTON, VT 05201-2103
28072205           HENKLE, JOHN, 814 THORPE ST., SANDUSKY, OH 44870-8106
28072206         + HENNEY, 527 CASTALIA STREET, BELLEVUE, OH 44811-1219
28072207           HENRY SCHEIN INC, BOX 371952, PITTSBURGH, PA 15250-7952
28072208         + HENSLER SURGICAL PRODU, 7038 MARKET ST., STE 2, WILMINGTON, NC 28411-9896
28072209         + HENSLER SURGICAL PRODUCTS LLC, 7038 MARKET ST., STE 200, WILMINGTON, NC 28411-9896
28072210         + HEPACART, 9828 PFLUMM RD, LENEXA, KS 66215-1208
28072211           HERAEUS MEDICAL LLC, PO BOX 21486, NEW YORK, NY 10087-1486
28072212         + HERITAGE INTERPRETING, 597 HIGH ST, WORTHINGTON, OH 43085-5005
28072213         + HERMAN & WALLACE, 113 CHERRY STREET, SEATTLE, WA 98104-2205
28072214         + HERMES, KRISTEN, 136 W. DREW LANE, CLYDE, OH 43410-1861
28072215         + HERSHEY, LYDIA, 46 GARCIA DRIVE, NORWALK, OH 44857-2427
28072216           HERSHEY, MICHAEL, 46 GARCIA DR., NORWALK, OH 44857-2427
28072217           HESS, MICHELLE, 420 BRINKER ST., BELLEVUE, OH 44811-1509
28072218           HETRICK, REX, 504 WILLIAMS ST., FREMONT, OH 43420-1416
28072219           HF ACQUISITION CO LLC, DEPT CH 14330, PALATINE, IL 60055-4330
28072220         + HFMA, PO BOX 4237, CAROL STREAM, IL 60197-4237
28072222         + HI POINT OPTICAL, 9178 MOORS PL N, DUBLIN, OH 43017-8277
28072223         + HIGHLANDER, 217 YORKSHIRE PLACE, BELLEVUE, OH 44811-9002
28072224         + HIGHLANDER, DR. PETER, 217 YORKSHIRE PLACE, BELLEVUE, OH 44811-9002
28072225         + HILL, 750 GARDNER ROAD, BELLEVUE, OH 44811-9442
28072226         + HILL MARY, 138 E. BAYVIEW, PORT CLINTON, OH 43452-9630
28072227           HILL ROM, PO BOX 643592, PITTSBURGH, PA 15264-3592
28072228         + HILLMAN, 205 PARK AVENUE, BELLEVUE, OH 44811-1835
28072229           HINES, ANITA, 624 GRANT ST, FREMONT, OH 43420-2206
28072230         + HIRT COLL HOY LIMITED, PO BOX 303, BELLEVUE, OH 44811-0303
28072231         + HIRT INVESTMENT CO, PO BOX 303, BELLEVUE, OH 44811-0303
28072232         + HIRT INVESTMENT COMPANY, ATTN: GENERAL COUNSEL, PO BOX 303, BELLEVUE, OH 44811-0303
28072233           HISER, TERESA, 4507 BILLINGS RD, CASTALIA, OH 44824-9320
28072234         + HIT OF THE PARTY LTD, 4349 MONROE ST, TOLEDO, OH 43606-1958
28072235         + HK SURGICAL, 1271 PUERTA DEL SOL, SAN CLEMENTE, CA 92673-6310
28072236         + HL4 CONSULTING, LLC, 2217 CARROLL RD, BAY CITY, MI 48708-6374




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28072237         + HOCH, JANE, 906 CLUBVIEW BLVD SOUTH, COLUMBUS, OH 43235-1713
28072238         + HOCKSTOK, GERRY, 4736 POLEN DRIVE, DAYTON, OH 45440-1841
28072239           HOERIG, ANGELA, 140 MARLEEN DR, CLYDE, OH 43410-1916
28072240         + HOFACKER, 2014 ASPEN RUN ROAD, SANDUSKY, OH 44870-5150
28072241           HOFFMAN, DONALD, 1625 COLUMBUS AVE, SANDUSKY, OH 44870-3543
28072242           HOFFMAN, JANIE, 2691 FANGBONER RD, FREMONT, OH 43420-8916
28072243           HOFFMAN, JEANETTE, 128 ADAMS ST, FREMONT, OH 43420-2336
28072244         + HOGUES IGA, PO BOX 348, BELLEVUE, OH 44811-0348
28072245           HOLMER, GERALD, 3652 COUNTY ROAD 27, BELLEVUE, OH 44811-9539
28072246           HOLMES, CHRISTINE, 210 N CHURCH ST, CLYDE, OH 43410-1608
28072247         + HOLOGIC INC, ATTN: GENERAL COUNSEL, 250 CAMPUS DR, MARLBOROUGH, MA 01752-3020
28072248         + HOLOGIC INC, ATTN: GENERAL COUNSEL, 24506 NETWORK PL, CHICAGO, IL 60673-1245
28072249           HOLOGIC INC., 24506 NETWORK PL, CHICAGO, IL 60673-1245
28072250           HOLTZ, MICHELLE, 1851 TIFFIN RD, FREMONT, OH 43420-3736
28072251         + HOLZMILLER, TIFANEY, 500 E MCPHERSON HWY, CLYDE, OH 43410-1243
28072252           HOOTSUITE INC, 111 EAST 5TH AVENUE, VANCOUVER BC V5T 4L1 CANADA
28072253           HOOTSUITE INC, ATTN: GENERAL COUNSEL, 111 EAST 5TH AVE, VANCOUVER BC V5T 4LI CANADA
28072254           HOPKINS, ROSEANN, 117 SUNSET DR, SANDUSKY, OH 44870-5224
28072255         + HORSLEY, AMBER, 1451 OAK HARBOR RD, FREMONT, OH 43420-1049
28072256         + HOSPIRA WORLDWIDE INC, 75 REMITTANCE DR, CHICAGO, IL 60675-1001
28072257         + HOSPITAL CARE GROUP, P, 6435 W. JEFFERSON BLVD, PMB 109, FORT WAYNE, IN 46804-6203
28072258         + HOSPITAL CARE GROUP, P.C., 6435 W. JEFFERSON BLVD, FORT WAYNE, IN 46804-6203
28072259         + HOSPITAL COUNCIL OF NW OH, 3231 CENTRAL PARK W, TOLEDO, OH 43617-3009
28072260         + HOSSLER, TAYLOR, 48 WHITNEY DRIVE, FREMONT, OH 43420-9048
28072261           HOULETT, JAILEN, 5300 COUNTY ROAD 113, CLYDE, OH 43410-9798
28072262         + HOUSE, 19 PITT STREET, NORWALK, OH 44857-2412
28072263         + HOWARD, 110 CAROL AVENUE, BELLEVUE, OH 44811-1100
28072264           HOWARD MED TECHNOLOGY SOLUTIONS, PO BOX 11407, BIRMINGHAM, AL 35246-1132
28072265         + HOY, 472 S CR 294, CLYDE, OH 43410-8701
28072266         + HOY, DOUG, 1265 W. MAIN STREET, BELLEVUE, OH 44811-9055
28072268         + HUDSON, JAIMIE, 1816 SEMINARY RD, MILAN, OH 44846-9743
28072269           HUFF, RAINA, 846 COUNTY ROAD 224 LOT 40, CLYDE, OH 43410-9593
28072270         + HUMAN ARC, PO BOX 951886, CLEVELAND, OH 44193-0020
28072271           HUMPHREY, 1055 C.R. 289, FREMONT, OH 43420
28072272         + HUNDLEY, 11722 TOWNSHIP ROAD 178, BELLEVUE, OH 44811-9556
28072273         + HUNT, 893 WEST MAIN STREET, BELLEVUE, OH 44811-9037
28072274         + HUNT, KATHY, 2493 EAST SAND ROAD, PORT CLINTON, OH 43452-2794
28072275         + HUNTER CONSULTING COMPANY, 6600 CLOUGH PIKE, CINCINNATI, OH 45244-4041
28072276         + HUNTER CONSULTING COMPANY, ATTN: GENERAL COUNSEL, 6600 CLOUGH PIKE, 2ND FLOOR, CINCINNATI, OH
                   45244-4041
28072277         + HUNTER, LAVOHN, 2796 CR 292, BELLEVUE, OH 44811-9471
28072278         + HURON CNTY COMM PLEAS CRT, 2 E MAIN ST 202, NORWALK, OH 44857-1594
28072279         + HURON COUNTY PUBLIC HE, 28 EXECUTIVE DR, NORWALK, OH 44857-2480
28072280         + HURON COUNTY PUBLIC HE, ATTN: BRENDAN ROBERT, 28 EXECUTIVE DR, NORWALK, OH 44857-2480
28072281         + HURON COUNTY PUBLIC HEALTH, 28 EXECUTIVE DR, NORWALK, OH 44857-2480
28072282         + HURON COUNTY TREASURER, 16 E MAIN ST, NORWALK, OH 44857-1565
28072283         + HUTH, 175 SOUTH MONROE STREET, TIFFIN, OH 44883-2878
28072284         + HYLAND LLC, PO BOX 846261, DALLAS, TX 75284-6261
28072285         + HYLAND LLC (PACSGEAR), 18103 WEST 106TH STREET, OLATHE, KS 66061-2884
28072288         + HYLANT, 811 MADISON AVENUE, TOLEDO, OH 43604-5626
28072289         + HYLANT, PO BOX 88145, CAROL STREAM, IL 60188-0145
28072290        #+ ICAD INC, ATTN: LISA DAVIES, SALES MANAGER, 98 SPIT BROOK RD, STE 100, NASHUA, NH 03062-5734
28072291        #+ ICAD INC, ATTN: GENERAL COUNSEL, 98 SPIT BROOK RD, STE 100, NASHUA, NH 03062-5734
28072292         + ICAD, INC., PO BOX 97454, LAS VEGAS, NV 89193-7454
28072295         + ICU MEDICAL SALES INC, ATTN: CUSTOMER CONTRACTING, 600 NORTH FIELD DR, LAKE FOREST, IL 60045-4835
28072294         + ICU MEDICAL SALES INC, ATTN: GENERAL COUNSEL, 951 CALLE AMANECER, SAN CLEMENTE, CA 92673-6212
28072296         + ICU MEDICAL, INC, PO BOX 848908, LOS ANGELES, CA 90084-8908
28072297         + IDEA CONSULTING GROUPI, ATTN: DEANNE VANSICKLE, 2215 PINNACLE CIRCLE N, PALM HARBOR, FL 34684-1769
28072298         + IDEA CONSULTING GROUPINC, 2215 PINNACLE CIRCLE N, PALM HARBOR, FL 34684-1769
28072300         + IDEXX DISTRIBUTION, INC, PO BOX 101327, ATLANTA, GA 30392-1327
28072301         + IGN MEDICAL, 24849 AURORA RD, BEDFORD HEIGHTS, OH 44146-1760
28072302         + IMMACULATE CONCEPTON C, 231 E CENTER ST, BELLEVUE, OH 44811-1479
28072303         + IMMACULATE CONCEPTON CHURCH, 231 E CENTER ST, BELLEVUE, OH 44811-1479




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28072304         + IMPERIALDADE, 2647 MOMENTUM PLACE, CHICAGO, IL 60689-0001
28072306         + IMPRIVATA, ATTN: GENERAL COUNSEL, 10 MAGUIRE RD, BLG 4, LEXINGTONMA, MA 02421-3110
28072307           IN COMPASS HEALTH, PO BOX 931308, ATLANTA, GA 31193-1308
28072308         + IN2BONES, 6000 POPLAR AVE, MEMPHIS, TN 38119-0928
28072309         + INCLUSITY, LLC, PO BOX 880, PERRYSBURG, OH 43552-0880
28072310         + INDEMAND INTERPRETING, 555 ANDOVER PARK WEST, TUKWILA, WA 98188-3379
28072311         + INFAB LLC, 1040 AVENIDA ACASO, CAMARILLO, CA 93012-8712
28072312           INFO ARMOR INC, PO BOX 123189, DALLAS, TX 75312-3189
28072313         + INFUSYSTEM, 11130 STRANG LINE ROAD, LENEXA, KS 66215-2122
28072314         + INJOY HEALTH EDUCATION, ATTN: GENERAL COUNSEL, 7107 LA VISTA PL, LONGMONT, CO 80503-8798
28072315         + INJOY PRODUCTIONS INC, 7107 LA VISTA PLACE, LONGMONT, CO 80503-8798
28072316         + INNERFACE, 5849 PEACHTREE RD, ATLANTA, GA 30341-2355
28072317         + INNERSPACE, DEPT CH14234, PALATINE, IL 60055-0001
28072318         + INNOMED, 103 ESTUS DR, SAVANNAH, GA 31404-1445
28072320         + INNOVATIVE MEDICAL SYS, PO BOX 1476, HUDSON, OH 44236-0976
28072321         + INNOVATIVE MEDICAL SYSTE, 3075 N WILSON COURT, GRAND RAPIDS, MI 49534-7566
28072322         + INNOVATIVE MEDICAL SYSTEMS, PO BOX 1476, HUDSON, OH 44236-0976
28072323         + INNOVATIVE MEDICAL SYSTEMS LLC, ATTN: GENERAL COUNSEL, 5653 WILLIAMSBURG CIR, HUDSON, OH 44236-3761
28072324           INOVALON PROVIDER, INC., PO BOX 856015, MINNEAPOLIS, MN 55485-6015
28072325           INSIGHT DIRECT USA INC, PO BOX 731069, DALLAS, TX 75373-1069
28072326         + INSIGHT GLOBAL FINANCE, ATTN: GENERAL COUNSEL, 6820 S HARL AVE, TEMPE, AZ 85283-4318
28072328         + INTEGR8 HEALTH, LTD, 713 WINDWARD CIRCLE, SANDUSKY, OH 44870-6524
28072329           INTEGRA LIFESCIENCES, PO BOX 404129, ATLANTA, GA 30384-4129
28072330           INTEGRATED MEDICAL, 7012 S REVERE PARKWAY, STE 140, CENTENNIAL, CO 80112-6769
28072332         + INTEGRITY FLOOR SYSTEMS LLC, 310 PARK ST, GIBSONBURG, OH 43431-1467
28072333         + INTELEX GROUP USA, 105 PRAIRIE LAKE RD, UNIT D, EAST DUNDEE, IL 60118-9133
28072334         + INTELLICURE INC, 2700 RESEARCH FOREST D, STE 100, THE WOODLANDS, TX 77381-4252
28072335         + INTELLICURE INC, 2700 RESEARCH FOREST DR, THE WOODLANDS, TX 77381-4252
28072337         + INTERIOR SUPPLY INC., 481 E 11TH AVE, COLUMBUS, OH 43211-2601
28072338         + INTERLACE HEALTH, 13421 MANCHESTER RD, ST LOUIS, MO 63131-1740
28072339         + INTERLIGHT, 7939 NEW JERSEY AVE, HAMMOND, IN 46323-3040
28072344         + INTEROPERABILITY BIDCO INC, PO BOX 392736, PITTSBURGH, PA 15251-9700
28072345         + INTERSTATE ALL BATTERY CT, 4816 MILAN ROAD, SANDUSKY, OH 44870-5886
28072346           INTOXIMETERS, INC, PO BOX 870836, KANSAS CITY, MO 64187-0836
28072347           INTRADO INTERACIVE SERVICES CORP, PO BOX 74007064, CHICAGO, IL 60674-7064
28072348         + INTUITIVE SURGICAL INC, ATTN: GENERAL COUNSEL, 1020 KIFER RD, SUNNYVALE, CA 94086-5301
28072349         + INTUITIVE SURGICAL, IN, 1020 KIFER ROAD, SUNNYVALE, CA 94086-5301
28072351         + INTUITIVE SURGICAL, INC., 1020 KIFER ROAD, SUNNYVALE, CA 94086-5301
28072350         + INTUITIVE SURGICAL, INC., PO BOX 883629, LOS ANGELES, CA 90088-3629
28072353         + INVIZIONS, INC, 2519 SR 61 SOUTH, NORWALK, OH 44857-9181
28072354         + INVUITY INC, 39 STILLMAN ST, SAN FRANSICO, CA 94107-1309
28072355         + ISOLATED POWER SPECIALIST, 3332 TALLWOOD CT, ERLANGER, KY 41018-2829
28072356         + ISTO BIOLOGICS, 45 SOUTH ST, SUITE 3C, HOPKINTON, MA 01748-2237
28072357         + IVANTIS INC, 201 TECHNOLOGY, IRVINE, CA 92618-2400
28072358         + J & B ACOUSTICAL INC, 2750 LEXINGTON AVE, MANSFIELD, OH 44904-1429
28072359         + J & J HEALTH CARE SYSTEM, 5972 COLLECTIONS, CHICAGO, IL 60693-0001
28072360         + J.B. & COMPANY, INC., P.O. BOX 520, TIFFIN, OH 44883-0520
28072361         + J.M. SPECIALTY PARTS INC, 11525 SORRENTO VALLEY RD, SAN DIEGO, CA 92121-1307
28072362         + JACKS AMISH COUNTRY KONNECTION, 189 S BRIDGE RD, LAKESIDE/MARBLEHEAD, OH 43440-9484
28072363         + JACKSON PHYSICIAN SEAR, 2655 NORTHWINDS PKY, ALPHARETTA, GA 30009-2280
28072364         + JACKSON PHYSICIAN SEARCH LLC, 2655 NORTHWINDS PKY, ALPHARETTA, GA 30009-2280
28072365           JACOBS, CONNIE, 8063 FLAT ROCK RD, BELLEVUE, OH 44811-9410
28072366           JAMISON GROUP INC., 330 E MAPLE RD, BIRMINGHAM, MI 48009
28072367         + JANOTTA & HERNER INC, 309 MONROE ST, MONROEVILLE, OH 44847-9440
28072368         + JASTER, P.O. BOX 13, BASCOM, OH 44809-0013
28072369         + JB & SONS CONTRACTING LLC, 13224 CR 32, BELLEVUE, OH 44811-9567
28072370         + JB ROOFING, 1480 S CR 594, TIFFIN, OH 44883-2677
28072371         + JCH LIMITED, 10660 MT ROYAL DR, CONCORD, OH 44077-9109
28072372         + JEANNE JONES, 1503 PEARL ST, SANDUSKY, OH 44870-3039
28072373         + JEBS ANESTHESIA CONSULTANTS, PO BOX 591, GRANGER, IN 46530-0591
28072374         + JENNINGS, 961 W. MAPLE ST., CLYDE, OH 43410-1405
28072375           JENNINGS, AMBER, 961 W MAPLE ST, CLYDE, OH 43410-1405
28072376           JENNINGS, ROBERT, 961 W MAPLE ST., CLYDE, OH 43410-1405




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28072377         +   JENSEN HUGHES, 530 WILLOWBROOK OFFICE PARK, FAIRPORT, NY 14450-4202
28072378         +   JEREMAY, SAMANTHA, 115 RANDALL DRIVE, SANDUSKY, OH 44870-5775
28072379         +   JESBERGER, COLLEEN, 4706 STATE ROUTE 269, CASTALIA, OH 44824-9821
28072380         +   JESS, 1425 NORTH LICKERT-HARDER ROAD, OAK HARBOR, OH 43449-9440
28072381         +   JESS, GREGG, 3025 CR 44, GREEN SPRINGS, OH 44836-9763
28072383         +   JJ CUSTOM APPAREL LLC, 1260 COUNTY RD 308, BELLEVUE, OH 44811-9464
28072384             JJ KELLER & ASSOCIATES, PO BOX 735492, CHICAGO, IL 60673-5492
28072385         +   JOHNSON, 3A OLDE VILLAGE RD, NORWALK, OH 44857-2280
28072386         +   JOHNSON & JOHNSON HEALTH CARE SYSTEMS IN, ATTN: CONTRACT MANAGER, ENTERPRISE CONTRACTING, 1000 US
                     HWY 202 SOUTH, RARITAN, NJ 08869-1425
28072387             JOHNSON CONTROLS, DEPT. CH 10320, PALATINE, IL 60055-0320
28072388         +   JOHNSON CONTROLS FIRE PROTECTION LP, ATTN: GENERAL COUNSEL, DEPT CH10320, PALATINE, IL 60055-0001
28072389         +   JOHNSON CONTROLS FIRE PROTECTION LP, ATTN: GENERAL COUNSEL, 3661 BRIARFIELD BLVD, STE 101, MAUMEE,
                     OH 43537-9399
28072390         +   JOHNSON JR., JIMMY, 6708 JOPPA RD., HURON, OH 44839-9746
28072391         +   JOINT COMMISSION RESOURCES INC, ATTN: GENERAL COUNSEL, ONE RENAISSANCE BLVD, STE 401, OAKBROOK
                     TERRACE, IL 60181-4805
28072392         +   JONES, 15919 SPERRY ROAD, VERMILION, OH 44089-9270
28072393         +   JOSEPH HOLLOWAY, 2124 TEALWOOD DR., GREENSBORO, NC 27407-6074
28072394         +   JRF ORTHO, 6746 S REVVERE PKWY, CENTENNIAL, CO 80112-6754
28072395         +   JULIUS ZORN INC, PO BOX 1088, CUYAHOGA FALLS, OH 44223-1088
28072396             JURGAN DEVELOPMENT AND, MANUFACTURING, MADISON, WI 53705
28072397         +   KAISER, 510 SOUTHWEST STREET, BELLEVUE, OH 44811-1866
28072398         +   KAMANN, 721 CASTALIA STREET, BELLEVUE, OH 44811-1122
28072399         +   KAPSTONE MEDICAL LLC, ATTN: GENERAL COUNSEL, 520 ELLIOT ST, CHARLOTTE, NC 28202-1366
28072400         +   KARASIK & FAZIO LLC, 628 CR 312, BELLEVUE, OH 44811-9027
28072401         +   KARAVOLOS, THOMAS, 2730 ALLISTON CT, COLUMBUS, OH 43220-4216
28072402             KARL STORZ ENDOSCOPY, FILE NO 53514, LOS ANGELES, CA 90074-3514
28072403         +   KARPINSKI ENGINEERING, 3135 EUCLID AVE, CLEVELAND, OH 44115-2524
28072404         +   KARR, ALYSSA, 740 COUNTY ROAD 212, FREMONT, OH 43420-8401
28072405         +   KASTEN, JAMES D., 278 BENNEDICT AVE., NORWALK, OH 44857-2718
28072406         +   KAY DEE DESIGNS, 177 SKUNK HILL RD, HOPE VALLEY, RI 02832-1211
28072407             KCI, PO BOX 301557, DALLAS, TX 75303-1557
28072408         +   KDI MED SUPPLY, PO BOX 162, GIBSONBURG, OH 43431-0162
28072409         +   KEEGAN, 940 NORTHWEST ROAD, CASTALIA, OH 44824-9612
28072410             KEEGAN, CHAD, 120 DREW LN, CLYDE, OH 43410-1803
28072411             KEEGAN, NANCALYN, 450 S COUNTY ROAD 294, CLYDE, OH 43410-8701
28072412             KEEGAN, THERESA, 120 E DREW LN, CLYDE, OH 43410-1803
28072413         +   KEITH, ZACHARY, 807 GARRISON ST., FREMONT, OH 43420-2951
28072414         +   KELLER PLUMBING, LLC, 2502 LIMA SANDUSKY RD, SANDUSKY, OH 44870-9732
28072415         +   KELLER, LYNN, 2493 E SAND RD, PORT CLINTON, OH 43452-2794
28072416             KELLI'S GIFT SHOP SUPPLIE, PO BOX 660850, DALLAS, TX 75266-0850
28072418             KERECIS, DEPT CH 17640, PALATINE, IL 60055-7640
28072419             KESSLER, DIANNE, 502 S TOWNSHIP RD 77, REPUBLIC, OH 44867-9302
28072420             KESSLER, MARK, 502 S TOWNSHIP ROAD 77, REPUBLIC, OH 44867-9302
28072422         +   KEY INNOVATIONS LLC, ATTN: GENERAL COUNSEL, PO BOX 354, LOUISVILLE, OH 44641-0354
28072423         +   KEY INNOVATIONS LLC., PO BOX 354, LOUISVILLE, OH 44641-0354
28072424             KEY SURGICAL, PO BOX 74809, CHICAGO, IL 60694-4809
28072426         +   KEYSTONE MEDICAL SERVI, PO BOX 1476, HUDSON, OH 44236-0976
28072427         +   KEYSTONE MEDICAL SERVICES, PO BOX 1476, HUDSON, OH 44236-0976
28072428             KILE, CHRISTOPHER, 810 NORTHWEST ST, BELLEVUE, OH 44811-1110
28072429         +   KING, 15 LAUREL LANE, NORWALK, OH 44857-2507
28072430         +   KIRSTEATTER, FLORA, 235 NATHAN DRIVE, CLYDE, OH 43410-9654
28072431             KISTLER, BRIAN, 5115 STRECKER RD, MONROEVILLE, OH 44847-9603
28072433         +   KITCH ATTONEYS & COUNSELORS, ONE WOODARD AVE, DETROIT, MI 48226-3430
28072434         +   KLINE, 2786 CR 262, CLYDE, OH 43410-8529
28072436         +   KNIGHT MD KIM E, 208 YORKSHIRE PLACE, BELLEVUE, OH 44811-9004
28072437             KNISLEY, SCOTT, 112 RED PATH CIR, FREMONT, OH 43420-2724
28072438         +   KOCH, 505 LINDEN WAY, SANDUSKY, OH 44870-6302
28072439         +   KOCH, 505 LINDEN WAY DRIVE, SANDUSKY, OH 44870-6302
28072440             KOCH, KAMERON, 2010 COUNTY RD. 292, BELLEVUE, OH 44811-8707
28072441             KOHLENBERG, MANDIE, 220 W BOALT ST, SANDUSKY, OH 44870-3538
28072442         +   KOLMAN, CYNTHIA, 23004 CHANDLERS LN, OLMSTEAD FALLS, OH 44138-3272




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28072443           KOPF, WILLIAM, 307 BENTON RD, SYCAMORE, OH 44882-9641
28072444         + KOTCH, MARGARET, 2242 NAPOLEON RD., FREMONT, OH 43420-2642
28072446         + KOTH, 7521 ST RT 101 E, CLYDE, OH 43410-8542
28072445         + KOTH, 353 WEST MAPLE STREET, CLYDE, OH 43410-1508
28072447           KOVACH, AMANDA, 1006 PRAIRIE ST, LAKESIDE MARBLEHEAD, OH 43440-2057
28072448         + KOWALSKI, PETE, 1419 KINGLSEY CIRCLE NORTH, SANDUSKY, OH 44870-7143
28072449        #+ KRAFT, 1507 SHELBY ST, SANDUSKY, OH 44870-3140
28072450         + KRAMER, 732 FENNIMORE ST, FREMONT, OH 43420-3119
28072453           KROMER, COBEY, 1355 ZENOBIA RD, NORWALK, OH 44857-9234
28072456         + KRONOS INCORPORATED, PO BOX 743208, ATLANTA, GA 30374-3208
28072454         + KRONOS INCORPORATED, ATTN: GENERAL COUNSEL, PO BOX 845765, BOSTON, MA 02284-5765
28072455           KRONOS INCORPORATED, ATTN: RACHEL REZNIK, PO BOX 845765, BOSTON, MA 02284-5765
28072457         + KUCK, 10215 LAFAYETTE ROAD, HARROD, OH 45850-9434
28072458         + KUHN, SHIRLEY, 6061 S TWP RD 159, TIFFIN, OH 44883-9371
28072459         + KUTZ, 6662 CR 175, BELLEVUE, OH 44811-9457
28072461         + KY MEDS, 704 EXECUTIVE PARK, LOUISVILLE, KY 40207-4207
28072462         + KYRA MEDICAL INC, 102 OTIS ST, NORTHBOROUGH, MA 01532-2465
28072463         + LAB INTEROPERABILITY COLLABORATIVE, PO BOX 545, ST PAUL, MN 55090-0545
28072464         + LABEL AID, 608 RYE BEACH RD, HURON, OH 44839-2064
28072465           LABONTE, DOLORES, 127 MILES AVE, BELLEVUE, OH 44811-1724
28072468         + LABORATORY SUPPLY COMPANY, ATTN: GENERAL COUNSEL, 4310 CHEFS WAY, STE 102, LOUISVILLE, KY 40218-3078
28072469           LABORIE MEDICAL TECHNOLOGIES, PO BOX 734615, CHICAGO, IL 60673-4615
28072470        ++ LABSCO, 1951 BISHOP LANE STE 300, LOUISVILLE KY 40218-1950 address filed with court:, LABSCO, 1951 BISHOP LANE,
                   LOUISVILLE, KY 40218
28072471           LAERDAL MEDICAL CORPORATION, LOCKBOX 784987, PHILADELPHIA, PA 19178-4987
28072472         + LAKE BUSINESS PRODUCTS, 37200 RESEARCH DR, EASTLAKE, OH 44095-1869
28072473           LAKE BUSINESS PRODUCTS, PO BOX 74370, CLEVELAND, OH 44194-0002
28072474         + LAKE BUSINESS PRODUCTS INC, ATTN: GENERAL COUNSEL, 653 MINER RD, HIGHLAND HEIGHTS, OH 44143-2115
28072475         + LAKE FRONT PUBLICATIONS, PO BOX K, PORT CLINTON, OH 43452-8011
28072476           LAMAR COMPANIES, PO BOX 746966, ATLANTA, GA 30374-6966
28072478           LANDAUER INC, PO BOX 809051, CHICAGO, IL 60680-9051
28072477           LANDAUER INC, ATTN: EDDYE HURT, PO BOX 809051, CHICAGO, IL 60680-9051
28072479           LANE, LINDA, 6201 MAPLE HILL RD, CASTALIA, OH 44824-9796
28072480         + LAPLANTE, 114 ADAMS STREET, FREMONT, OH 43420-2336
28072481         + LAUB, 243 NORTHWEST STREET, BELLEVUE, OH 44811-1021
28072482         + LAUGHLIN, 77 S. MAIN ST., MILAN, OH 44846-9756
28072483         + LAUTERBACH & ELIBER, INC., 1721 BETHEL RD, COLUMBUS, OH 43220-1836
28072484         + LAWRENCE, 16091 CTY. RD. 46, BELLEVUE, OH 44811-9561
28072485           LAWRENCE, DONALD, 4860 US HIGHWAY 224 W, WILLARD, OH 44890-9260
28072486         + LAWSON PRODUCTS, 9146 BROADVIEW RD, BROADVIEW HTS, OH 44147-2515
28072487         + LBP LEASING, 24800 LAKELAND BLVD, EUCLID, OH 44132-2626
28072488         + LEASEQUERY LLC, PO BOX 771470, ST LOUIS, MO 63177-2470
28072489         + LEE, JENNIFER, 1500 RIVER ST., FREMONT, OH 43420-3545
28072490         + LEECHES USA, LTD, 300 SHAMES DRIVE, WESTBURY, NY 11590-1736
28072491         + LEHIGH OUTFITTERS LLC, 39 ECANAL ST, NELSONVILLE, OH 45764-1247
28072492         + LEIBENGOOD, BETHANI, 3622 E CR 113, GREEN SPRINGS, OH 44836-9608
28072493         + LEMAITRE INC, 63 SECOND AVE, BURLINGTON, MA 01803-4413
28072494         + LEPLEY, 4094 PRAIRIE ROAD, BELLEVUE, OH 44811-9748
28072495         + LESHER, ELIZABETH, 5470 TWP RD 81, BELLEVUE, OH 44811-9568
28072496         + LEWIS, 6202 CR 177, BELLEVUE, OH 44811-8708
28072497         + LEWIS, 318 BELLE AVENUE, BELLEVUE, OH 44811-1851
28072498         + LEWIS, TERRY, PO BOX 322, CASTALIA, OH 44824-0322
28072499         + LEWIS, TONYA, 11208 KELLEY ROAD, MILAN, OH 44846-9707
28072500         + LGC CLINICAL DIAGNOSTICS INC, 37 BIRCH STREET, MILFORD, MA 01757-5501
28072501         + LIBERTY CENTER, 1421 EAST STATE STREET, FREMONT, OH 43420-4049
28072502         + LIEMCO LTD, PO BOX 251, OCEANSIDE, NY 11572-0251
28072503           LIFE FITNESS, 2716 NEWTORK PLACE, CHICAGO, IL 60673-1271
28072504         + LIFE NET, 1864 CONCERT DRIVE, VIRGINIA BEACH, VA 23453-1903
28072505         + LIFE SAFETY ENTERPIRSE, ATTN: ANGELA TIMPERIO, 4699 HAMANN PARKWAY, WILLOUGHBY, OH 44094-5631
28072506         + LIFE SAFETY ENTERPIRSES, INC, 4699 HAMANN PARKWAY, WILLOUGHBY, OH 44094-5631
28072507         + LIFE SAFETY ENTERPRISES INC, ATTN: GENERAL COUNSEL, 4699 HAMANN PKWY, WILLOUGHBY, OH 44094-5631
28072508         + LIFE SAFETY SERVICES, 908 S 8TH ST, LOUISVILLE, KY 40203-3360
28072509         + LIFE SAFETY SYSTEMS LL, ATTN: STEVE, PO BOX 64, HINCKLEY, OH 44233-0064




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28072510         + LIFE SAFETY SYSTEMS LLC, PO BOX 64, HINCKLEY, OH 44233-0064
28072511         + LIFE SAFETY SYSTEMS LLC, ATTN: GENERAL COUNSEL, 10143 ROYALTON RD, STE R, NORTH ROYALTON, OH
                   44133-4468
28072512           LIFENET HEALTH, PO BOX 79636, BALTIMORE, MD 21279-0636
28072513         + LIFESTYLES, ATTN: GENERAL COUNSEL, 30 PONDS SIDE DR, FREMONT, OH 43420-2677
28072514         + LIFESTYLES 2000, 30 PONDS SIDE DRIVE, FREMONT, OH 43420-2677
28072515         + LILLY, 150 FRIEDLEY AVE, BELLEVUE, OH 44811-1047
28072516           LILLY, ALLESSANDRIA, 150 FRIEDLEY AVE, BELLEVUE, OH 44811-1047
28072517         + LIMBACH, 3620 BOOS RD., HURON, OH 44839-2042
28072518           LINDE GAS & EQUIPMENT INC, 10660 DEPT CH, PALATINE, IL 60055-0660
28072519           LINKEY, CHRISPOTHER, 601 N SANDUSKY ST, BELLEVUE, OH 44811-1252
28072520         + LIPSTRAW, 3844 CR 93, WOODVILLE, OH 43469-9784
28072521         + LISA C BOVIA, 44 W WASHINGTON ST, NORWALK, OH 44857-1357
28072522         + LISA M STOTTLEMIRE, 112 E. MAIN ST., NORWALK, OH 44857-1833
28072523         + LISKAI, 158 FRIEDLEY AVENUE, BELLEVUE, OH 44811-1047
28072524         + LOMBARDI, 11312 KELLY ROAD, MILAN, OH 44846-9484
28072525         + LOMBARDI, ANTHONY, 11312 KELLEY RD., MILAN, OH 44846-9484
28072526         + LOMBARDI, JACOB, 11312 KELLEY RD, MILAN, OH 44846-9484
28072527         + LONGORIA, STEFANI R, 230 SOUTH CHURCH STREET, CLYDE, OH 43410-2112
28072528         + LORIS PRINTING INC, 2111 CLEVELAND RD, SANDUSKY, OH 44870-4412
28072529         + LOVE, 351 PERU CENTER ROAD NORTH, MONROEVILLE, OH 44847-9500
28072530         + LSC SERVICE CORP, 14300 DETROIT AVE, SUITE 110, LAKEWOOD, OH 44107-4441
28072531         + LSL HEALTHCARE INDUSTRIES, LLC, 6200 W. HOWARD STREET, NILES, IL 60714-3404
28072532         + LUCAS COUNTY COMMON PLEAS COURT, 700 ADAMS ST, TOLEDO, OH 43604-5679
28072533           LUKAC, LISA, 12600 TOWNSHIP ROAD 178, BELLEVUE, OH 44811-8818
28072534           LUKASKO, JOHN, 21 HENRY ST., NORWALK, OH 44857-2406
28072535         + LUMENIS BE INC, ATTN: GENERAL COUNSEL, 2077 GATEWAY PL, STE 300, SAN JOSE, CA 95110-1149
28072536           LUMENIS BE INC., DEPT CH18047, PALATINE, IL 60055-8047
28072537         + LUMENIS INC, ATTN: GENERAL COUNSEL, 2077 GATEWAY PL, STE 300, SAN JOSE, CA 95110-1149
28072538         + LUMENIS INC, ATTN: GENERAL COUNSEL, 5302 BETSY ROSS DR, SANTA CLARA, CA 95054-1101
28072539         + LYNCH, BAMBI, 3408 W TWP RD 152, TIFFIN, OH 44883-9322
28072540         + LYNN MEDICAL INSTRUMENT, PO BOX 930459, WIXOM, MI 48393-0459
28072542         + LYNX EMS, LLC, 10123 ALLIANCE RD, BLUE ASH, OH 45242-4887
28072541         + LYNX EMS, LLC, 10123 ALLIANCE RD, SUITE 300, BLUE ASH, OH 45242-4887
28072544        #+ LYON SOFTWARE, 5800 MONROE ST, SYLVANIA, OH 43560-2211
28072543        #+ LYON SOFTWARE, ATTN: DEANNE VANSICKLE, 5800 MONROE ST, BUILDING E, SYLVANIA, OH 43560-2211
28072545         + MAAS, 360 SANDUSKY CTY RD 294, CLYDE, OH 43410-8703
28072546         + MACRO HELIX LLC, PO BOX 742256, ATLANTA, GA 30374-2256
28072548         + MACRO HELIX LLC, ATTN: GENERAL COUNSEL, PO BOX 742256, ATLNTA, GA 30374-2256
28072547         + MACRO HELIX LLC, ATTN: GENERAL COUNSEL, 2 NATIONAL DATA PLAZA, 4TH FLOOR, ATLANTA, GA 30329-2019
28072549         + MAGRUDER HOSPITAL, 615 FULTON STREET, PORT CLINTON, OH 43452-2097
28072550         + MAILFINANCE INC, ATTN: GENERAL COUNSEL, 478 WHEELERS FARMS RD, MILFORD, CT 06461-9105
28072551         + MAINE MOLECULAR QUALITY, 23 MILL BROOK ROAD, SACO, ME 04072-9806
28072552         + MAIRER, MARY, 425 S. BROADWAY ST., GREEN SPRINGS, OH 44836-9641
28072553         + MAJ, 2104 COUNTY ROAD 292, BELLEVUE, OH 44811-9433
28072554         + MAJ ENTERPRISES, 2104 CR 292, BELLEVUE, OH 44811-9433
28072555         + MALLINCKRODT INC., PO BOX 73192, CHICAGO, IL 60673-7192
28072556         + MALONE UNIVERSITY, 2600 CLEVELAND AVE NW, CANTON, OH 44709-3897
28072557           MALTESE, ANTHONY, 219 BRINKER ST., BELLEVUE, OH 44811-1505
28072558         + MAQUET MEDICAL SYSTEMS USA, 3615 SOLUTIONS CENTER, CHICAGO, IL 60677-3006
28072559         + MARCO HELIX LLC, ATTN: GENERAL COUNSEL, PO BOX 742256, ATLANTA, GA 30374-2256
28072560           MARKETLAB, PO BOX 844348, BOSTON, MA 02284-4348
28072561         + MARTIN, 308 UNION ST, BELLEVUE, OH 44811-1039
28072562         + MARTIN, 6650 CO RD 191, BELLEVUE, OH 44811-9468
28072563         + MARTIN, 1890 WURTZ ROAD, ATTICA, OH 44807-9732
28072564         + MARTIN, DONALD, 249 N MADISON ST, REPUBLIC, OH 44867-9796
28072565           MARTIN, ELIZABETH, MATERIALS MGMT, BELLEVUE, OH 44811
28072566           MARTIN, JOSEPHINE, 925 WOODLAND AVE, FREMONT, OH 43420-4542
28072567         + MARTINEZ, 111 MAPLE LANE, GREEN SPRINGS, OH 44836-9645
28072568         + MASIMO, 28932 NETWORK PLACE, CHICAGO, IL 60673-1289
28072569         + MASON, 131 GREENWOOD HEIGHTS, BELLEVUE, OH 44811-1050
28072571           MASS MUTUAL LIFE INS. CO., 1295 STATE ST, SPRINGFIELD, MA 01111-0001
28072572         + MAST BIOSURGERY USA, 6749 TOP GUN ST., SAN DIEGO, CA 92121-4151




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28072573         + MATRIX RISK MANAGEMENT SERVICES LLC, ATTN: GENERAL COUNSEL, 125 PRESUMPSCOT ST, FALMOUTH, ME
                   04103-5225
28072574         + MAY, THOMAS, 124 N PROSPECT ST, FREMONT, OH 43420-4247
28072576         + MAYNARD, 513 PIERCE STREET, SANDUSKY, OH 44870-4724
28072575         + MAYNARD, 369 NATHAN DR., CLYDE, OH 43410-9648
28072577         + MB FINANCIAL BANK, N.A., 101 N MICHIGAN AVE, MD: H54011, BIG RAPIDS, MI 49307-1466
28072578         + MCBROOM, 1537 S. MAIN STREET, CLYDE, OH 43410-2043
28072579           MCCLANAHAN, PATRICIA, 7337 STATE ROUTE 101 N, CLYDE, OH 43410-9619
28072580           MCCONNELL ORTHOPEDIC MFG. CO., PO BOX 8306, GREENVILLE, TX 75404-8306
28072581         + MCCUBBIN, 6952 STATE RT. 101 N., CLYDE, OH 43410-9622
28072582         + MCDOWELL, 3916 DEERPATH DRIVE, SANDUSKY, OH 44870-6084
28072583         + MCG HEALTH LLC, ATTN: GENERAL COUNSEL, 701 FIFTH AVE, ST 4900, SEATTLE, WA 98104-7097
28072584         + MCG HEALTH LLC, ATTN: GENERAL COUNSEL, 701 FIFTH AVE, STE 4900, SEATTLE, WA 98104-7009
28072586         + MCG HEALTH LLC, ATTN: OFFICE OF GENERAL COUNSEL, HEARST COMMUNICATIONS INC, 300 WEST 57TH ST, NEW
                   YORK, NY 10019-5239
28072587         + MCG HEALTH, LLC, 701 FIFTH AVENUE, ST. 4900, SEATTLE, WA 98104-7097
28072589         + MCGILTON, CINDA, 118 LIBERTY ST, CLYDE, OH 43410-1893
28072590         + MCGILTON, MICHAEL, 118 LIBERTY ST, CLYDE, OH 43410-1893
28072591         + MCGINN, 4030 CTY. RD. 175, CLYDE, OH 43410-9511
28072592         + MCGINN PAINTING, INC., 227 KILBOURNE STREET, BELLEVUE, OH 44811-1325
28072593         + MCGINNIS, 16045 CTY. RD. 34, BELLEVUE, OH 44811-9532
28072595         + MCGORY, 5909 DEYO RD., CASTALIA, OH 44824-9397
28072596           MCKAIN, RITA, 5014 STATE ROUTE 601, NORWALK, OH 44857-9132
28072597         + MCKEAN NICHOLS INC, 2442 CHELSEA ST, AVON, OH 44011-5259
28072598         + MCKESSON HEALTH SOLUTIONS, PO BOX 98347, CHICAGO, IL 60693-8347
28072599           MCKESSON MEDICAL SURGICAL, PO BOX 634404, CINCINNATI, OH 45263-4404
28072600         + MCKESSON MEDICAL-SURGICAL INC, ATTN: GENERAL COUNSEL, 9954 MAYLAND DR, RICHMOND, VA 23233-1484
28072601         + MCKESSON MEDICAL-SURGICAL INC, ATTN: GENERAL COUNSEL, 9954 MAYLAND DR, STE 4000, RICHMOND, VA
                   23233-1484
28072602         + MCKESSON SPECIALTY CARE, 15212 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0152
28072603         + MCKINNEY, 311 ELLIS AVENUE, BELLEVUE, OH 44811-1807
28072604         + MCKINNEY, MICHELE, 311 ELLIS AVE, BELLEVUE, OH 44811-1807
28072605         + MCLAREN ST LUKE'S, 5901 MONCLOVA ROAD, MAUMEE, OH 43537-1841
28072606         + MCMURRAY, P.O. BOX 398, CLYDE, OH 43410-0398
28072607         + MCMURRAY, DAVID, 5970 NORTH TOWNSHIP RD 78, GREEN SPRINGS, OH 44836-9716
28072609         + MCWILLIAMS, 6697 YOUNG ROAD, BELLEVUE, OH 44811-9790
28072610         + MDCH LLC, 21337 DRAKE RD, STRONGSVILLE, OH 44149-6601
28072611         + MEADE, 4906 W. WATERBERRY DRIVE, HURON, OH 44839-2264
28072612         + MEAGROW, 723 TOWNLINE ROAD 151, NORWALK, OH 44857-9535
28072613         + MED LABEL INC., PO BOX 721, FLANDERS, NJ 07836-0721
28072614         + MED ONE CAPITAL FUNDING, LLC, 10712 SOUTH 1300 EAST, SANDY, UT 84094-5094
28072615         + MED PAT & INN PHONE, 31 RIORDAN PLACE, SHREWSBURY, NJ 07702-4305
28072616         + MEDACIST SOLUTIONS GRO, PO BOX 8139, CAROL STREAM, IL 60197-8139
28072617         + MEDACIST SOLUTIONS GROUP LLC, ATTN: GENERAL COUNSEL, PO BOX 892, CHESHIRE, CT 06410-0892
28072618         + MEDACIST SOLUTIONS GROUP, LLC, PO BOX 8139, CAROL STREAM, IL 60197-8139
28072619         + MEDALIST MANAGEMENT, 800 CROSS POINTE, GAHANNA, OH 43230-6688
28072620         + MEDARTIS INC, 127 WEST STREET, KENNETT SQUARE, PA 19348-1698
28072621         + MEDCO BLUE, 351 BURBANK DR, TOLEDO, OH 43607-3308
28072622           MEDELA, 38789 EAGLE WAY, CHICAGO, IL 60678-1387
28072623         + MEDI-DOSE INC, 70 INDUSTRIAL DR, IVYLAND, PA 18974-1433
28072624         + MEDI-NUCLEAR, LLC., PO BOX 844362, BOSTON, MA 02284-4362
28072625           MEDIA NETWORK OF CENTRAL OHIO, PO BOX 677302, DALLAS, TX 75267-7302
28072628           MEDIALAB SOLUTIONS LLC, PO BOX 847635, BOSTON, MA 02284-7635
28072627         + MEDIALAB SOLUTIONS LLC, 1745 NORTH BROWN ROAD, SUITE 300, LAWRENCEVILLE, GA 30043-8157
28072626         + MEDIALAB SOLUTIONS LLC, ATTN: GENERAL COUNSEL, PO BOX 847635, BOSTON, MA 02284-7635
28072629         + MEDIALAB SOLUTIONS LLC, ATTN: GENERAL COUNSEL, MEDIALAB, INC, 1745 N BROWN RD STE 300,
                   LAWRENCEVILLE, GA 30043-8157
28072630         + MEDICAL EVALUATORS, LLC, 28370 KENSINGTON LANE, STE B, PERRYBURG, OH 43551-4180
28072631           MEDICAL GROUP MANAGEMENT ASSOCIATIO, PO BOX 17603, DENVER, CO 80217-0603
28072632         + MEDICAL INFORMATION TECHNOLOGY INC, 7 BLUE HILL RIVER ROAD, CANTON, MA 02021-1001
28072633         + MEDICAL INFORMATION TECHNOLOGY INC, ATTN: GENERAL COUNSEL, 7 BLUE HILL RIVER RD, CANTON, MA
                   02021-1001
28072634         + MEDICAL MUTUAL, L - 3963, COLUMBUS, OH 43260-0001
28072636           MEDICAL MUTUAL OF OHIO, L-3960, COLUMBUS, OH 43260-3960




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28072637        #+   MEDICAL PHYSICS LLC, PO BOX 1055, FRANKLIN, TN 37065-1055
28072638         +   MEDICAL POSITIONING INC, 1717 WASHINGTON ST, KANSAS CITY, MO 64108-1121
28072639         +   MEDICAL PRODUCTS RESOURCE, 1166 EAST CLIFF RD, BURNSVILLE, MN 55337-1577
28072640         +   MEDICAL SOLUTION PROFESSIONALS, 800 CROSS POINTE, GAHANA, OH 43230-6687
28072641         +   MEDICARE ADMINISTRATIVE CONTRACTOR, CGS ADMINISTRATORS, LLC, 1 CAMERON HILL CIR STE 0061,
                     CHATTANOOGA, TN 37402-9815
28072642         +   MEDICINE SHOPPE, 234 W MAIN STREET, BELLEVUE, OH 44811-1330
28072643         +   MEDIPAK, PO BOX 3248, WINCHESTER, VA 22604-2448
28072644         +   MEDKEEPER, ATTN: GENERAL COUNSEL, 1860 BLAKE ST, STE B101, DENVER, CO 80202-1264
28072645         +   MEDKEEPER LLC, 7600 GRANDVIEW AVE, ARVADA, CO 80002-2410
28072646         +   MEDLINE INDUSTRIES HOLDINGS LP, ATTN: ALEX LIBERMAN, GENERAL COUNSEL, THREE LAKES DR, NORTHFIELD,
                     IL 60093-2753
28072649         +   MEDLINE INDUSTRIES INC, ATTN: GENERAL COUNSEL, THREE LAKES DR, NORTHFIELD, IL 60093-2753
28072647        ++   MEDLINE INDUSTRIES INC, ATTN ANNE KISHA, ONE MEDLINE PL, MUNDELEIN IL 60060-4486 address filed with court:,
                     MEDLINE INDUSTRIES INC, BOX 382075, PITTSBURGH, PA 15251
28072650         +   MEDLINE INDUSTRIES LP, ATTN: ALEX LIBERMAN, GENERAL COUNSEL, THREE LAKES DR, NORTHFIELD, IL
                     60093-2753
28072654         +   MEDPIPE MAINTENANCE, PO BOX 541, LAWRENCE, PA 15055-0541
28072656         +   MEDPIPE MAINTENANCE, ATTN: GENERAL COUNSEL, PO BOX 541, 102 FREEDOM DR, LAWRENCE, PA 15055-0541
28072655         +   MEDPIPE MAINTENANCE, ATTN: GENERAL COUNSEL, PO BOX 541, LAWRENCE, PA 15055-0541
28072653         +   MEDPIPE MAINTENANCE, ATTN: DAVID URBANIK, PO BOX 541, 102 FREEMDOM DRIVE, LAWRENCE, PA 15055-0541
28072657         +   MEDSHAPE INC, 1575 NORTHSIDE DR NW, ATLANTA, GA 30318-4242
28072659         +   MEDTEC MEDICAL INC, 1000 ASBURY DRIVE, BUFFALO GROVE, IL 60089-4551
28072660         +   MEDTOX DIAGNOSTICS INC, PO BOX 60575, CHARLOTTE, NC 28260-0575
28072661         +   MEDTOX LAB INC, PO BOX 8107, BURLINGTON, NC 27216-8107
28072662             MEDTRONIC INC, LOCKBOX SERVICES 4642, CHICAGO, IL 60693-0046
28072663             MEDTRONIC SD USA INC, LOCKBOX SERVICES 4642, CHICAGO, IL 60693-0046
28072664         +   MEDTRONIC TRANSFORMATIVE SOLUTIONS, 180 INTERNATIONAL DRIVE, PORTSMOUTH, NH 03801-6837
28072666             MEDTRONIC USA INC, 4642 COLLECTION CENTER DRIVE, CHICAGO, IL 60693-0046
28072665         +   MEDTRONIC USA INC, ATTN: GENERAL COUNSEL, 180 INTERNATIONAL DR, PORTSMOUTH, NH 03801-6837
28072667         +   MEDYNUS, 18 TECHNOLOGY DR, SUITE 109, IRVINE, CA 92618-2309
28072669             MEDYSSEY USA INC, ATTN: GENERAL COUNSEL, 1550 E HIGGINS RD, STE 123, SKOKIE, IL 60077
28072668         +   MEDYSSEY USA INC, ATTN: JENNIFER PALINCHIK, PRESIDENT JALEX MEDICAL, 27865 CLEMENS RD STE 3,
                     WESTLAKE, OH 44145-1114
28072670         +   MEEKINS, 116 HOBSON STREET, BELLEVUE, OH 44811-1720
28072671         +   MEESE, DARIN, PO BOX 258, BETTSVILLE, OH 44815-0258
28072672         +   MEG RESSNER & ASSOCIATES LLC, 3543 EDGAVALE ROAD, TOLEDO, OH 43606-2638
28072674         +   MELCHOR, 2551 CR 174, FREMONT, OH 43420-9321
28072675         +   MELINDA FAZIO, 628 CR 312, BELLEVUE, OH 44811-9027
28072676         +   MEMORIAL PROFESSIONAL SERVICES, PROMEDICA EAP, ATTN: VICE PRESIDENT, OPERATIONS, 100 MADISON AVE,
                     TOLEDO, OH 43604-1516
28072677         +   MEMORIAL PROFESSIONAL SERVICES, LTD, 710 CLEVELAND AVENUE, FREMONT, OH 43420-3224
28072678         +   MENDOZA, 723 MORRISON STREET, FREMONT, OH 43420-4837
28072679             MENDOZA, BEVERLY, 329 N MULBERRY ST, CLYDE, OH 43410-1514
28072680         +   MENDOZA, MANNY, 2163 N 5TH STREET, FREMONT, OH 43420-9579
28072681         +   MENTOR CORPORATION, 15600 COLLECTIONS, CHICAGO, IL 60693-0001
28072682             MERCURY MEDICAL, PO BOX 17009, CLEARWATER, FL 33762-0009
28072683             MERCY LABORATORIES, ATTN LESLIE BRANSON, TOLEDO, OH 43608
28072684             MERGE HEALTHCARE, PO BOX 205824, DALLAS, TX 75320-5824
28072686         +   MERGE HEALTHCARE SOLUTIONS INC, ATTN: GENERAL COUNSEL, 900 WALNUT RIDGE DR, HARTLAND, WI 53029-8347
28072688         +   MERIDIAN BIOSCIENCE IN, PO BOX 630224, CINCINNATI, OH 45263-0224
28072689         +   MERIDIAN BIOSCIENCE INC, PO BOX 630224, CINCINNATI, OH 45263-0224
28072690         +   MERIT MEDICAL SYSTEMS INC, PO BOX 204842, DALLAS, TX 75320-4842
28072691         +   MERRICK, 3602 ANN DRIVE, SANDUSKY, OH 44870-6003
28072692             MERZ NORTH AMERICA, PO BOX 10973, PALATINE, IL 60055-0973
28072693             METHAPHARM INC, PO BOX 749512, ATLANTA, GA 30374-9512
28072694         +   METRACO TRANSPORTATION, 211 WOODLAWN AVE, NORWALK, OH 44857-2276
28072695         +   METRO HEALTH MEDICAL CENTER - NBO, 2500 METROHEALTH DR, CLEVELAND, OH 44109-1900
28072697         +   MEYER, 139 ASHFORD AVENUE, BELLEVUE, OH 44811-1604
28072696         +   MEYER, 105 SWAN STREET, MILAN, OH 44846-9773
28072698         +   MEYER PT, 6333 HUDSON CROSSING PARKWAY, HUDSON, OH 44236-4346
28072699         +   MGC DIAGNOSTICS CORPORATION, ATTN: GENERAL COUNSEL, 350 OAK GROVE PKWY, ST PAUL, MN 55127-8507
28072700             MGC DIAGNOSTICS,, PO BOX 9201, MINNEAPOLIS, MN 55480-9201
28072701         +   MGI INC., 943 W OVERLAND RD, MERIDIAN, ID 83642-6541




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28072702             MHC SOFTWARE HOLDINGS &, PO BOX 772854, DETROIT, MI 48277-2854
28072703         +   MICHAEL, 1109 STILWELL AVENUE, FREMONT, OH 43420-1711
28072704         +   MICHAEL DWYER, 860 VALLEYVIEW DR, BELLEVUE, OH 44811-1658
28072705         +   MICHAEL MCNEESE, 5902 SPRING CREEK RD, TULLAHOMA, TN 37388-5558
28072706         +   MICHAEL SARNS, 3860 RUSDIC DR, READING, MI 49274-9560
28072707         +   MICHAEL WINTHROP, 14824 CANARY COURT, BROOKLYN, OH 49230-9787
28072708             MICHAELS, LISA, 224 WOODARD ST, BELLEVUE, OH 44811-1841
28072709         +   MICRO-TECH ENDOSCOPY, 2855 BOARDWALK DR., ANN ARBOR, MI 48104-6715
28072713         +   MID AMERICA BUSINES SYSTEMS, 810 BUSCH COURT, COLUMBUS, OH 43229-1792
28072714         +   MIDWEST MEDICAL SYSTEMS, 655 CONGRESS PARK DR, DAYTON, OH 45459-4007
28072715         +   MIKOLAJCZYK, 125 NORTH WASHINGTON STREET, FREMONT, OH 43420-2349
28072716         +   MILAVEC, 3157 EDWARDS ROAD, GREENWICH, OH 44837-9423
28072717         +   MILLENNIA PATIENT SERVICES LLC, ATTN: GENERAL COUNSEL, 5000 CENTREGREEN WAY, STE 100, CARY, NC
                     27513-5814
28072718         +   MILLENNIA PATIENT SERVICES, LLC, 5000 CENTREGREEN WAY, CARY, NC 27513-5814
28072719         +   MILLER, 137 S. MAIN STREET, CLYDE, OH 43410-1632
28072720         +   MILLER, 410 CASTALIA ST, BELLEVUE, OH 44811-1216
28072721         +   MILLER, BOB & GLORIA, 822 FLAT ROCK RD, BELLEVUE, OH 44811-9410
28072722             MILLER, SUSAN, 9640 SYLVANIA METAMORA RD, SYLVANIA, OH 43560-9485
28072723             MILLS, ALESIA, 700 LAWNDALE DR., FREMONT, OH 43420-4718
28072724         +   MILLS, TODD, 700 LAWNDALE DRIVE, FREMONT, OH 43420-4718
28072725         +   MIMEDX, 1775 W OAK COMMONS NE, MARIETTA, GA 30062-2254
28072726             MINERVA SURGICAL INC, DEPT CH 17472, PALATINE, IL 60055-7472
28072727         +   MITCHELL, 1814 CHRISTY ROAD, FREMONT, OH 43420-9790
28072728         +   MITTOWER, 11557 EAST CO. RD. 24, REPUBLIC, OH 44867-9666
28072729         +   MIXTURE, 9325 W 53RD ST, MERRIAM, KS 66203-2113
28072730         +   MIZE, 423 NEWPORT DRIVE, HURON, OH 44839-1934
28072731         +   MIZUHO OSI, PO BOX 1468, UNION, CA 94587-6468
28072732         +   MJD MOTORSPORTS, 6308 CR 205, BELLEVUE, OH 44811-9451
28072733         +   MODERN SPROUT LLC, 2010 W FULTON STREET, CHICAGO, IL 60612-2359
28072734        #+   MODERNA, INC, 200 TECHNOLOGY SQUARE, CAMBRIDGE, MA 02139-3578
28072735         +   MOLINA, 535 CLARK STREET, WILLARD, OH 44890-1224
28072736         +   MOLTZ, BETTY L, 5311 DELEMATRE ROAD, MONROEVILLE, OH 44847-9650
28072737         +   MONROEVILLE UTILITIES, PO BOX 156, MONROEVILLE, OH 44847-0156
28072738         +   MONTGOMERY, 417 BRINKER STREET, BELLEVUE, OH 44811-1508
28072739             MOOD MEDIA, 2100 S IH-35 FRONTAGE RD STE 200, AUSTIN, TX 78704
28072740         +   MOORE, 22 CEDAR STREET, NORWALK, OH 44857-2237
28072741         +   MOORE, GREGORY, 4646 COUNTY ROAD 175, CLYDE, OH 43410-9412
28072742         +   MORELL, 6663 STATE ROUTE 412, CLYDE, OH 43410-9738
28072743         +   MORIN, 1737 ST RT 4, BELLEVUE, OH 44811-9738
28072744         +   MORSHER, CHARLES, 7355 TOWNSHIP ROAD 81, BELLEVUE, OH 44811-9593
28072745         +   MORTAN INC, 329 E PINE ST, MISSOULA, MT 59802-4623
28072746         +   MOSHER, 2078 CLEVELAND ROAD, SANDUSKY, OH 44870-4451
28072747         +   MOSS TUBES INC, PO BOX 378, WEST SAND LAKE, NY 12196-0378
28072748         +   MOTLEY, 337 NORTHWEST STREET, BELLEVUE, OH 44811-1023
28072749             MOTOR TREND GROUP LLC, PO BOX 207306, DALLAS, TX 75320-7306
28072750             MOUGEY, ANGELA, 4457 COUNTY ROAD 231, CLYDE, OH 43410-9747
28072751             MOYER, DAVID, 105 PARKVIEW PL, BELLEVUE, OH 44811-9057
28072752             MOYER, HAROLD, 887 W. MAIN, CLYDE, OH 43410
28072753             MRIAUDIO INC, 5809 SEA LION PL, CARISBAD, CA 92083
28072754         +   MRIEQUIP LLC, 6248 BITTERSWEET LANE, NISSWA, MN 56468-2355
28072755             MSDSONLINE, 27185 NETWORK PLACE, CHICAGO, IL 60673-1271
28072756             MT BUSINESS TECHNOLOGIES INC., PO BOX 660831, DALLAS, TX 75266-0831
28072757         +   MTF BIOLOGICS, PO BOX 69385, BALTIMORE, MD 21264-9385
28072758         +   MUD PIE, LLC, PO BOX 117180, ATLANTA, GA 30368-7180
28072759         +   MUNOZ, 131 JOHN ST., BELLEVUE, OH 44811-1065
28072760         +   MUNOZ, BRIANNA, 5761 CO RD. 237 LOT 124, CLYDE, OH 43410-9442
28072761         +   MUSSUN SALES INC, 3419 CARNEGIE AVENUE, CLEVELAND, OH 44115-2638
28072762             MUTUAL HEALTH SERVICES, PO BOX 72365, CLEVELAND, OH 44192-0002
28072763         +   MVAP, 2001 CORPORATE CENTER DRIVE, THOUSAND OAKS, CA 91320-1429
28072764         +   MXR CORP, 4909 MURPHY CANYON RD, STE 120, SAN DIEGO, CA 92123-4300
28072765         +   MYERS, 118 N. COLLINWOOD AVE, FREMONT, OH 43420-4318
28072766         +   MYERS, 1233 CR 220, CLYDE, OH 43410-9005




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28072767         +   MYERS, 9529 E. CASPER CIR., MESA, AZ 85207-7023
28072768        #+   MYERS, 1006 SOUTH CR 198, FREMONT, OH 43420-9180
28072769         +   MYERS RENTAL, 4486 PONTIAC SECTION LINE RD, MONROEVILLE, OH 44847-9739
28072770         +   MYERS, RYAN, 9624 E. US HIGHWAY 224, BLOOMVILLE, OH 44818-9455
28072771         +   NAHAM, 8634 SOLUTION CENTER, CHICAGO, IL 60677-8006
28072772         +   NANA & PAPA'S KETTLE CORN, 2739 CR 306, VICKERY, OH 43464-9733
28072773         +   NANOSONICS INC, DEPT CH 10899, PALATINE, IL 60055-0001
28072775         +   NANOSONICS INC, ATTN: GENERAL COUNSEL, 7205 E 87TH ST, INDIANAPOLIS, IN 46256-1204
28072776             NASON, 2572 C.R. 264, CLYDE, OH 43410
28072778         +   NATHAN FOGT, 455 S. RIVER RD., WATERVILLE, OH 43566-1528
28072779         +   NATHAN PAUL SAMSA, 10 OLD STATE RD., MILAN, OH 44846-9602
28072780         +   NATIONAL BUSINESS FURNITURE, 770 SOUTH 70TH ST., MILWAUKEE, WI 53214-3109
28072781         +   NATIONAL CENTER ON SHAKEN BABY, 1433 N 1075 W, FARMINGTON, UT 84025-2746
28072782         +   NATIONAL RECALL ALERT CENTER, 123 E MAIN ST 609, MARLTON, NJ 08053-7430
28072783         +   NATIONAL TOXICOLOGY, 1425 ELM HILL PIKE, NASHVILLE, TN 37210-4532
28072784             NATIONWIDE CHILDRENS LAB SERVICES, DEPARTMENT 781633, DETROIT, MI 48278-1633
28072785         +   NATIONWIDE LIFE INS CO, 10 SOUTH LASSALLE ST, CHICAGO, IL 60603-1037
28072787         +   NATUS MEDICAL INC, PO BOX 3604, CAROL STREAM, IL 60132-3604
28072788         +   NAVEX GLOBAL INC, PO BOX 60941, CHARLOTTE, NC 28260-0941
28072789        #+   NAVEX GLOBAL INC, ATTN: GENERAL COUNSEL, 5500 MEADOWS RD, STE 500, LAKE OSWEGO, OR 97035-3626
28072790         +   NCS PEARSON INC, 5601 GREEN VALLEY DR., BLOOMINGTON, MN 55437-1187
28072791         +   NEFF, 4174 COUNTY ROAD 175, CLYDE, OH 43410-9509
28072792         +   NEIKIRK, 814 NORTHWEST ST, BELLEVUE, OH 44811-1110
28072793         +   NEILING, 300 WEST MADISON STREET, GIBSONBURG, OH 43431-1322
28072794         +   NEILL, 722 VALLEYVIEW DR., BELLEVUE, OH 44811-1642
28072796         +   NEOTECH/NEOCARE, 28430 WITHERSPOON PARKWAY, VALENCIA, CA 91355-4167
28072797             NEW IMAGE POWERWASHING, 557 S. TOLEDO ST., ELMORE, OH 43416
28072798         +   NEW LIFE SCIENTIFIC, INC, 300 DUPLER ST, CRIDERSVILLE, OH 45806-2304
28072799             NEWLAND, ANNETTE, 11905 STRECKER RD, BELLEVUE, OH 44811-9627
28072800         +   NICHOLS, 520 N DUNBRIDGE RD, BOWLING GREEN, OH 43402-9397
28072801         +   NICHOLS, 3634 MEDUSA RD, NORWALK, OH 44857-9520
28072803             NICKLES BAKERY INC, PO BOX 30, NAVARRE, OH 44662-0030
28072804         +   NIEDERMIER, CHRIS, 2583 CR 270, BELLEVUE, OH 44811-9478
28072805             NIHON KOHDEN, PO BOX 7477, CAROL STREAM, IL 60197-7477
28072806         +   NIHON KOHDEN, ATTN: GENERAL COUNSEL, 15353 BARRANCA PKWY, IRVINE, CA 92618-2216
28072807         +   NILL, MICHAEL, 31 OAKFIELD DRIVE, MILAN, OH 44846-9486
28072808         +   NISSHA MEDICAL TECHNOLOGIES, PO BOX 1271, BUFFALO, NY 14240-1271
28072809         +   NITKIEWICZ, 420 A BAY BREEZE DR, SANDUSKY, OH 44870-2981
28072810         +   NIXON, 322 NORTH SANDUSKY STREET, BELLEVUE, OH 44811-1245
28072811         +   NOBIL'S SPORTS & TROPHIES, 8 1/2 EAST SEMINARY STREET, NORWALK, OH 44857-2121
28072812             NOBILITY LLC, PO BOX 208052, DALLAS, TX 75320-8052
28072813         +   NOBLES, BRYAN, 119 FRIEDLEY AVE, BELLEVUE, OH 44811-1048
28072814         +   NOBLES, LANDEN, 119 FRIEDLEY AVE, BELLEVUE, OH 44811-1048
28072815         +   NOE, TED, 204 MEADOWLARK DR., BELLEVUE, OH 44811-1075
28072816             NOMS HEALTHCARE, ATTN: JOSHUA FREDERICK, PRESIDENT & CEO, ADMINISTRATIVE SERVICES, 3008 HAYES AVE,
                     SANDUSKY, OH 44870
28072817         +   NOODLE SOUP, 4614 PROSPECT #328, CLEVELAND, OH 44103-4377
28072818         +   NORMAN, 845 EAST MAPLE STREET, CLYDE, OH 43410-9710
28072819         +   NORTH CENTRAL EMS, 272 BENEDICT AVE, NORWALK, OH 44857-2374
28072820         +   NORTH CENTRAL SERVICES, 1106 ARLINGTON ST, FREMONT, OH 43420-1604
28072821         +   NORTH COAST HEALTHCARE, 1400 W MAIN STREET, BELLEVUE, OH 44811-9088
28072822         +   NORTH COAST HEALTHCARE COLLABORATIVE LLC, ATTN: GENERAL COUNSEL, 1111 HAYES AVE, SANDUSKY, OH
                     44870-3323
28072823         +   NORTH COAST LIFT TRUCK, INC, PO BOX 565, MENTOR, OH 44061-0565
28072824             NORTH COAST PROFESSIONAL CO, PO BOX 713310, CINCINNATI, OH 45271-3310
28072825         +   NORTH COAST PROFESSIONAL CO LLC, 1912 HAYES AVE STE 1 E, SANDUSKY, OH 44870-4736
28072826         +   NORTH GAUGE HEALTH CARE ADVISORS, 200 UNION BLVD, STE 200, LAKEWOOKD, CO 80228-1831
28072829         +   NORTHERN LITHO OHIO LL, 9010 STRADA STELL CT 1, NAPLES, FL 34109-4424
28072830         +   NORTHERN LITHO OHIO LLC, 9010 STRADA STELL CT 103, NAPLES, FL 34109-4425
28072832         +   NORTHERN OHIO RURAL WATER, 2205 US HWY 20 E, NORWALK, OH 44857-9521
28072835         +   NORTHWEST OHIO SHARED SERVICES, 3231 CENTRAL PARK W. DR., STE 200, TOLEDO, OH 43617-3009
28072837         +   NORTHWEST OHIO SHARED SERVICES, ATTN: GENERAL COUNSEL, 3230 CENTRAL PARK WEST DR, STE 206, TOLEDO,
                     OH 43617-1019




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28072836         + NORTHWEST OHIO SHARED SERVICES, ATTN: GENERAL COUNSEL, 3231 CENTRAL PARK WEST DR, STE 200, TOLEDO,
                   OH 43617-3009
28072839         + NORWALK MUNICIPAL COURT, 45 NORTH LINWOOD, NORWALK, OH 44857-1518
28072840         + NORWOOD, 4177 STATE ROUTE 601, NORWALK, OH 44857-9127
28072841           NOVIS PHARMACEUTICALS, PO BOX 102592, ATLANTA, GA 30368-2592
28072842           NRC HEALTH, PO BOX 30094, OMAHA, NE 68103-1194
28072843         + NUANCE COMMUNICATIONS INC, ATTN: GENERAL COUNSEL, 1 WAYSIDE RD, BURLINGTON, MA 01803-4609
28072844         + NUANCE INC., 1 WAYSIDE RD., BURLINGTON, MA 01803-4609
28072846         + NUVASIVE CLINICAL SERV, MONITORING IN, 10275 LITTLE PATUXENT, SUITE 300, COLUMBIA, MD 21044-3445
28072847         + NUVASIVE CLINICAL SERVICES, 10275 LITTLE PATUXENT PARKWAY, COLUMBIA, MD 21044-3445
28072849         + NUVASIVE CLINICAL SERVICES MONITORING IN, ATTN: GENERAL COUNSEL, 10275 LITTLE PATUXENT PKWY, STE 300,
                   COLUMBIA, MD 21044-3445
28072848         + NUVASIVE CLINICAL SERVICES MONITORING IN, ATTN: LEGAL AFFAIRS, 10275 LITTLE PATUXENT PKWY, STE 300,
                   COLUMBIA, MD 21044-3445
28072850         + NXSTAGE MEDICAL, INC, 350 MERRIMACK STREET, LAWRENCE, MA 01843-1748
28072853         + O'LYNN, 842 FLAT ROCK ROAD, BELLEVUE, OH 44811-9410
28072854         + OBAGI COSMECEUTICALS LLC, 3760 KILROY AIRPORT WAY 500, LONG BEACH, CA 90806-2485
28072855         + OCCUPRO, 3921 30TH AVE STE A, KENOSHA, WI 53144-1939
28072856           OCHENDUSKI, DANIEL, 2111 YORKSHIRE PLACE, BELLEVUE, OH 44811-1835
28072857           OCHS, MADDIE, 7018 HOMEGARDNER ROAD, BELLEVUE, OH 44811
28072860         + OEC MEDICAL SYSTEMS, 2984 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0001
28072861         + OEC MEDICAL SYSTEMS INC, ATTN: GENERAL COUNSEL, 9900 W INNOVATION DR, WAUWATOSA, WI 53226-4856
28072863           OFFICE OF THE UNITED STATES ATTORNEY, SUITE 308, FOUR SEAGATE, THIRD FLOOR, TOLEDO, OH 43604
28072865         + OGLESBEE, 116 NORTH COLUMBUS, FREMONT, OH 43420-4324
28072866         + OHA: ASSOC FOR HOSPITA, 65 E. STATE ST, SUITE 500, COLUMBUS, OH 43215-4277
28072867         + OHA: ASSOC FOR HOSPITALS, 65 E. STATE ST, COLUMBUS, OH 43215-4213
28072869         + OHIO ACTION COALITION, 20545 CENTER RIDGE RD, ROCKY RIVER, OH 44116-3430
28072871           OHIO BUREAU OF WORKERS COMPENSATION, PO BOX 89492, CLEVELAND, OH 44101-6492
28072874         + OHIO CAN CHANGE ADDICTION DAY, 1861 CO. RD. 302, BELLEVUE, OH 44811-9103
28072875         + OHIO CAT, PO BOX 854439, MINNEAPOLIS, MN 55485-4439
28072877         + OHIO CAT, ATTN: GENERAL COUNSEL, 3993 E ROYALTON RD, BROADVIEW HEIGHTS, OH 44147-2929
28072881         + OHIO DEPARTMENT OF MEDICAID, 50 WEST TOWN STREET, SUITE 400, COLUMBUS, OH 43215-4197
28072882         + OHIO DEPARTMENT OF MEDICAID, ATTN: LEGAL DEPARTMENT, 50 W TOWN ST #400, COLUMBUS, OH 43215-4197
28072880           OHIO DEPARTMENT OF MEDICAID, OFFICE OF LEGAL COUNSEL, P.O. BOX 182709, COLUMBUS, OH 43218-2709
28072885           OHIO DEPT OF HEALTH, ACCT UNIT - MS KITS, COLUMBUS, OH 43215
28072888           OHIO EDISON COMPANY, PO BOX 371422, PITTSBURGH, PA 15250-7422
28072889         + OHIO HEALTH, 4417 CORPORATION LANE, VIRGINIA BEACH, VA 23462-3162
28072890         + OHIO HEALTH INFORMATIO, 3455 MILL RUN DR, SUITE 315, HILLIARD, OH 43026-9491
28072891         + OHIO HEALTH INFORMATION PARTNERSHIP, L4371, COLUMBUS, OH 43260-0001
28072892           OHIO HOSPITAL ASSOCIATION, ATTN: GENERAL COUNSEL, 65 E STATE ST, STE 500, COLUMBIA, OH 40215
28072893         + OHIO MOBILE LITHOTRIPSY LLC, 944 GREENBRIAR PARKWAY, SUITE B, KENT, OH 44240-6487
28072895         + OHIO TELECOM, 115 W 2ND ST, PORT CLINTON, OH 43452-1012
28072896         + OHIOS HOSPICE LIFECARE, 1900 AKRON RD, WOOSTER, OH 44691-2518
28072897         + OLAH HEALTHCARE TECHNOLOGY LLC, 4215 WORTH AVE, COLUMBUS, OH 43219-1546
28072898         + OLAH HEALTHCARE TECHNOLOGY LLC, ATTN: GENERAL COUNSEL, 4215 WORTH AVE, STE 310, COLUMBUS, OH
                   43219-1546
28072902         + OLYMPUS AMERICA INC, ATTN: SERVICE CONTRACTS REAM, 3500 CORPORATE PKWY, CENTER VALLEY, PA
                   18034-8229
28072903         + OLYMPUS AMERICA INC, ATTN: SERVICE CONTRACTS TEAM, 3500 CORPORATE PKWY, CENTER VALLEY, PA
                   18034-8229
28072900         + OLYMPUS AMERICA INC, PO BOX 200194, PITTSBURG, PA 15251-0194
28072899         + OLYMPUS AMERICA INC, ATTN: GENERAL COUNSEL, 48 WOERD AVE, WALTHAM, MA 02453-3826
28072904         + OLYMPUS AMERICA INC, ATTN: GENERAL COUNSEL, 3500 CORPORATE PKWY, CENTER VALLEY, PA 18034-8229
28072901         + OLYMPUS AMERICA INC, ATTN: GENERAL COUNSEL, 3500 CORPORATE PKWY, PO BOX 610, CENTER VALLEY, PA
                   18034-0610
28072906         + OLYMPUS AMERICA INC., 3500 CORPORATE PARKWAY, CENTER VALLEY, PA 18034-8229
28072907         + OLYMPUS FINANCIAL SERV, PO BOX 200183, PITTSBURGH, PA 15251-0183
28072909         + OLYMPUS FINANCIAL SERVICES, ATTN: GENERAL COUNSEL, PO BOX 200183, PITTSBURGH, PA 15251-0183
28072910         + OLYMPUS SURGICAL &, INDUS AMERICA INC, PO BOX 200194, PITTSBURGH, PA 15251-0194
28072911           OLYMPUS SURGICAL &, PO BOX 200194, PITTSBURGH, PA 15251-0194
28072912         + OMEGA LABORATORIES INC., 400 N CLEVELAND AVE, MOGADORE, OH 44260-1209
28072914         + OMNI FIBER, 4680 PARKWAY DR., SUITE 450, MASON, OH 45040-7979
28072913           OMNI FIBER, P.O. BOX 780, BURLINGTON, KY 41005-0780
28072916         + OMPC, PO BOX 1055, FRANKLIN, TN 37065-1055




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28072915         + OMPC, ATTN: ERIN THOMAS, C/O APEX PHYSICS PARTN, PO BOX 1055, FRANKLIN, TN 37065-1055
28072917         + OMPC LLC, ATTN: GENERAL COUNSEL, 809 GLENEAGLES CT, STE 100, TOWSON, MD 21286-2204
28072918           ONE HUNDRED 80 DEGRESS, PO BOX 11387, ST PAUL, MN 55111-0387
28072919         + ONE SEVEN COMMUNICATIONS, 1305 BEVERLY BLVD, WALLED LAKE, MI 48390-2517
28072920         + OPPER, 1125 STATE RT 99, MONROEVILLE, OH 44847-9741
28072921         + OPPORTUNITIES, INC., 25648 680TH AVE, COLO, IA 50056-8616
28072922           OPTIMA HEALTH PLAN, 61732 CORPORATION LANE, VIRGINIA BEACH, VA 23466
28072923         + OPTIMEDICAL SYSTEMS INC, PO BOX 932005, ATLANTA, GA 31193-2005
28072924         + OPTP LLC, 3800 ANNAPOLIS LANE N, MINNEAPOLIS, MN 55447-5445
28072925      ++++ OPTUM, ATTN: GENERAL COUNSEL, 1 OPTUM CIR, EDEN PRAIRIE MN 55344-2956 address filed with court:, OPTUM, ATTN:
                   GENERAL COUNSEL, 11000 OPTUM CIR, EDEN PRAIRIE, MN 55344
28072927           OPTUM 360, PO BOX 88050, CHICAGO, IL 60680-1050
28072926           OPTUM 360, ATTN: AARON TORRES, PO BOX 88050, CHICAGO, IL 60680-1050
28072928         + OR SPECIFIC INC, PO BOX 504819, ST LOUIS, MO 63150-4819
28072929           ORELLANA, JOSE, 3917 WEST ST, NEW HAVEN, OH 44850-9502
28072930           ORGANOGENESIS INC, PO BOX 122542, DALLAS, TX 75312-2542
28072931         + ORGANOGENESIS INC, ATTN: GENERAL COUNSEL, 10933 NORTH TORREY PINES RD, LA JOLLA, CA 92037-1054
28072935           ORTHOFIX, PO BOX 849806, DALLAS, TX 75284-9806
28072936         + ORTHOHELIX SURGICAL DESIGNS INC, 75 REMITTANCE DRIVE, CHICAGO, IL 60675-1001
28072937         + ORTHOPAEDIC INSTITUTE, 801 MEDICAL DRIVE STE, LIMA, OH 45804-4030
28072938         + ORTHOPAEDIC INSTITUTE OF OHIO INC, 801 MEDICAL DRIVE STE A, LIMA, OH 45804-4030
28072939         + ORTHOPAEDIC INSTITUTE OF OHIO INC, ATTN: GENERAL COUNSEL, 801 MEDICAL DR, STE A, LIMA, OH 45804-4030
28072940           ORTNER, TAYLOR, 5611 SUSAN DR., CASTALIA, OH 44824-9749
28072941         + OSBORNE, CHEYENNE, 329 WEST BUCKEYE ST., CLYDE, OH 43410-1937
28072942         + OSIRIS THERAPEUTICS INC, 7015 ALBERT EINSTEIN DR, COLUMBIA, MD 21046-1707
28072943         + OSSIO INC., 300 TRADECENTER DR., WOBURN, MA 01801-7415
28072944         + OSTEOMED, 2241 COLLECTION CENTER DR, CHICAGO, IL 60693-0001
28072945         + OSUPPLIES.COM, PO BOX 697, SANDUSKY, OH 44871-0697
28072946         + OTT, HOLLIE, 3172 N. TOWNSHIP RD. 155, TIFFIN, OH 44883-9508
28072947         + OTTERBACHER BROS CONCESSIONS, 15304 EBY RD., SEVILLE, OH 44273-9603
28072948         + OTTERBEIN UNIVERSITY, 1 SOUTH GROV ST, WESTERVILLE, OH 43081-2004
28072949           OUTFRONT MEDIA, PO BOX 33074, NEWARK, NJ 07188-0074
28072950         + OUTTEN, 4290 ST RT 601, NORWALK, OH 44857-9340
28072951         + OVERMYER, 138 HAMILTON STREET, BELLEVUE, OH 44811-1307
28072953         + OXFORD PERFORMANCE MATERIALS, 30 SOUTH SATELLITE RD, SOUTH WINDSOR, CT 06074-3445
28072954         + PAETH, 1589 COUNTY ROAD 90, GIBSONBURG, OH 43431-9718
28072955         + PAJUNK USA, 4575 MARCONI DR, ALPHARETTA, GA 30005-5517
28072956         + PALL CORPORATION, PO BOX 116195, ATLANTA, GA 30368-6195
28072957         + PALOMO, 1625 MAPLE LANE, FREMONT, OH 43420-3611
28072958         + PALOMO, JILL, 3607 MAPLE AVE., CASTALIA, OH 44824-9509
28072959         + PANFALONE, 138 COUNTRY VIEW DRIVE, BELLEVUE, OH 44811-9087
28072960         + PAPERBOS LLC, PO BOX 811, FLORENCE, MT 59833-0811
28072962         + PAR EXCELLENCE SYSTEMS, 11500 NORTHLAKE DR, CINCINNATI, OH 45249-1655
28072961         + PAR EXCELLENCE SYSTEMS, 11500 NORTHLAKE DR, SUITE 135, CINCINNATI, OH 45249-1655
28072963         + PAR EXCELLENCE SYSTEMS INC, ATTN: GENERAL COUNSEL, 11500 NORTHLAKE DR, CINCINNATI, OH 45249-1655
28072964         + PARAGARD, 12601 COLLECTION CENTER DR, CHICAGO, IL 60693-0001
28072965         + PARAGON 28 INC, ATTN: GENERAL COUNSEL, 14445 GRASSLANDS DR, ENGLEWOOD, CO 80112-7062
28072966           PARAGON 28, INC, DEPT 1532, SALT LAKE CITY, UT 84130-0106
28072967         + PARISH, MARIAH, 319 N. WAYNE ST., FREMONT, OH 43420-2435
28072969         + PARK PLACE TECHNOLOGIES LLC, ATTN: GENERAL COUNSEL, 5910 LANDERBROOK DR, STE 300, MAYFIELD HEIGHTS,
                   OH 44124-6506
28072968         + PARK PLACE TECHNOLOGIES LLC, PO BOX 78000 DEPT 781156, DETROIT, MI 48278-0001
28072970         + PARKHURST, JOSEPH, 2061 COUNTY ROAD 260, VICKERY, OH 43464-9766
28072971         + PARSONS RISK STRATEGIES, LLC, 347 TIMBERLANE DR, AVON LAKE, OH 44012-1515
28072972           PARTSOURCE, PO BOX 645186, CINCINNATI, OH 45264-5186
28072973         + PASSPORT HEALTH, COMMUNICATIONSINC, PO BOX 635527, CINCINNATI, OH 45263-5527
28072974           PASSPORT HEALTH, COMMUNICATIONSINC, CINCINNATI, OH 45263-5527
28072975         + PATHLINK OF OH LLC, ATTN: DAVID ANDERSON, 66 W GILBERT ST, STE 1, RED BANK, NJ 07701-4947
28072976         + PATHLINK OF OH LLC, 66 W GILBERT ST, STE 100, RED BANK, NJ 07701-4948
28072977         + PATRICK, 303 N WOODLAND AVE, CLYDE, OH 43410-1413
28072978         + PATRICK, 303 NORTH WOODLAND AVENUE, CLYDE, OH 43410-1413
28072979           PATTERSON MEDICAL, POB OX 93040, CHICAGO, IL 60673-3040
28072980         + PAY JEFFREY, 19595 CROSS TRAIL N., STRONGSVILLE, OH 44136-8201




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28072981         + PAYMENT RESOLUTION SERVICES, PO BOX 415000, NASHVILLE, TN 37241-5000
28072982           PAYSCALE INC, PO BOX 207845, DALLAS, TX 75320-7845
28072983         + PAYSCALE-MARKET PAY, 75 REMITANCE DRIVE, CHICAGO, IL 60675-1001
28072984         + PDQ.COM CORPORATION, PO BOX 1229, SALT LAKE CITY, UT 84110-1229
28072985         + PEACE MEDICAL, 105 W DEWEY AVE, WHARTON, NJ 07885-1640
28072986         + PEACOCK, 13054 COUNTY ROAD 32, BELLEVUE, OH 44811-9567
28072987         + PEACOCK WATER, 430 S MAIN ST, KENTON, OH 43326-1947
28072988         + PECINA, 205 PARK AVENUE, BELLEVUE, OH 44811-1835
28072989           PEDIATRIX MEDICAL GROUP OF, PO BOX 281034, ATLANTA, GA 30384-1034
28072990           PEM FILINGS, DEPARTMENT 1920, PO BOX 4110, WOBURN, MA 01888-4110
28072992         + PEM FILINGS, ATTN: GENERAL COUNSEL, 50 WATERBURY RD, STE 357, PROSPECT, CT 06712-1258
28072991           PEM FILINGS, DEPARTMENT 1920, WOBURN, MA 01888-4110
28072993         + PENN-JERSEY X-RAY, 4805 LENOX AVE, JACKSONVILLE, FL 32205-4979
28072994         + PENSION INNOVATIONS & CONSULTANTS, 7558 KINGS POINTE RD, TOLEDO, OH 43617-1557
28072995           PEOPLE 2.0 NORTH AMERICA, LLC, PO BOX 677905, DALLAS, TX 75267-7905
28072996           PEOPLE FACTS LLC, PO BOX 740303, LOS ANGELES, CA 90074-0303
28072997           PEPSI COLA GEN BOTTL I, ATTN: ROGER DUVENDACK, PO BOX 75948, CHICAGO, IL 60675-5948
28072998           PEPSI COLA GEN BOTTL INC, PO BOX 75948, CHICAGO, IL 60675-5948
28072999           PERFORMANCE HEALTH SUPPLY INC, PO BOX 93040, CHICAGO, IL 60673-3040
28073000         + PERIPHERAL RESOURCES, INC, 2721 LA CIENEGA BLVD, LOS ANGELES, CA 90034-2643
28073001           PERKINS, 2819 NCR 27, BELLEVUE, OH 44811
28073002        ++ PERRY PROTECH INC, 265 COMMERCE PARKWAY, LIMA OH 45804-4011 address filed with court:, PERRY PROTECH, 545 W
                   MARKET ST, LIMA, OH 45801
28073004         + PERRY S PLANTATION INC, ATTN: GENERAL COUNSEL, 1400 SENECA INDUSTRIAL PKWY, BELLEVUE, OH 44811-9440
28073005         + PERRYS PLANTATION INC, 1400 SENECA IND PKWY, BELLEVUE, OH 44811-9440
28073006         + PETITTI, 2574 FANGBONER ROAD, FREMONT, OH 43420-8916
28073007         + PF2 EIS LLC, ATTN: CONTRACT OPERATIONS, 5995 WINDWARD PKWY, ALPHARETTA, GA 30005-4184
28073008         + PHENICIE, 517 FULTON STREET, SANDUSKY, OH 44870-2345
28073009         + PHENICIE, DEBORAH, 517 FULTON STREET, SANDUSKY, OH 44870-2345
28073011         + PHILIPS HEALTHCARE, ATTN: GENERAL COUNSEL, 22100 BOTHELL EVERETT HWY, PO BOX 3003, BOTHELL, WA
                   98041-3003
28073010         + PHILIPS HEALTHCARE, PHILIPS HEALTHCARE, ATLANTA, GA 30384-0001
28073012           PHILLIPS RS NORTH AMERICA, PO BOX 405740, ATLANTA, GA 30384-5740
28073013         + PHILLIPS, JOHN, 4201 FAIRBANKS CT, LORAIN, OH 44053-1167
28073014         + PHYSIO CONTROL INC., 12100 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0121
28073015         + PIFER, 3250 EVERINGIN ROAD, MONROEVILLE, OH 44847-9726
28073016         + PINESTAR TECHNOLOGY INC, PO BOX 824, GREENVILLE, PA 16125-0824
28073017         + PIONEER SURGICAL TECHNOLOGY INC D/B/A RT, ATTN: GENERAL COUNSEL, 375 RIVER PARK CIR, MARQUETTE, MI
                   49855-1781
28073018         + PIONEER SURGICAL TECHNOLOGY INCORPORATED, ATTN: GENERAL COUNSEL, 375 RIVER PARK CIR, MARQUETTE,
                   MI 49855-1781
28073019         + PIRAMAL CRITICAL CARE INC, ATTN: GENERAL COUNSEL, 3950 SCHELDEN CIR, BETHLEHEM, PA 18017-8936
28073020           PITNEY BOWES GBL FINANC'L, PO BOX 981022, BOSTON, MA 02298-1022
28073022         + PLANTE MORAN PLLC, 16060 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0160
28073023           PLASKETT, SANDRA, 19 LIBERTY ST, NORWALK, OH 44857-1988
28073024           POCOCK, MARY, 230 HAMILTON ST, BELLEVUE, OH 44811-1313
28073025         + POHLMAN, 5528 COUNTY ROAD 175, CLYDE, OH 43410-9406
28073026         + POLARITYTE INC., 123 N WRIGHT BROS DRIVE, SALT LAKE CITY, UT 84116-2838
28073028         + POOL LABORATORY ALLIANCE LLC, ATTN: GENERAL COUNSEL, 1000 E 80TH PLACE, STE 700, MERRILLVILLE, IN
                   46410-5608
28073029         + POORE, 101 PARSONS STREET, NORWALK, OH 44857-1165
28073030         + PORTABLE STORAGE OF TOLEDO LLC, PO BOX 791003, BALTIMORE, MD 21279-1003
28073031         + POSEY PRODUCTS LLC, ATTN: CONTRACTS DEPARTMENT, 570 ENTERPRISE DR, NEENAH, WI 54956-4865
28073032         + POSEY PRODUCTS, LLC, 570 ENTERPRISE DR, NEENAH, WI 54956-4865
28073033         + POSITIVE PROMOTIONS, 15 GILPIN AVENUE, HAUPPAUGE, NY 11788-4723
28073034         + POSTELL, 353 HAMER STREET, CLYDE, OH 43410-1211
28073035         + POWER AD COMPANY, 259 INDUSTRIAL DRIVE, FRANKLIN, OH 45005-4429
28073037      ++++ POWER DMS, ATTN: GENERAL COUNSEL, 122 W PINE ST STE 300, ORLANDO FL 32801-2649 address filed with court:, POWER
                   DMS, ATTN: GENERAL COUNSEL, 101 S GARLAND AVE, STE 300, ORLANDO, FL 32801
28073036         + POWER DMS, ATTN: GENERAL COUNSEL, PO BOX 2468, ORLANDO, FL 32802-2468
28073038         + POWER DMS INC, 2120 PARK PLACE, SUITE 100, EL SEGUNDO, CA 90245-4741
28073039         + POWER DMS, INC, PO BOX 749609, ATLANTA, GA 30374-9609
28073040           POWER DOOR SYSTEMS OF OHIO INC, 7522 SYLVANIA AVE, SYLVANIA, OH 43560
28073041         + PRAIRIE RIDGE BUILDERS LLC, 1623 OLD STATE RD, NORWALK, OH 44857-9377




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28073042         + PRAIRIE RIDGE LLC, 1400 W MAIN ST, BELLEVUE, OH 44811-9088
28073043         + PRATER, 936 VINE STREET, CLYDE, OH 43410-1324
28073044         + PRECISE BIOMEDICAL INC., PO BOX 44183, CLEVELAND, OH 44144-0183
28073045           PRECISION DYNAMICS CORP., PO BOX 71549, CHICAGO, IL 60694-1995
28073046         + PREMIER HEALTHCARE ALLIANCE LP, ATTN: GENERAL COUNSEL, 444 NORTH CAPITOL ST NW, STE 625,
                   WASHINGTON, DC 20001-1581
28073047         + PREMIER HEALTHCARE ALLIANCE LP, ATTN: GENERAL COUNSEL, 13034 BALLANTYNE CORPORATE PL, CHARLOTTE,
                   NC 28277-1498
28073048         + PREMIER HEALTHCARE ALLIANCE LP, ATTN: PRESIDENT, 13034 BALLANTYNE CORPORATE PL, CHARLOTTE, NC
                   28277-1498
28073049         + PREMIER HEALTHCARE SOL, 5882 COLLECTIONS CENTE, CHICAGO, IL 60693-0001
28073050         + PREMIER HEALTHCARE SOLUTIONS, 5882 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0001
28073051         + PREMIER INC, ATTN: GENERAL COUNSEL, 13034 BALLANTYNE CORPORATE PL, CHARLOTTE, NC 28277-1498
28073052         + PREMIUM RX NATIONAL LLC, 15809 CRABBS BRANCH WAY, ROCKVILLE, MD 20855-2635
28073053         + PRESCRIPTION SUPPLY, INC, 2233 TRACY ROAD, NORTHWOOD, OH 43619-1302
28073054         + PRESS GANEY ASSOC. INC, BOX 88335, MILWAUKEEE, WI 53288-8335
28073057         + PRESS GANEY ASSOCIATES LLC, ATTN: GENERAL COUNSEL, BOX 88335, MILWAUKEE, WI 53288-8335
28073059         + PRICE, 615 BUCKEYE DRIVE, ATTICA, OH 44807-9492
28073058         + PRICE, 4235 COUNTY ROAD 183, CLYDE, OH 43410-9566
28073060           PRIDEMORE-SIPPERLEY, JESSIE, 1042 COUNTY RD 128, FREMONT, OH 43420-9768
28073061         + PRIMARY SYSTEMS INC, 4000 GREEN PARK ROAD, SAINT LOUIS, MO 63125-3064
28073062           PRIMEX WIRELESS, INC, 965 SOUTH WELLS ST, LAKE GENEVA, WI 53147-2469
28073063         + PRIMITIVES BY KATHY, 1817 WILLIAM PENN WAY, LANCASTER, PA 17601-5830
28073064           PRIORITY HEALTHCARE DIST, PO BOX 978510, DALLAS, TX 75397-8510
28073066         + PRODIGY HEALTH SUPPLIER CORP, 9417 BRODIE LANE, AUSTIN, TX 78748-5602
28073067         + PROFESSIONAL INTERP FOR THE DEAF, PO BOX 571, SYLVANIA, OH 43560-0571
28073068         + PROGNOCIS, ATTN: GENERAL COUNSEL, 4010 MOORPARK AVE, STE 222, SAN JOSE, CA 95117-1813
28073069         + PROGRESSIVE HEALTHCARE, INC, PO BOX 3563, BRENTWOOD, TN 37024-3563
28073070         + PROGRESSIVE MEDICAL IN, PO BOX 771410, ST LOUIS, MO 63177-2410
28073071           PROGRESSIVE MEDICAL INC., 997 HORAN DRIVE, FENTON, MO 63026-2401
28073072           PROMEDICA, 108 MADISON AVE, TOLEDO, OH 43604
28073073         + PROMEDICA HOME MEDICAL EQUIPMENT, 3303 TIFFIN AVENUE, SANDUSKY, OH 44870-9784
28073074         + PROMEDICA MEMORIAL HOSPITAL, 715 S TAFT AVE, FREMONT, OH 43420-3296
28073075         + PROMEDICA PHYSICIAN GR, 5855 MONROE ST, SYLVANIA, OH 43560-2270
28073076           PROMEDICA PHYSICIAN GROUP, MSC-S2339, TOLEDO, OH 43604
28073078         + PROMEDICA PHYSICIAN GROUP, ATTN: ONTHA OBERLEY, 3909 WOODLEY ROAD, SUITE 600, TOLEDO, OH 43606-1169
28073079         + PROMEDICA PHYSICIAN GROUP INC, ATTN: GENERAL COUNSEL, 100 MADISON AVE, TOLEDO, OH 43604-1516
28073080         + PROMETHEUS LABORATORIES INC, PO BOX 7738, SAN FRANCISCO, CA 94120-7738
28073081         + PROTZMAN, ANNETTE, 405 1/2 MAIN ST., CASTALIS, OH 44824-9786
28073082         + PROVIDE LOCUM TENENS, 5104 SADDLE DR, FLOWER MOUND, TX 75028-6009
28073083         + PRS, PO BOX 415000, NASHVILLE, TN 37241-5000
28073084           PRUITT, BONITA, 5620 STATE ROUTE 101 N, CLYDE, OH 43410-9717
28073085         + PRUITT, CRYSTAL, 1730 PORT CLINTON RD. LOT 51, FREMONT, OH 43420-1251
28073086         + PRUITT, JOSHUA, 1730 PORT CLINTON RD. LOT 51, FREMONT, OH 43420-1251
28073087         + PSG POINT OF SALE SYSTEMS, 3150 N REPUBLIC BLVD, TOLEDO, OH 43615-1524
28073088         + PSI SUPPLY CHAIN SOLUTIONS LLC, 5050 BRADENTON AVENUE, DUBLIN, OH 43017-3520
28073089           PULLANO, NIKOLAS, 115 THOMAS DR., BELLEVUE, OH 44811-1653
28073090           PURCHASE POWER, PO BOX 981026, BOSTON, MA 02298-1026
28073091           PURCHASING POWER PLUS, 5224 W. STATE RD 46, SANFORD, FL 32771-9230
28073092         + QIAGEN, 19300 GERMANTOWN ROAD, GERMANTOWN, MD 20874-1415
28073093         + QIIGO, LLC, 3601 WALNUT ST., DENVER, CO 80205-2251
28073097           QUADIENT LEASING USA, INC, DEPT 3682, DALLAS, TX 75312-3682
28073098         + QUADIENT, INC., PO BOX 123689, DALLAS, TX 75312-3689
28073099           QUATRIS HEALTH, PO BOX 4900 UNIT 62, PORTLAND, OR 97208-4900
28073100           QUEST DIAGNOSTICS, PO BOX 740709, ATLANTA, GA 30374-0709
28073101           QUIDEL CORPORATION, FILE 50177, LOS ANGELES, CA 90074-0177
28073102         + QUIDEL CORPORATION, ATTN: GENERAL COUNSEL, 9975 SUMMERS RIDGE RD, SAN DIEGO, CA 92121-2997
28073103         + QUIRKY PIRATE DESIGNS, 7500 CR 175, BELLEVUE, OH 44811-8714
28073104         + R A REYNOLDS APPRAISAL SERVICE INC, PO BOX 579, SANDUSKY, OH 44871-0579
28073105         + R J BECK PROTECTIVE SERVICES, PO BOX 814, NORWALK, OH 44857-0814
28073106           R&S NORTHEAST LLC, PO BOX 935485, ATLANTA, GA 31193-5485
28073107         + RACARIE SOFTWARE, 2500 REGENCY PKWY, CARY, NC 27518-8549
28073108         + RACARIE SOFTWARE, ATTN: GENERAL COUNSEL, 2500 REGENCY PKWY, CARY, NC 27518-8549




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28073109         +   RADIOMETER AMERICA INC, ATTN: GENERAL COUNSEL, 250 S KRAEMER BLVD, MS B1 SW11, BREA, CA 92821-6232
28073110         +   RADIOMETER AMERICA, IN, 250 S. KRAEMER BLVD., MAIL STOP B1.SW.11, BREA, CA 92821-6232
28073111         +   RADIOMETER AMERICA, INC., 250 S. KRAEMER BLVD., BREA, CA 92821-6232
28073112         +   RAIFSNIDER, 620 FLAT ROCK RD., BELLEVUE, OH 44811-9048
28073113         +   RAIFSNIDER, REGINA, 303 ALBINA DR., BELLEVUE, OH 44811-1003
28073114         +   RAMEY, AMY, 12316 STRECKER RD., BELLEVUE, OH 44811-9627
28073115             RAMEY, LISA, 132 HOWARD ST., BELLEVUE, OH 44811
28073116         +   RANDLES, 5173 TOMAHAWK DRIVE, NORWALK, OH 44857-8602
28073117         +   RANDY FISHER, 3924 ENGLEWOOD DR, CHAMPAIGN, IL 61822-7720
28073118         +   RAPP, 7804 STATE ROUTE 101 NORTH, CLYDE, OH 43410-9618
28073119         +   RATHS, 122 W. TUSCARAWAS TRAIL, SANDUSKY, OH 44870-6173
28073120         +   RATHS, ANNETTE, 135 AMANDA ST., CLYDE, OH 43410-1311
28073121         +   RATTLIFF, JUDY, 35 VINEWOOD ST., NORWALK, OH 44857-1918
28073122         +   RAY, 1618 SOUTH MAIN STREET, CLYDE, OH 43410-2046
28073124         +   RAYMOND JAMES & ASSOC., 191 AMERICAN BLVD, SUITE 205, WESTLAKE, OH 44145-8102
28073123         +   RAYMOND JAMES & ASSOC., 24950 COUNTRY CLUB, NORTH OLMSTEAD, OH 44070-5342
28073125         +   RC IMAGING, 50 OLD HOJACK LANE, HILTON, NY 14468-1147
28073126         +   REACH TECHNOLOGIES, 4850 GOLDEN PKWY, BUFORD, GA 30518-5842
28073127         +   REACHLOCAL, ATTN: GENERAL COUNSEL, 6111 W PLANO PKWY, STE 1000, PLANO, TX 75093-0014
28073128         +   REALIZABILITY, LLC., PO BOX 163, NORTH BALTIMORE, OH 45872-0163
28073129             REALVNC LTD, 50-60 STATION ROAD, CAMBRIDGE CB1 2JH UNITED KINGDOM
28073130             REALVNC LTD, ATTN: GENERAL COUNSEL, BETJEMAN HOUSE 104 HILLS RD, CAMBRIDGE CB2 1LQ UNITED KINGDOM
28073132         +   RECONDO, 7900 E UNION AVE, DENVER, CO 80237-2735
28073131         +   RECONDO, 7900 E UNION AVE, SUITE 400, DENVER, CO 80237-2761
28073133         +   RED LOOP CREATIONS, 618 W MAIN ST, BELLEVUE, OH 44811-1904
28073134         +   RED MACHINE WRESTLING CLUB, 704 CASTALIA ST, BELLEVUE, OH 44811-1121
28073135         +   REED, 124 MILES AVENUE, BELLEVUE, OH 44811-1724
28073136         +   REEDER, 139 FRIEDLEY AVE, BELLEVUE, OH 44811-1048
28073137         +   REESMAN, 215 HIGH STREET, BELLEVUE, OH 44811-1229
28073138             REFRIGERATION SALES CORPORATION, 6450 ALLEN DRIVE, VALLEY VIEW, OH 44125
28073188        ++   REGIONAL INCOME TAX AGENCY, PO BOX 470537, ATTENTION LEGAL DEPARTMENT, BROADVIEW HEIGHTS OH
                     44147-0537 address filed with court:, RITA, PO BOX 94983, CLEVELAND, OH 44101-4983
28073139         +   REIDERMAN, 415 WOODWARD STREET, BELLEVUE, OH 44811-1846
28073140         +   REIDERMAN, 14455 EAST TOWNSHIP ROAD 88, ATTICA, OH 44807-9495
28073141         +   REINO LINEN SERVICE, PO BOX 85199, CHICAGO, IL 60689-5199
28073143         +   REINO LINEN SERVICE INC, ATTN: DAN DARR, PRESIDENT, 119 SOUTH MAIN ST, GIBSONBURG, OH 43431-1336
28073142         +   REINO LINEN SERVICE INC, ATTN: GENERAL COUNSEL, 119 SOUTH MAIN ST, GIBSONBURG, OH 43431-1336
28073144         +   REIS, TAMMY, 6801 CR 191, BELLEVUE, OH 44811-8719
28073145         +   REIS, WILLIAM, 6801 CR 191, BELLEVUE, OH 44811-8719
28073146         +   REITZ, DELEE, 119 KINNEY ST., BELLEVUE, OH 44811-1821
28073147         +   RELIANCE STANDARD LIFE INSURANCE, ATTN: GENERAL COUNSEL, 1700 MARKET ST, STE 1200, PHILADELPHIA, PA
                     19103-3938
28073148         +   REMEL INC., PO BOX 96299, CHICAGO, IL 60693-6299
28073149         +   REMINGTON MEDICAL INC, 6830 MEADOWRIDGE CT, ALPHARETTA, GA 30005-2202
28073152         +   REMIT, 1135 N 7TH ST, LAKE CITY, MN 55041-1263
28073154         +   REMIT, 404 HUNT STREET, STE 500, DURHAM, NC 27701-2275
28073151             REMIT, PO BOX 32027, NEW YORK, NY 10087-2027
28073153         +   REMIT, 10275 LITTLE PATUXENT PKWY, STE 300, COLUMBIA, MD 21044-3445
28073150         +   REMIT, 210 GROVE ST, FRANKLIN, MA 02038-3119
28073155         +   RENGEL, JOSE, 816 EDISON LANE, PORT CLINTON, OH 43452-1611
28073156         +   RENNINGER, 658 S WASHINGTON, TIFFIN, OH 44883-3320
28073158         +   REPUBLIC SERVICES, ATTN: GENERAL COUNSEL, FULTZ MED OFFICE BLDG, 1005 W MCPHERSON HWY, CLYDE, OH
                     43410-1001
28073160             RESMED, PO BOX 100047, ATLANTA, GA 30348-0047
28073161         +   RESTOR3D, PO BOX 14262, DURHAM, NC 27709-4262
28073162         +   RESTOREPRO INC., 319 INDUSTRIAL PARKWAY, SANDUSKY, OH 44870-5883
28073163         +   RETTIG MARVIN W, 6657 E HARBOR RD, MARBLEHEAD, OH 43440-9416
28073167         +   REX, 176 NELSON STREET, CLYDE, OH 43410-1320
28073168             REXEL USA, INC, PO BOX 417803, BOSTON, MA 02241-7803
28073169         +   REXROTH, KALEY, 2936 FANGBONER RD., FREMONT, OH 43420-9396
28073171         +   RHOADES, 5211 SR 113, BELLEVUE, OH 44811-9731
28073170         +   RHOADES, 5211 ST. RT. 113, BELLEVUE, OH 44811-9731
28073173         +   RHODE, CARISSA, 7 SPRING ST., GREENWICH, OH 44837-1018




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28073174         + RHYTHMNRHYME, 278 BENEDICT AVE, NORWALK, OH 44857-2399
28073175         + RICH, EDWARD, 110 BRANDON BLVD., BELLEVUE, OH 44811-9070
28073177         + RICHARD LEONARD, C/O THE ROBENALT LAW FIRM, ATTN: THOMAS D. ROBERNALT, ESQ., 23550 CENTER RIDGE RD
                   STE. 103, WESTLAKE, OH 44145-3655
28073178         + RICHARD LEONARD, C/O ICE MILLER LLP, ATTN: JAMES D. CAMPBELL, ESQ., 250 WEST ST., COLUMBUS, OH 43215-3247
28073176         + RICHARD LEONARD, 5306 STATE ROUTE 113, BELLEVUE, OH 44811-9729
28073179         + RICHARDS, 314 E. 7TH STREET, PORT CLINTON, OH 43452-2436
28073180         + RICHMOND PRODUCTS, 4400 SILVER AVE SE, ALBUQUERQUE, NM 87108-2888
28073181         + RICK WIECEK MD, 1479 N RIVER RD, FREMONT, OH 43420-9760
28073182         + RICKENBAUGH, ALEXA, 313 LINDEN WAY DRIVE, SANDUSKY, OH 44870-6316
28073183         + RIEHL DONAL, 1003 WOODLAND AVE APT C, FREMONT, OH 43420-4569
28073184           RIEHL, LARRY, 777 COUNTY ROAD 96, FREMONT, OH 43420-9164
28073185           RIGGS, DAVID, 116 WALTER ST., BELLEVUE, OH 44811-1056
28073186           RISNER, CHRISTOPHER, 930 N OHIO AVE, FREMONT, OH 43420-9569
28073187           RISNER, TANYA, 930 N OHIO AVE, FREMONT, OH 43420-9569
28073189         + RITCHIE, SHAUN, 10011 SR 101, CASTALIA, OH 44824-9236
28073190         + RIVERSIDE RAD & INTERV, ASSOC INC, 100 E CAMPUS VIEW BLVD, COLUMBUS, OH 43235-4647
28073191         + RIVERSIDE RAD & INTERVENTIONAL, 100 E CAMPUS VIEW BLVD, STE 100, COLUMBUS, OH 43235-8628
28073195         + RIVERSIDE RADIOLOGY AND INTERVENTIONAL A, ATTN: GENERAL COUNSEL, 100 E CAMPUS VIEW BLVD, STE 100,
                   COLUMBUS, OH 43235-8628
28073193         + RIVERSIDE RADIOLOGY AND INTERVENTIONAL A, ATTN: MARCIA FLAHERTY, CEO, 100 E CAMPUS VIEW BLVD, STE
                   100, COLUMBUS, OH 43235-8628
28073194         + RIVERSIDE RADIOLOGY AND INTERVENTIONAL A, ATTN: DOUGLAS READER, MD, PRESIDENT, 100 E CAMPUS VIEW
                   BLVD, STE 100, COLUMBUS, OH 43235-8628
28073196           RLDATIX NORTH AMERICA INC, 1 YOUNG ST, TORONTO ON MSE 1ES CANADA
28073197         + ROACH REID COMPANY, 5555 AIRPORT HWY, STE 120, TOLEDO, OH 43615-7320
28073198         + ROBELL, JIM, 7667 SW OVIATT, BEAVERTON, OR 97007-7750
28073199         + ROBERT HALF, 12400 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0124
28073200         + ROBERTS, 42 JEFFERSON ST, TIFFIN, OH 44883-2305
28073201         + ROBERTS MEDICAL UNIFORMS, 710 BOULEVARD, DOVER, OH 44622-2006
28073202         + ROCA, RAFAEL, 259 NORTHWEST ST. APT. 207, BELLEVUE, OH 44811-1071
28073204           ROCHE DIAGNOSTICS CORPORATION, MAIL CODE 5021, DALLAS, TX 75266-0367
28073205         + ROCHE DIAGNOSTICS CORPORATION, MEDLINE INDUSTRIES, INC, ATTN: GENERAL COUNSEL, 1200 TOWNLINE RD,
                   MUNDELEIN, IL 60060-4494
28073207         + RODNEY MAPES, 9823 LAKE AVE., CLEVELAND, OH 44102-6310
28073208         + RODRIGUEZ, SYDNI, 1182 CR 312, BELLEVUE, OH 44811-9033
28073210         + ROEDER, 1002 STATE ROUTE 61 S, WILLARD, OH 44890-9328
28073209         + ROEDER, 1002 STATE ROUTE 61 SOUTH, WILLARD, OH 44890-9328
28073211         + ROESER, KATHY, 617 PARK AVE, BELLEVUE, OH 44811-1859
28073212         + ROESER, MICHAEL, 416 EAST MAPLE ST., CLYDE, OH 43410-1291
28073213         + ROMAN, JANE, 414 N. ERIE ST., TOLEDO, OH 43604-5638
28073214         + ROMELL, BROOKE, 96 SOUTH EDISON DRIVE, MILAN, OH 44846-9316
28073215           ROMELL, CONNOR, 96 S EDISON DR, MILAN, OH 44846-9316
28073216           ROMELL, EUGENE, 96 S EDISON DR, MILAN, OH 44846-9316
28073217           ROMMELL, DENISE, 96 S EDISON DRIVE, MILAN, OH 44846-9316
28073218           ROOT, NANCY, 1100 W COUNTY ROAD 73, FREMONT, OH 43420-9798
28073219           ROSE PEST SOLUTIONS, PO BOX 309, TROY, MI 48099-0309
28073220         + ROTARY INTERNATIONAL, PO BOX 291, BELLEVUE, OH 44811-0291
28073221         + ROTH, SHEREE, 165 HUDSON ST., TIFFIN, OH 44883-1421
28073223           ROTO ROOTER, 2610 ST 61, NORWALK, OH 44857
28073222         + ROTO ROOTER, 2610 STATE ROUTE 61, NORWALK, OH 44857-9188
28073224         + ROWE, 154 HAMILTON STREET, BELLEVUE, OH 44811-1315
28073225         + ROYAL PUBLISHING, 7620 NORTH HARKER DR, PEORIA, IL 61615-1857
28073226         + RR DONNELLY, PO BOX 905046, CHARLOTTE, NC 28290-0001
28073227         + RTI SURGICAL INC, ATTN: GENERAL COUNSEL, 375 RIVER PARK CIR, MARQUETTE, MI 49855-1781
28073228         + RTI SURGICAL INC., PO BOX 734031, CHICAGO, IL 60673-4031
28073229           RUFFING, DANA, 2287 N STATE ROUT 510, VICKERY, OH 43464-9778
28073230           RUFTY, KEVIN, 1832 TIFFIN RD, FREMONT, OH 43420-3737
28073231           RUMPKE, 819 ISLAND RD, CIRCLEVILLE, OH 43113-9594
28073232         + RUNKLE, 101 MARSHALL DRIVE, CLYDE, OH 43410-1266
28073233           RUSHMORE LOAN MANAGEMENT SERVICES, PO BOX 514707, LOS ANGELES, CA 90051-4707
28073234           RUSSELECTRIC INC., C/O ARTHUR ULRICH CO, ETNA, OH 43018-0011
28073235         + RUSSELL'S FARM MARKET, 9910 SR 269, BELLEVUE, OH 44811-9688
28073237         + RUTH A. LEONARD, C/O THE ROBENALT LAW FIRM, ATTN: THOMAS D. ROBERNALT, ESQ., 23550 CENTER RIDGE RD




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                     STE. 103, WESTLAKE, OH 44145-3655
28073236         +   RUTH A. LEONARD, 5306 STATE ROUTE 113, BELLEVUE, OH 44811-9729
28073238         +   RUTH A. LEONARD, C/O ICE MILLER LLP, ATTN: JAMES D. CAMPBELL, ESQ., 250 WEST ST., COLUMBUS, OH 43215-3247
28073239         +   RYAN PHARMACY, 3340 DORR ST, TOLEDO, OH 43607-2717
28073241         +   S & E DESIGN, 1301 7TH STREET, MAUMEE, OH 43537-3002
28073242         +   S & E DESIGNS, 1032 LEITH STREET, MAUMEE, OH 43537-3017
28073243         +   S.A. COMUNALECO., INC, 2900 NEWPARK DR, BARBERTON, OH 44203-1050
28073244         +   SABO, 113 HONEYSUCKLE DRIVE, BELLEVUE, OH 44811-1078
28073245             SABO, DENNIS, MARKETING, BELLEVUE, OH 44811
28073246         +   SAFE HARBOR SECURITY & FIRE LLC, 3812 LIBERTY AVE, VERMILLION, OH 44089-2334
28073247             SAGENT PHARMACEUTICALS INC, LOCKBOX 28549, CHICAGO, IL 60673-1285
28073248         +   SALLEE, AZIA, 114 PFEIFFER AVENUE, CLYDE, OH 43410-1848
28073249         +   SAMANTHA JEREMAY, 115 RANDALL DRIVE, SANDUSKY, OH 44870-5775
28073250         +   SAMMONS PRESTON ROLYAN, PO BOX 93040, CHICAGO, IL 60673-3040
28073251         +   SAMSA, 10 OLD STATE RD, MILAN, OH 44846-9602
28073252         +   SANCHEZ, 156 WEST MERLIN LANE, CLYDE, OH 43410-1480
28073253         +   SANCHEZ, JESSICA, 113 NORTH BUCHANAN ST., FREMONT, OH 43420-4301
28073254         +   SAND CO ECONOMIC, 2511 COUNTRYSIDE DR, STE C, FREMONT, OH 43420-9020
28073255         +   SANDHILL SCIENTIFIC, 9150 COMMERCE CTR CIRCLE, HIGHLANDS RANCH, CO 80129-1561
28073256         +   SANDUSKY CO COMMUNITIES FOUNDATION, PO BOX 21, CLYDE, OH 43410-0021
28073257         +   SANDUSKY CO PUBLIC HEALTH, 2000 COUNTRYSIDE DRIVE, FREMONT, OH 43420-8561
28073258             SANDUSKY COUNTY AGRICULTURAL, 907 RAWSON AVE., FREMONT, OH 43420
28073259         +   SANDUSKY COUNTY AUDITOR, 100 N PARK AVE 228, FREMONT, OH 43420-2472
28073260         +   SANDUSKY COUNTY CLERK OF COURTS, 100 N. PARK AVE, FREMONT, OH 43420-5403
28073261         +   SANDUSKY COUNTY FAMILY &, 2511 COUNTRYSIDE DR, FREMONT, OH 43420-9016
28073262         +   SANDUSKY COUNTY RECORDER, 100 N PARK AVE 217, FREMONT, OH 43420-2479
28073263         +   SANDUSKY COUNTY TREASURER, 100 N PARK AVE STE 112, FREMONT, OH 43420-2494
28073264         +   SANDUSKY ELECTRIC CO, PO BOX 780896, PHILADELPHIA, PE 19178-0896
28073265             SANDUSKY MUNICIPAL COURT, GARNISHMENT DEPT, SANDUSKY, OH 44870-2835
28073266         +   SANOFI PASTEUR INC, 12458 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0001
28073267         +   SANTA'S WORKSHOP INC., 1650 TRUMBULL AVE, GIRARD, OH 44420-3456
28073268             SARTAIN, 506 COOP ROAD, BELL BUCKLE, TN 37020
28073269         +   SARTIN ANDREA, 828 WHITE AVE, FREMONT, OH 43420-2045
28073270         +   SATTELIGHT ELECTRIC INC, PO BOX 197, VERMILION, OH 44089-0197
28073271         +   SAVAGE & ASSOCIATES INC, ATTN: GENERAL COUNSEL, 655 BEAVER CREEK CIR, MAUMEE, OH 43537-1738
28073272         +   SCAVUZZO, 89 HASBROCK ROAD, NORWALK, OH 44857-9385
28073273             SCHAAF DRUGS LLC, ATTN: GENERAL COUNSEL, 1475 E 86TH ST, STE 200, INDIANAPOLIS, IN 46240
28073274         +   SCHAEFER, 216 WOODWARD STREET, BELLEVUE, OH 44811-1841
28073275         +   SCHAFER, 2758 HALFWAY RD, MONROEVILLE, OH 44847-9553
28073276         +   SCHAFER, PETER, 2598 E SUN VALLEY RD, PORT CLINTON, OH 43452-2780
28073277         +   SCHAFFER, 205 HAMILTON STREET, GREEN SPRINGS, OH 44836-9636
28073278             SCHAFFER, DOROTHY, 113 LARKSPUR TER, BELLEVUE, OH 44811-1083
28073279         +   SCHAFFNER PUBLICATIONS INC, 418 S BEVERLY DR, SANDUSKY, OH 44870-5431
28073280             SCHAG, KEELY, 865 TOWNLINE ROAD 26 S, WILLARD, OH 44890-9503
28073281         +   SCHALK, LINDA, 1014 GARFIELD ST., FREMONT, OH 43420-1817
28073282             SCHERF, TERESA, 214 S KANSAS ST, GREEN SPRINGS, OH 44836-9301
28073283             SCHERG, JOHN, 214 S KANSAS ST, GREEN SPRINGS, OH 44836-9301
28073284         +   SCHILL GROUNDS MANAGEMENT, ATTN: J SCHILL, 5000 MILLS INDUSTRIAL PKWY, NORTH RIDGEVILLE, OH
                     44039-1967
28073285         +   SCHILL LANDSCAPING & LAWN, 5000 MILLS INDUSTRIAL PARKWAY, NORTH RIDGEVILLE, OH 44039-1967
28073286             SCHINDLER ELEVATOR COR, ATTN: BRADLY FIGGINS, PO BOX 93050, CHICAGO, IL 60673-3050
28073287             SCHINDLER ELEVATOR CORP, PO BOX 93050, CHICAGO, IL 60673-3050
28073288         +   SCHINDLER ELEVATOR CORPORATION, ATTN: GENERAL COUNSEL, 1530 TIMBERWOLF DR, STE B, HOLLAND, OH
                     43528-9129
28073289             SCHIPPEL, SUSAN, 10315 STATE ROUTE 99 N, MONROEVILLE, OH 44847-9626
28073290         +   SCHMIDT SECURITY PRO, 241 MANSFIELD INDSUTRI, MANSFIELD, OH 44903-8800
28073291         +   SCHMIDT SECURITY PRO, 241 MANSFIELD INDSUTRIAL PKY, MANSFIELD, OH 44903-8800
28073292         +   SCHOEN, 108 WILLOW COURT, BELLEVUE, OH 44811-1082
28073293         +   SCHOEWE, 82 TWIN OAKS DRIVE, MILAN, OH 44846-9487
28073294         +   SCHRADER, LYNN, 1680 CELEK DRIVE, FREMONT, OH 43420-4800
28073295         +   SCOTT, 6868 TWP RD 180, CLYDE, OH 43410-9640
28073296         +   SCOTT CARE, PNC BANK, CLEVELAND, OH 44193-0001
28073297         +   SCOTT SHEPERD PHD, 40 LADUE ESTATED DR, CREVE COEUR, MO 63141-8322




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28073298         +   SCOTTCARE CARDIOVASCULAR SOLUTIONS, 4791 WEST 150TH STREET, CLEVELAND, OH 44135-3301
28073299        #+   SEAGATE OFFICE PRODUCTS, 1044 HAMILTON DR, HOLLAND, OH 43528-8166
28073300         +   SEAMON, 719 VALLEYVIEW DR, BELLEVUE, OH 44811-1643
28073301         +   SEAMON HANNAH, 719 VALLEY DR, BELLEVUE, OH 44811-1643
28073302         +   SEAMON, ALEXANDRA RAE, 719 VALLEYVIEW DR., BELLEVUE, OH 44811-1643
28073303         +   SECA CORPORATION, 13601 BENSON AVENUE, CHINO, CA 91710-5266
28073305             SECURITIES & EXCHANGE COMMISSION, PHILADELPHIA OFFICE, ATTN: BANKRUPTCY DEPARTMENT, ONE PENN
                     CENTER 1617 JFK BLVD, STE 520, PHILADELPHIA, PA 19103
28073306         +   SECURITIES & EXCHANGE COMMISSION - NY OF, ATTN: BANKRUPTCY DEPARTMENT, BROOKFIELD PLACE, 200
                     VESEY STREET, SUITE 400, NEW YORK, NY 10281-5520
28073307         +   SEEL, DIANE, 138 FRIEDLEY AVE., BELLEVUE, OH 44811-1047
28073308         +   SEESE MD, ROBERT, 1603A TURNBERRY DR, PICKERINGTON, OH 43147-6841
28073309         +   SEIDEL, 3555 ST RT 13, GREENWICH, OH 44837-9713
28073310         +   SEIFERT BUILDER'S LTD, 19490 ANDERSON ROAD, BOWLING GREEN, OH 43402-9667
28073311             SELVEY, DALE, 211 FARNUM ST., CLYDE, OH 43410-1887
28073312             SELVEY, GRETA, 2243 COUNTY ROAD 292, BELLEVUE, OH 44811-8703
28073313         +   SENECA COUNTY TREASURER, 109 S WASHINGTON STREET, TIFFIN, OH 44883-2881
28073314         +   SENECA MEDICAL INC, ATTN: GENERAL COUNSEL, 85 SHAFFER PARK DR, TIFFIN, OH 44883-9290
28073316             SENTEC INC, PO BOX 412817, BOSTON, MA 02241-2871
28073317         +   SEO-VANTAGE, 210-5543 EDMONSON PIKE, NASHVILLE, TN 37211-7218
28073318         +   SEQIRUS USA INC, 25 DEFOREST AVENUE, SUMMIT, NJ 07901-2140
28073319             SERVICE EXPRESS LLC, DEPT 6306, LANSING, MI 48909
28073320         +   SERVICE EXPRESS, LLC, 3855 SPARKS DRIVE SE, GRAND RAPIDS, MI 49546-6143
28073321             SERVICE STATION EQUIPMENT CO, INC., 1294 EA 55TH STREET, CLEVELAND, OH 44103
28073322         +   SERVING OUR SENIORS, 310 EAST BOALT ST, SANDUSKY, OH 44870-4144
28073323         +   SHAFFER DISTRIBUTING COMPANY, 1100 W 3RD AVE, COLUMBUS, OH 43212-3113
28073324         +   SHAMROCK LABELS INC, 34 DAVIS DRIVE, BELLWOOD, IL 60104-1047
28073325         +   SHANK, LINDSAY, 3400 COUNTY ROAD 223, FREMONT, OH 43420-9233
28073326         +   SHARED MEDICAL SERVICES INC, 209 LIMESTONE PASS, COTTAGE GROVE, WI 53527-8968
28073327         +   SHAW, 3456 CTY RD. 175, CLYDE, OH 43410-9534
28073328         +   SHELLEY, 1 KING JOHN DRIVE, NORWALK, OH 44857-9556
28073329         +   SHELLEY MILLWORK, LLC, 2104 CR 292, BELLEVUE, OH 44811-9433
28073330         +   SHELLEY, BRANDON, 2126 COUNTY ROAD 292, BELLEVUE, OH 44811-9433
28073331         +   SHERCK, DORTHY, 2971 CORDON RD., CLEVELAND, OH 44118-3530
28073332         +   SHERMAN, CATHY, 307 EAST FOREST ST., CLYDE, OH 43410-2129
28073333         +   SHERRILL, 1313 HIGHLAND COURT, FREMONT, OH 43420-4613
28073334             SHERWIN WILLIAMS CO., 1122 OAK HARBOR RD, FREMONT, OH 43420-1019
28073335         +   SHIPLEY, ABIGAIL, 408 BRINKER ST. APT. 8, BELLEVUE, OH 44811-1571
28073337         +   SHOWMAN, JEREMY, 7370 CO RD 6, BLOOMVILLE, OH 44818-9475
28073338         +   SHRED-IT USA LLC/STERI, 28161 N KEITH DRIVE, LAKE FOREST, IL 60045-4528
28073339             SHRED-IT USA LLC/STERICYCLE, INC, 28883 NETWORK PLACE, CHICAGO, IL 60673-1288
28073340         +   SHUFF, 1728 E. LOCKWOOD ROAD, PORT CLINTON, OH 43452-9071
28073341         +   SHUKLA MEDICAL, 8300 SHEEN DRIVE, ST. PETERSBURG, FL 33709-2222
28073342         +   SHULTZ, 208 N. CO. RD. 43, REPUBLIC, OH 44867-9768
28073343         +   SHULTZ, ERICA, 208 N. COUNTY RD 43, REPUBLIC, OH 44867-9768
28073344         +   SHUMAKER LOOP & KENDRICK LLP, 1000 JACKSON ST, TOLEDO, OH 43604-5573
28073345             SHURSHIP, 11300 49TH STREET NORTH, CLEARWATER, FL 33762-4807
28073346             SIEMENS HEALTHCARE DIA, PO BOX 121102, DALLAS, TX 75312-1102
28073347             SIEMENS HEALTHCARE DIAG INC., PO BOX 121102, DALLAS, TX 75312-1102
28073348         +   SIEMENS HEALTHCARE DIAG INC., 511 BENEDICT AVE, TARRYTOWN, NY 10591-5005
28073349             SIEMENS HEALTHCARE DIAGNOSTICS, PO BOX 121102, DALLAS, TX 75312-1102
28073352         +   SIEMENS HEALTHCARE DIAGNOSTICS INC, ATTN: GENERAL COUNSEL, PO BOX 121102, DALLAS, TX 75312-1102
28073350         +   SIEMENS HEALTHCARE DIAGNOSTICS INC, ATTN: GENERAL COUNSEL, 115 NORWOOD PARK SOUTH, NORWOOD, MA
                     02062-4633
28073351         +   SIEMENS HEALTHCARE DIAGNOSTICS INC, ATTN: JAMES GOTLIBOWSKI, DX INSIDE SALES TEAM, 221 GREGSON DR,
                     6TH FLOOR, CARY, NC 27511-6495
28073353         +   SIEMENS INDUSTRY INC, 99 INDUSTRIAL PARK ROA, HINGHAM, MA 02043-4306
28073354         +   SIEMENS INDUSTRY INC, 99 INDUSTRIAL PARK ROAD, HINGHAM, MA 02043-4306
28073355         +   SIEMENS MEDICAL SOLUTI, 40 LIBERTY BOULEVARD, MALVERN, PA 19355-1418
28073356             SIEMENS MEDICAL SOLUTIONS, C/O MELLON BANK, DALLAS, TX 75312-0733
28073358         +   SIEMENS MEDICAL SOLUTIONS USA INC, ATTN: GENERAL COUNSEL, 40 LIBERTY BLVD, MALVERN, MA 19355-1418
28073357         +   SIEMENS MEDICAL SOLUTIONS USA INC, ATTN: GENERAL COUNSEL, 40 LIBERTY BLVD, MALVERN, PA 19355-1418
28073359         +   SIEMENS MEDICAL SOLUTIONS USA, INC., 40 LIBERTY BOULEVARD, MALVERN, PA 19355-1418
28073360             SIESEL, LOGAN, 212 ELLIS AVE, BELLEVUE, OH 44811-1804




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28073361         + SIGHTPATH MEDICAL, 5775 W OLD SHAKOPEE, BLOMINGTON, MN 55437-3173
28073362           SIGMA-ALDRICH, INC., PO BOX 535182, ATALNTA, GA 30353-5182
28073363         + SILAC INSURANCE COMPANY, PO BOX 11642, WINSTON-SALEM, NC 27116-1642
28073364         + SILVER PINE CONSULTING LLC, ATTN: GENERAL COUNSEL, 11821 BRAMBLE COVE DR, FORT MYERS, FL 33905-6261
28073365         + SIMPLEVMS, 7793 FIVE MILE RD, CINCINNATI, OH 45230-2355
28073366         + SINGLETON, 13894 EAST COUNTY ROAD 34, BELLEVUE, OH 44811-9744
28073367         + SINOBRITE INC., 227 AMBROGIO DR, STE C, GURNEE, IL 60031-3337
28073368           SKILES, NOLA, 990 NORTHWEST ROAD, BELLEVUE, OH 44811
28073369         + SKINCEUTICALS, 3434 ALTAMOORE DR, DALLA, TX 75241-7508
28073370         + SKYE ORTHOBIOLOGICS INC, 2255 CAMPUS DR, EL SEGUNDO, CA 90245-0001
28073372           SLINGWINE EXCAVATING, 10239 TR 148, REPUBLIC, OH 44867
28073373         + SLOAN MEDICAL, 13316 A STREET, OMAHA, NB 68144-3641
28073374           SMARTSENSE BY DIGI, LOCKBOX # 138008, MINNEAPOLIS, MN 55480-1380
28073375         + SMD WYNNE CORPORATION, 8055 B CORPORATE BLV, PLAIN, OH 43064-9243
28073376         + SMETZER KITCHEN & APPLIANCE CENTER, 368 MILAN AVENUE, NORWALK, OH 44857-3106
28073377         + SMILE MAKERS, PO BOX 2543, SPARTANBURG, SC 29304-2543
28073381         + SMITH, PO BOX 19, MONROEVILLE, OH 44847-0019
28073380         + SMITH, 223 E. HOWARD STREET, WILLARD, OH 44890-1612
28073379         + SMITH, 8518 STATE ROUTE 269, BELLEVUE, OH 44811-9666
28073378         + SMITH, 7084 SOUTH TOWNSHIP ROAD 189, ATTICA, OH 44807-9771
28073382         + SMITH, 1169 STATE ROUTE 99, MONROEVILLE, OH 44847-9741
28073383         + SMITH & NEPHEW, PO BOX 60333, CHARLOTTE, NC 28260-0333
28073385         + SMITH, BRIAN, 2369 NORTH CR 198, FREMONT, OH 43420-9459
28073387           SMITH, JEFFREY, 313 LUCAS ST E, CASTALIA, OH 44824-9782
28073386           SMITH, JEFFREY, 724 SHUMAKER DR, BELLEVUE, OH 44811-1669
28073388         + SMITH, JULIEANNE, 179 SPRING AVE., CLYDE, OH 43410-1923
28073389         + SMITH, KATELYNN, 1015 WAYNE ST., SANDUSKY, OH 44870-3513
28073391         + SMITH, MARK, 317 FULTON STREET, SANDUSKY, OH 44870-2311
28073392           SMITH, SUE, 2227 COUNTY ROAD 270, CLYDE, OH 43410-9779
28073393           SMITH, THOMAS, 5215 STATE ROUTE 113 W, MONROEVILLE, OH 44847-9610
28073394           SMITH, TREVA, 2536 COUNTY ROAD 185, CLYDE, OH 43410-9542
28073395           SMITHS MEDICAL ASD INC., PO BOX 7247-7784, PHILADELPHIA, PA 19170-7784
28073396         + SNYDER, PAT, 20814 W STATE RTE 105, WOODVILLE, OH 43469-9402
28073397         + SNYDER, ANGELA, PAT, 20814 W STATE RTE 105, WOODVILLE, OH 43469-9402
28073398         + SNYDER-ELCHERT, 46 ELMWOOD ST., TIFFIN, OH 44883-1831
28073399         + SODEXO OPERATIONS LLC, ATTN: GENERAL COUNSEL, PO BOX 360170, PITTSBURGH, PA 15251-6170
28073400         + SODEXO, INC & AFFILIATES, 760 CAMPBELL LN STE 106-211, BOWLING GREEN, OH 42104-1085
28073401         + SOLAIRE MEDICAL, PO BOX 2808, GRAND RAPIDS, MI 49501-2808
28073402           SOLVENTUM HEALTH INFORMATION, PO BOX 844394, DALLAS, TX 75284-3398
28073403         + SOMA TECH INT'L INC, 166 HIGHLAND PARK DRIVE, BLOOMFIELD, CT 06002-5306
28073404           SOSKI, MARK, 512 ADAMS ST, PORT CLINTON, OH 43452-1913
28073405         + SOUND SOLUTIONS, PO BOX 477, TIFFIN, OH 44883-0477
28073406           SOURCEHOV HEALTHCARE INC, PO BOX 142589, IRVING, TX 75014-2589
28073407         + SPECIALTY PHARMACEUTICALS SERVICES, ATTN: GENERAL COUNSEL, 501 MASON RD, STE 200, LAVERGNE, TN
                   37086-3271
28073408         + SPECTRACORP TECHNOLOGI, 8131 LBJ FREEWAY, SUITE 360, DALLAS, TX 75251-1332
28073409         + SPECTRACORP TECHNOLOGIES GROUP, ATTN: GENERAL COUNSEL, 8131 LBJ FREEWAY, STE 360, DALLAS, TX
                   75251-1332
28073410           SPECTRACORP TECHNOLOGIES GROUP INC, PO BOX 814409, DALLAS, TX 75381-4409
28073414           SPECTRUM SURGICAL, PO BOX 2725, COLUMBUS, GA 31902-2725
28073413         + SPECTRUM SURGICAL, ATTN: A/R, 4575 HUDSON DR., STOW, OH 44224-1725
28073415         + SPEED WRENCH INC, SPEED-TECH EQUIPMENT, ATTN: GENERAL COUNSEL, 3364 QUINCY ST, HUDSONVILLE, MI
                   49426-7834
28073416         + SPEEDWRENCH INC, 3364 QUINCY, HUDSONVILLE, MI 49426-7834
28073417         + SPENCER, 890 E TOWNSHIP RD. 201, TIFFIN, OH 44883-9705
28073418         + SPINAL ELEMENTS, 3115 MELROSE DR., SUITE 200, CARLSBAD, CA 92010-6690
28073419         + SPINAL ELEMENTS INC, ATTN: GENERAL COUNSEL, 3115 MELROSE DR, STE 200, CARLSBAD, CA 92010-6690
28073420         + SPINAL GRAFT TECHNOLOGIES, 4642 COLLECTION CENT, CHICAGO, IL 60693-0001
28073421         + SPITZER, 145 WHITE STREET, CLYDE, OH 43410-1927
28073422         + SPOONER MAI INC, 28301 RANNEY PARKWAY, WESTLAKE, OH 44145-1161
28073423         + SPORT VIEW TECHNOLOGIES, 7699 LOCHLIN DRIVE, BRIGHTON, MI 48116-8329
28073424         + SPORT VIEW TELEVISION LLC, ATTN: GENERAL COUNSEL, 7699 LOCHLIN DR, BRIGHTON, MI 48116-8329
28073425         + SPRING ARBOR UNIVERISTY, PO BOX 219, SPRING ARBOR, MI 49283-0219




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28073426         +   SPRING ARBOR UNIVERSITY, PO BOX 219, SPRING ARBOR, MI 49283-0219
28073427         +   SPRINGER, JACQUELINE, 141 HAMILTON ST, BELLEVUE, OH 44811-1308
28073430         +   SQUIRE PATTON BOGGS LLP, PO BOX 643051, CINCINNATI, OH 45264-3051
28073431         +   ST JUDE MEDICAL, ONE LILLEHEI PLAZA, SAINT PAUL, MN 55117-1799
28073432         +   ST. PAUL CHRISTIAN PRE-SCHOOL, 428 KILBOURNE ST., BELLEVUE, OH 44811-1622
28073433         +   STALER, VICKIE, 5200 GREYSTONE SUMMIT DR, COLUMBUS, OH 31909-7541
28073434         +   STAND ENERGY CORPORATI, PO BOX 632712, CINCINNATI, OH 45263-2712
28073435         +   STAND ENERGY CORPORATI, ATTN: LARRY FREEMAN AND NAN HAMILTON, PO BOX 632712, CINCINNATI, OH
                     45263-2712
28073437             STAND ENERGY CORPORATION, P.O. BOX 632712, CINCINATTI, OH 45263-2712
28073436             STAND ENERGY CORPORATION, PO BOX 632712, CINCINNATI, OH 45263-2712
28073439             STANDARD TEXTILE COMPANY, PO BOX 772273, DETROIT, MI 48277-2273
28073441         +   STANLEY HEALTHCARE, 4600 VINE ST, LINCOLN, NE 68503-2823
28073442         +   STANLEY STEEMER CARPET CLEANER, PO BOX 158, BELLEVUE, OH 44811-0158
28073443         +   STARKS, 254 WALNUT STREET, FREMONT, OH 43420-3841
28073444             STATE OF OHIO ATTORNEY GENERAL, ATTN: DAVE YOST, STATE OFFICE TOWER, 30 E. BROAD ST, CLEVELAND, OH
                     43266-0410
28073445             STAXI CORPORATION, PO BOX 71543, CHICAGO, IL 60694-1543
28073446             STEEL, COLLEENIA, 249 E MAIN ST., BELLEVUE, OH 44811-1331
28073447         +   STEINLE, 1850 MYRTLE ST., FREMONT, OH 43420-4824
28073448         +   STEINLE CHEVROLET BUICK LLC, 1014 E MCPHERSON HWY, CLYDE, OH 43410-9800
28073449         +   STEINLE, KAITLYN, 1850 MYRTLE ST., FREMONT, OH 43420-4824
28073450         +   STEINMETZ, JOANNE, 435 BUCKINGHAM DRIVE, BELLEVUE, OH 44811-1867
28073451         +   STEINMETZ, JOHN, 230 EAST PERRY ST., TIFFIN, OH 44883-2313
28073452         +   STEINMETZ, SHARON, 12392 COUNTY RD. 46, BELLEVUE, OH 44811-9579
28073453         +   STEINMETZ, SUE, 4080 TWP RD 81, BELLEVUE, OH 44811-8813
28073454         +   STEINMETZ, SUSAN, 4080 TWP RD. 81, BELLEVUE, OH 44811-8813
28073458         +   STERIGEAR, 30 SOUTH MAIN ST, PLEASANT GROVE, UT 84062-2630
28073459             STERILMED INC, 62792 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0627
28073460             STERIS CORPORATION, PO BOX 644063, PITTSBURGH, PA 15264-4063
28073461         +   STERIS CORPORATION, ATTN: GENERAL COUNSEL, PO BOX 644063, PITTSBURGH, PA 15264-4063
28073462         +   STERIS CORPORATION, ATTN: GENERAL COUNSEL, 5960 HEISLEY RD, MENTOR, OH 44060-1834
28073463             STERIS INSTRUMENT MANAGEMENT, PO BOX 531809, ATLANTA, GA 30353-1809
28073464         +   STETRIX INC, 7531 BARTLETT CORPORATE COVE EAST, BARTLETT, TN 38133-8951
28073465             STEVENS, 104 SULLIVAN STREET, BETTSVILLE, OH 44815
28073466        #+   STEVENS MOON & ASSOCIATES, 2560 SWAN ROAD, DANSVILLE, MI 48819-9780
28073467         +   STEWART, 113 HONEYSUCKLE DRIVE, BELLEVUE, OH 44811-1078
28073468             STILTNER, JARET, 4269 LIMERICK RD, CLYDE, OH 43410-2079
28073469         +   STIMMEL, 143 E. CHEROKEE TRAIL, SANDUSKY, OH 44870-6221
28073470         +   STIMMEL, BRIAN, 143 EAST CHEROKEE DRIVE, SANDUSKY, OH 44870-6221
28073471         +   STIMMEL, KASSIDIE, 143 E. CHEROKEE TR, SANDUSKY, OH 44870-6221
28073472         +   STONY CREEK, 504 COMMERCE PARKWAY, VERONA, WI 53593-1841
28073473             STOUT RISIUS ROSS, LLC, PO BOX 71770, CHICAGO, IL 60694-1770
28073474         +   STRATEGIC TALENT CONSULTING INC, 4807 ROCKSIDE, INDEPENDENCE, OH 44131-2143
28073475         +   STRAUB, 149 CIRCULAR STREET, TIFFIN, OH 44883-3016
28073476             STRAUSS SURGICAL USA LLC, PO BOX 773137, DETROIT, MI 48277-3137
28073477         +   STRAYER, DEBRA, 113 WOODWARD ST., BELLEVUE, OH 44811-1840
28073478             STRAYER, JENNA, 113 WOODWARD ST, BELLEVUE, OH 44811-1840
28073479         +   STREAMLINE SOLUTIONS, 7911 GRAND ESTUARY TRL, BRADENTON, FL 34212-4286
28073480         +   STREAMLINE SOLUTIONS, 7911 GRAND ESTUARY TRL UNIT 107, BRADENTON, FL 34212-4281
28073481             STRYKER ENDOSCOPY, PO BOX 93276, CHICAGO, IL 60673-3276
28073482             STRYKER INSTRUMENTS, 21343 NETWORK PLACE, CHICAGO, IL 60673-1213
28073483         +   STRYKER MEDICAL, PO BOX 93308, CHICAGO, IL 60673-3308
28073484         +   STRYKER ORTHO, PO BOX 93213, CHICAGO, IL 60673-3213
28073485             STRYKER ORTHOPAEDICS, BOX 93213, CHICAGO, IL 60673-3213
28073488             STRYKER SALES CORP, ATTN: GENERAL COUNSEL, 4100 E MILHAM AVE, KALAMAZOO, MI 49001
28073487         +   STRYKER SALES CORP, ATTN: LEGAL COUNSEL, 1901 ROMENCE RD PKWY, PORTAGE, MI 49002-3672
28073486         +   STRYKER SALES CORP, STRYKER SALES CORPORATION, ATTN: GENERAL COUNSEL, 1941 STRYKER WAY, PORTAGE,
                     MI 49002-9711
28073489             STRYKER SALES LLC, 21343 NETWORK PLACE, CHICAGO, IL 60673-1213
28073491         +   STRYKER SPINE, 21912 NETWORK PLACE, CHICAGO, IL 60673-1219
28073492         +   STRYKER SUSTAINABILITY SOLUTIONS, 21343 NETWORK PLACE, CHICAGO, IL 60673-1213
28073493         +   STULTS, 117 FAIRFIELD AVENUE, BELLEVUE, OH 44811-1009




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28073494         + SULLIVAN, 243 ARION STREET, BELLEVUE, OH 44811-1602
28073495           SULLIVAN COTTER AND ASSOCIATES INC, 62272 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0622
28073496         + SUMSER, JAMES, 6871 TWP RD 81, BELLEVUE, OH 44811-8828
28073497         + SUNOPTIC TECHNOLOGIES, LLC, 6018 BOWDENDALE AVENUE, JACKSONVILLE, FL 32216-6042
28073498         + SUNSET VISTA DESIGNS CO, INC., 9850 SIXTH ST BLDG 1, RANCHO CUCAMONGA, CA 91730-5714
28073499           SUPERIOR AIR GROUND, 395 W LAKE ST, ELMHURST, IL 60126-1508
28073500         + SURGALIGN SPINE TECHNOLOGIES, ATTN: GENERAL COUNSEL, 520 LAKE COOK RD, STE 315, DEERFIELD, IL
                   60015-4926
28073501         + SURGICAL PRODUCT SOLUTIONS, PO BOX #645922, PITTSBURGH, PA 15264-5257
28073502           SURGICAL SPECIALTIES CORP, PO BOX 419407, BOSTON, MA 02241-9407
28073503           SURGISHOP, 19235 41 HWY N, LUTZ, FL 33549
28073505         + SUSAN REIDERMAN, ATTN: CHARLES M. MURRAY, 111 E. SHORELINE DR., SANDUSKY, OH 44870-2579
28073504         + SUSAN REIDERMAN, 6148 STATE ROUTE 113, BELLEVUE, OH 44811-9754
28073506         + SWEENEY, 120 WARREN AVE, TIFFIN, OH 44883-1238
28073507         + SWIPECLOCK, PO BOX 95057, SOUTH JORDAN, UT 84095-2016
28073508         + SYMMETRY SUGICAL, PO BOX 759159, BALTIMORE, MD 21275-9159
28073509         + SYMPLR HEALTHSOURCE HR INC, ATTN: GENERAL COUNSEL, 315 CAPITOL ST, STE 100, HOUSTON, TX 77002-2827
28073510           SYNOVIS MICRO COMPANIES, PO BOX 890092, CHARLOTTE, NC 28289-0092
28073511         + SYNTELLIS PERFORMANCE SOLUTIONS LLC, PO BOX 931201, ATLANTA, GA 31193-1201
28073512         + SYSAID TECHNOLOGIES LTD, 303 WYMAN STREET, WALTHAM, MA 02451-1208
28073513         + SYSAID TECHNOLOGIES LTD, ATTN: GENERAL COUNSEL, 303 WYMAN ST, STE 300, WALTHAM, MA 02451-1255
28073514           SYSMEX, 28241 NETWORK PLACE, CHICAGO, IL 60673-1282
28073515         + SYSMEX AMERICA INC, ATTN: GENERAL COUNSEL, 577 APTAKISIC RD, LINCOLNSHIRE, IL 60069-4325
28073516         + SZMIK, CAMERON, 105 COUNTRYVIEW DRIVE, BELLEVUE, OH 44811-9087
28073517         + TAGGART, 1015 WAYNE STREET, SANDUSKY, OH 44870-3513
28073518         + TALBOT JULIE, 612 N SANDUSK STREET, BELLEVUE, OH 44811-1251
28073520           TAMCO CAPITAL CORPORATION, POB OX 10306, DES MOINES, IA 50306-0306
28073521         + TANDEM MEDIA NETWORK, PO BOX 3367, CHARLESTON, WV 25333-3367
28073522         + TANNER SUPPLY CO, PO BOX 118097, TOLEDO, OH 43611-8097
28073523         + TAUT INC., 2571 KANEVILLE CT, GENEVA, IL 60134-2505
28073524         + TBH MEDICAL GROUP, PO BOX 638775, CINCINNATI, OH 45263-8775
28073525         + TECHNICORE, PO BOX 1210, FINDLAY, OH 45839-1210
28073526         + TECHNICORE CLINICAL ENGINEERING LLC, ATTN: GENERAL COUNSEL, 1900 S MAIN ST, PO BOX 1210, FINDLAY, OH
                   45839-1210
28073527         + TECHNO AIDE, PO BOX 305172, NASHVILLE, TN 37230-5172
28073528           TELEFLEX MEDICAL, PO BOX 936729, ATLANTA, GA 31193-6729
28073529         + TELETRONICS INC, 22550 ASCOA COURT, STRONGSVILLE, OH 44149-4700
28073530         + TELETRONICS INC, ATTN: GENERAL COUNSEL, 22550 ASCOA CT, STRONGSVILLE, OH 44149-4700
28073531         + TEN FIFTY EIGHT, 1058 CLEVELAND RD, SANDUSKY, OH 44870-4034
28073532         + TERARECON INC, ATTN: GENERAL COUNSEL, 4000 EAST THIRD AVE, STE 200, FOSTER CITY, CA 94404-4825
28073533         + TERARECON,INC, 4000 EAST THIRD AVE, FOSTER CITY, CA 94404-4824
28073534           TERASON, 77 TERRACE HALL AVE, BURLINGTON, MA 01803
28073535           TERMINIX, PO BOX 802155, CHICAGO, IL 60680-2155
28073537           TERRACON CONSULTANTS INC, PO BOX 959673, ST LOUIS, MO 63195-9673
28073538           TERUMO MEDICAL CORP, PO BOX 930299, ATLANTA, GA 31193-0299
28073539         + THE ADVERTISER TRIBUNE, PO BOX 3367, CHARLESTON, WV 25333-3367
28073540         + THE ADVISORY BOARD, DEPT.CH 10335, PALATINE, IL 60055-0001
28073541         + THE ALGER COMPANY INC, 320 FLIGHTLINE, LAGO VISTA, TX 78645-2000
28073542         + THE AMERICAN NATIONAL RED CROSS BIOMEDIC, ATTN: JACKIE BATTLE, BIOMEDICAL SERVICES, 431 18TH ST NW,
                   WASHINGTON, DC 20006-5304
28073543         + THE ASHLAND UNIVERSITY DWIGHT SCHAR COLL, NURSING AND HEALTH SCIENCES(CONHS), ATTN: GENERAL
                   COUNSEL, 1020 S TRIMBLE RD, MANSFIELD, OH 44906-3428
28073544         + THE BANK OF NEW YORK M, CORPORATE TRUST DEPT, PO BOX 392013, PITTSBURGH, PA 15251-9013
28073545           THE BANK OF NEW YORK MELLON, PO BOX 392013, PITTSBURGH, PA 15251-9013
28073550           THE BANK OF NEW YORK MELLON TRUST COMPAN, AS MASTER TRUSTEE, PO BOX 392013, PITTSBURGH, PA
                   15251-9013
28073547           THE BANK OF NEW YORK MELLON TRUST COMPAN, PO BOX 392013, PITTSBURGH, PA 15251-9013
28073546         + THE BANK OF NEW YORK MELLON TRUST COMPAN, ATTN: GARY S. BUSH, SENIOR VICE PRESIDENT, 240 GREENWICH
                   STREET 7 EAST, NEW YORK, NY 10286-0001
28073549         + THE BANK OF NEW YORK MELLON TRUST COMPAN, C/O FISHER BROYLES, ATTN: PATRICIA FUG E, 27100 OAKMEAD
                   DRIVE #306, PERRYSBURG, OH 43551-2670
28073551         + THE BELLEVUE HOSPITAL FOUNDATION, 1400 W MAIN ST, BELLEVUE, OH 44811-8952
28073552           THE BELLEVUE HOSPITAL MEDICAL GROUP, PO BOX 638775, CINCINNATI, OH 45263-8775
28073554           THE CANDY DEPOT, C/O LEROSE MEADOWS, BELLEVUE, OH 44811




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28073556           THE CBORD GROUP INC, PO BOX 933991, ATLANTA, GA 31193-3991
28073555         + THE CBORD GROUP INC, 61 BROWN RD, ITHACA, NY 14850-1247
28073557         + THE CINCINNATI INSURAN, PO BOX 145620, CINCINNATI, OH 45250-5620
28073558           THE CINCINNATI INSURANCE COMPANIES, PO BOX 145620, CINCINNATI, OH 45250-5620
28073559         + THE CLARK COLLECTION, 3048 SW HIGH DESERT DRIVE, PRINEVILLE, OR 97754-9442
28073560         + THE CLOTHES HANGER, 141 E MAIN ST, BELLEVUE, OH 44811-1449
28073562           THE DENTAL BOX CO INC, PO BOX 66940, ST. LOUIS, MO 63166-6940
28073563         + THE GLASS GUYS, 1741 COLUMBUS AVE, SANDUSKY, OH 44870-3546
28073564         + THE HOSPITAL COUNCIL OF, 3231 CENTRAL PARK W, TOLEDO, OH 43617-3009
28073565         + THE HUB, PO BOX 307, BELLEVUE, OH 44811-0307
28073566           THE JOINT COMMISSION, PO BOX 734505, CHICAGO, IL 60673-4506
28073567           THE KIPLINGER, PO BOX 420308, PALM COAST, FL 32142-0308
28073568         + THE LAMAR COMPANIES, ATTN: GENERAL COUNSEL, 5030 ADVANTAGE DR, STE 102, TOLEDO, OH 43612-3861
28073569         + THE LEAP FROG GROUP, 1660 L STREET NW, WASHINGTON, DC 20036-5603
28073570         + THE M. CONLEY COMPANY, 1312 FOURTH ST SE, CANTON, OH 44707-3200
28073571         + THE NAKED BEE, PO BOX 1706, LA MESA, CA 91944-1706
28073573         + THE ORTHOPAEDIC INSTITUTE OF OHIO INC, ATTN: PRESIDENT, 801 MEDICAL DR, STE A, LIMA, OH 45804-4030
28073575         + THE POWELL CO LTD, 3255 ST JOHNS ROAD, LIMA, OH 45804-4022
28073578         + THE TOLEDO CLINIC INC, ATTN: MICHAEL D'ERAMO, CAO, 4235 SECOR RD, TOLEDO, OH 43623-4299
28073579         + THE UNIVERSITY OF TOLEDO, 2801 W BANCROFT ST, TOLEDO, OH 43606-3390
28073581         + THE WICHMAN COMPANY, 7 NORTH WESTWOOD, TOLEDO, OH 43607-3339
28073582         + THE WICHMAN COMPANY, ATTN: GENERAL COUNSEL, 7 NORTH WESTWOOD, TOLEDO, OH 43607-3339
28073580         + THE WICHMAN COMPANY, ATTN: JIM LAGRANGE, 7 NORTH WESTWOOD, TOLEDO, OH 43607-3339
28073583         + THE WINDOW KING COMPANY INC, 6510 STATE ROAD, PARMA, OH 44134-4104
28073584         + THEIS, CHARLES, 2729 EAST HIGHWAY 224, TIFFIN, OH 44883-9721
28073585           THERACOM LLC, PO BOX 640105, CINCINNATI, OH 45264-0105
28073586           THERAGENICS CORPORATION, PO BOX 531824, ATLANTA, GA 30353-1824
28073587         + THERAPEUTIC RESEARCH CENTER, PO BOX 8190, STOCKTON, CA 95208-0190
28073588           THERMO FISHER SCIENTIFIC, ASHEVILLE) LLC, CINCINNATI, OH 45271-2480
28073589         + THOMAS, 4064 CIRCLEWOOD DRIVE, FAIRVIEW PARK, OH 44126-1264
28073590         + THOMAS, JR. RICHARD, 115 MASON WAY, MADISON, MS 39110-6817
28073591         + THOMPSON, 52758 NEW LONDON EASTERN RD, NEW LONDON, OH 44851-9422
28073593         + THORBAHN, 4628 COUNTY ROAD 247, VICKERY, OH 43464-9551
28073594         + THRESHOLD, PO BOX 789, FARMINGTON, CT 06034-0789
28073595           THRYV, PO BOX 619009, DFW AIRPORT, TX 75261-9009
28073596         + THURSTON, JEANETTE, 1925 SLEEPY HOLLOW RD., MILAN, OH 44846-9604
28073597         + TI SERVICES, PO BOX 3589, YOUNGSTOWN, OH 44513-3589
28073598         + TIFFIN UNIVERSITY, ATTN: GENERAL COUNSEL, 155 MIAMI ST, TIFFIN, OH 44883-2161
28073599         + TIFFIN/FOSTORIA MUNICIPAL COURT, PO BOX 694, TIFFIN, OH 44883-0694
28073600         + TIM BUIT, 1121 MIDDLEFIELD TRAIL, BRUNSWICK, OH 44212-5306
28073601         + TIMOTHY ALAN BUIT, 1121 MIDDLEFIELD TRAIL, BRUNSWICK, OH 44212-5306
28073602         + TIMOTHY BUIT, 1121 MIDDLEFIELD TRAIL, BRUNSWICK, OH 44212-5306
28073603           TOBIN, ANTHONY, 359 LOUISE AVE, BELLEVUE, OH 44811-1831
28073605         + TODD GROVES, ATTN: STEPHEN P. GRIFFIN, MICHAEL J. KAHLENBURG, 4051 WHIPPLE AVE. NW, STE. 201, CANTON, OH
                   44718-3059
28073604         + TODD GROVES, 7234 TOWNSHIP RD. 80, BELLEVUE, OH 44811-9563
28073607         + TOFT DAIRY INC, PO BOX 2558, SANDUSKY, OH 44871-2558
28073606         + TOFT DAIRY INC, ATTN: DWAYNE COLSTON, PO BOX 2558, SANDUSKY, OH 44871-2558
28073608         + TOLEDO CLINIC MAIN CAM, 4235 SECOR ROAD, TOLEDO, OH 43623-4299
28073609         + TOLEDO CLINIC MAIN CAMPUS, 4235 SECOR ROAD, TOLEDO, OH 43623-4299
28073610         + TOLEDO ELECTRICAL AND WALFARE FUND, PO BOX 60408, ROSSFORD, OH 43460-0408
28073612         + TOLEDO HOSPITAL-OUTSIDE SERVICES, 100 MADISON AVE 2ND FLOOR, TOLEDO, OH 43604-1516
28073613         + TOLEDO MEDICAL TRANSCR, 7844 GALA DR., HOLLAND, OH 43528-7628
28073614         + TOLEDO MEDICAL TRANSCRIPTION, INC, 7844 GALA DR., HOLLAND, OH 43528-7628
28073615         + TOMI ENVIRONMENTAL SOLUTIONS, 8430 SPIRES WAY, FREDERICK, MD 21701-5042
28073616         + TOMLINSON, 5571 US HIGHWAY 20 LOT 93, WAKEMAN, OH 44889-9488
28073617         + TONY'S LAWN CARE AND SNOW REMOVAL, 7910 STACY RD, SANDUSKY, OH 44870-9762
28073618         + TOPGEAR DBA HELMETS R US, 2705 PACIFIC AVENUE, TACOMA, WA 98402-2806
28073619         + TORIGIAN, ANDREW W, 1004 TUSCANY VIEW RD., MIDVALE, UT 84047-4808
28073621         + TORNIER INC, ATTN: CORPORATE ACCOUNTS, 10801 NESBITT AVE S, BLOOMINGTON, MN 55437-3109
28073620           TORNIER INC, PO BOX 4631, HOUSTON, TX 77210-4631
28073622         + TORRENCE SOUND EQUIPME, 29050 GLENWOOD RD., PERRYSBURG, OH 43551-3094
28073623         + TORRENCE SOUND EQUIPMENT, 29050 GLENWOOD RD, PERRYSBURG, OH 43551-3094




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28073624         + TORRENCE SOUND EQUIPMENT COMPANY, ATTN: GENERAL COUNSEL, 29050 GLENWOOD RD, PERRYSBURG, OH
                   43551-3094
28073625         + TOUCH MD, 4221 W. BOY SCOUT BLVD, TAMPA, FL 33607-5743
28073626         + TOUCHMD AVEZEN LLC PRODUCT, ATTN: GENERAL COUNSEL, 99 NORTH MAIN ST, STE 7, CEDAR CITY, UT 84720-2673
28073627         + TOUCHPOINT MEDICAL, 2200 TOUCHPOINT DRIVE, ODESSA, FL 33556-4435
28073628         + TOWN MONEY SAVER INC., PO BOX 1905, SANDUSKY, OH 44871-1905
28073629         + TRACELINK INC, 200 BALLARDVALE ST, BUILDING 1, SUITE 100, WILMINGTON, MA 01887-1075
28073630         + TRACELINK INC, 200 BALLARDVALE ST, WILMINGTON, MA 01887-1075
28073631         + TRACELINK INC, ATTN: GENERAL COUNSEL, 200 BALLARDVALE ST, BLDG 1, WILMINGTON, MA 01887-1075
28073634         + TRAPP, 111 UNION STREET, BELLEVUE, OH 44811-1036
28073635           TREASURER STATE OF OH, PO BOX 77005, CLEVELAND, OH 44194-7005
28073636           TREASURER STATE OF OHIO, PO BOX 15278, COLUMBUS, OH 43215-0278
28073637         + TREASURER STATE OF OHIO, 6606 TUSSING ROAD, REYNOLDSBURG, OH 43068-4004
28073638           TREASURER, STATE OF OHIO, PO BOX 71596301, CINCINNATI, OH 45271-5963
28073639           TRI ANIM HEALTH SERVICES, 25197 NETWORK PLACE, CHICAGO, IL 60673-1251
28073640         + TRI PHARMA INC, 975 COBB PLACE BLVD, KENNESAW, GA 30144-4801
28073641         + TRI S CONTROLS INC., 745 MARKS RD, VALLEY CITY, OH 44280-9775
28073642         + TRIDICO SILK SCREENING &, 162 N DIAMOND STREET, MANSFIELD, OH 44902-1326
28073643           TRILLIANT SURGICAL, LLC, PO BOX 200350, DALLAS, TX 75320-0350
28073644         + TRIMED, PO BOX 55189, VALENCIA, CA 91385-0189
28073645           TRIOSE INC, PO BOX 749545, ATLANTA, GA 30374-9545
28073646         + TRIPS, 2317 COUNTRY SIDE DR, FREMONT, OH 43420-8746
28073647         + TRUSTEDSEC LLC, 3485 SOUTHWESTERN BLVD, FAIRLAWN, OH 44333-3102
28073648         + TTX INC, 22550 ASCOLA COURT, STRONGSVILLE, OH 44149-4700
28073649           TUCKERMAN, TANYA, 229 OTT ST, CLYDE, OH 43410-1519
28073650           TURPIN, RUBY, 224 ELMDALE AVE, CLYDE, OH 43410-1124
28073651         + TURTON, 6309 TENNANT ROAD, BERLIN HEIGHTS, OH 44814-9616
28073652         + TUSING BUILDERS, 2596 US-20 E, MONROEVILLE, OH 44847-9704
28073653         + TWISS, 1004 STILWELL AVENUE, FREMONT, OH 43420-2025
28073654         + TYPENEX MEDICAL, 303 E WACKER DR, CHICAGO, IL 60601-5216
28073657         + U.S. DEPARTMENT OF JUSTICE TAX DIVISION, CIVIL TRIAL SECTION, NORTHERN REGION, P.O. BOX 55, BEN FRANKLIN
                   STATION, WASHINGTON, DC 20044-0055
28073659         + ULMAN, MAMIE, 117 W. CHERRY ST., CLYDE, OH 43410-1961
28073661         + UNETIXS VASCULAR INC, 6901 TPC DRIVE, ORLANDO, FL 32822-5130
28073662         + UNIPAK DESIGNS CORP., 224 RAILROAD AVE, MIPITAS, CA 95035-4338
28073663         + UNITED AD LABEL, 300 LANG BLVD., GRAND ISLAND, NY 14072-3122
28073664         + UNITED MEDICAL INSTRUMENTS INC, 832 JURY COURT, SAN JOSE, CA 95112-2825
28073665         + UNITED MEDICAL PRODUCTS LLC, PO BOX 4178, DUBLIN, OH 43016-0624
28073668           UNITED STATES FIRE INS CO, 190 US RTEONE PMB365, FALMOUTH, ME 04105
28073669         + UNITED STATES PHARMACOPEIA, 7135 ENGLISH MUFFIN WAY, FREDERICK, MD 21704-8313
28073670         + UNITED WAY OF SANDUSKY COUNTY, 2340 E. STATE STREET, FREMONT, OH 43420-9189
28073671         + UNIVERISTY OF CINCINNATI, PO BOX 210140, CINCINNATI, OH 45221-0140
28073672         + UNIVERSAL MEDICAL PRODUCTS INC, 28304 CEDAR PARK BLVD, STE B, PERRYSBURG, OH 43551-4863
28073673         + UNIVERSITY OF TOLEDO MEDICAL CENTER, DEPT L674, COLUMBUS, OH 43260-0001
28073674         + UPC MEDICAL SUPPLIES, INC, 11030 WEAVER AVENUE, SOUTH EL MONTE, CA 91733-3540
28073675           UPTODATE, PO BOX 412094, BOSTON, MA 02241-2094
28073677         + US DEPT OF HOMELAND SECURITY, NEBRASKA SERVICE TR, 850 S. ST., LINCOLN, NE 68508-1225
28073679         + US FOOD & DRUG ADMINISTRATION, ATTN: GENERAL COUNSEL, 10903 NEW HAMPSHIRE AVE, DOCUMENT CONTROL
                   CENTER - WO66-G609, SILVER SPRING, MD 20993-0002
28073678         + US FOOD & DRUG ADMINISTRATION, ATTN: GENERAL COUNSEL, 10903 NEW HAMPSHIRE AVE, SILVER SPRING, MD
                   20993-0002
28073680         + US FOODS INC, ATTN: GENERAL COUNSEL, 1100 ABERNATHY RD NE, 16TH FLOOR, ATLANTA, GA 30328-5620
28073683           US POSTAL SERVICE, POST OFFICE, SANDUSKY, OH 44870
28073684           US POSTAL SERVICE-POSTMSTER, 140 N SANDUSKY ST, BELLEVUE, OH 44811-9998
28073685         + US SAFETY GEAR INC, PO BOX 309, LEAVITTSBURG, OH 44430-0309
28073688           UT PHYSICIANS, MAIL STOP 840, TOLEDO, OH 43615
28073690         + UT PHYSICIANS, ATTN: YUTONG WU, 3355 GLENDALE AVE # 3, TOLEDO, OH 43614-2426
28073691         + UTAH MEDICAL PRODUCTS, 7043 SOUTH 300 WEST, MIDVALE, UT 84047-1048
28073692         + VACCARO, KIMBERLY, 2611 PETERSON LANE, SANDUSKY, OH 44870-5938
28073693         + VALENTINA GROVES, 7234 TOWNSHIP RD. 80, BELLEVUE, OH 44811-9563
28073694         + VALENTINA GROVES, ATTN: STEPHEN P. GRIFFIN, MICHAEL J. KAHLENBURG, 4051 WHIPPLE AVE. NW, STE. 201,
                   CANTON, OH 44718-3059
28073695         + VALENTINE, 31 MORLEY DRIVE, NORWALK, OH 44857-1908
28073696         + VALENTINE, JERRY, 2 BRIAN LANE, NORWALK, OH 44857-1601




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28073697         +   VALITEQ, PO BOX 245, CUMBERLAND, WI 54829-0245
28073698         +   VALLANE, GUY, 323 SAINT ANNS ST, FREMONT, OH 43420-2331
28073699         +   VALLIER, 149 E BUCKEYE STREET, CLYDE, OH 43410-1628
28073700         +   VAN DYKE, 7174 CR 175, BELLEVUE, OH 44811-9458
28073701             VANGUARD SYSTEMS, 2901 DUTTON RD, ASTON, PA 19014
28073703         +   VANTAGE HEALTHCARE OF OHIO LLC, ATTN: GENERAL COUNSEL, 6001 MONCLOVA RD, MAUMEE, OH 43537-1843
28073702         +   VANTAGE HEALTHCARE OF OHIO LLC, 5813 MONROE ST #170, SYLVANIA, OH 43560-2210
28073704         +   VANTAGE OUTSOURCING, PO BOX 428, EFFINGHAM, IL 62401-0428
28073705         +   VANTAGE SURGICAL SOLUTIONS, 2201 WILLENBORG ST., STE 5, EFFINGHAM, IL 62401-4685
28073706         +   VAPOTHERM INC, PO BOX 933438, CLEVELAND, OH 44193-0039
28073707         +   VASCULAR INSIGHTS LLC, 1 PINE HILL DR, QUINCY, MA 02169-7448
28073708             VASCULAR SOLUTIONS INC., 6464 SYCAMORE CT, MINNEAPOLIS, MN 55369
28073709         +   VASCULAR TECHNOLOGY, 12 MURPHY DRIVE, NASHUA, NH 03062-1930
28073710         +   VASSALLO, 9615 HURON AVERY ROAD, MILAN, OH 44846-9577
28073711             VAUGHAN, JENNA, 305 CHERRY ST., CLYDE, OH 43410-2153
28073712             VELIZ, CYNTHIA, 103 LOWELL ST, CASTALIA, OH 44824-9748
28073713         +   VELLEQUETTE, 8629 N COUNTY RD 25, RISINGSUN, OH 43457-9501
28073714         +   VELOCITY EHS, 27185 NETWORK PLACE, CHICAGO, IL 60673-1271
28073715         +   VERADIGM, 305 CHURCH AT N HILLS ST, RALEIGH, NC 27609-2667
28073716             VERATHON MEDICAL, PO BOX 935117, ATLANTA, GA 31193-5117
28073717         +   VERATHON MEDICAL, ATTN: GENERAL COUNSEL, 20001 NORTH CREEK PK, BOTHELL, WA 98011-8218
28073718         +   VERISYS INC., 9960 CORPORATE CAMPUS DR, LOUSIVILLE, KY 40223-4057
28073722         +   VERSANT MED PHYSICS &, 119 N CHURCH ST, STE 201, KALAMAZOO, MI 49007-3744
28073723         +   VIANA, 416 NORTHWEST ST., BELLEVUE, OH 44811-1204
28073724             VICKERY, BONNIE, 411 NORTHWEST ST, BELLEVUE, OH 44811-1024
28073725         +   VICKERY, GARY, 6073 COUNTY RD. 177, BELLEVUE, OH 44811-9473
28073726             VIDYO INC, PO BOX 735594, CHICAGO, IL 60673-5594
28073727         +   VILEX INC., 111 MOFFITT ST., MCMINNVILLE, TN 37110-2235
28073728         +   VILLAGE HOUSE, 350 RAWSON AVE, FREMONT, OH 43420-2373
28073729         +   VIRTUAL OFFICEWARE HEALTHCARE SOL, 2000 CLIFF MINE RD STE 510, PITTSBURGH, PA 15275-1053
28073730         +   VISCOT MEDICAL LLC, PO BOX 351, EAST HANOVER, NJ 07936-0351
28073731             VISION SERVICE PLAN (OH), PO BOX 60000, SAN FRANCISCO, CA 94160-3399
28073732         +   VITALTECH AFFILIATES LLC, 4100 MIDWAY ROAD, CARROLLTON, TX 75007-2102
28073733         +   VIZIENT INC, ATTN: MEMBERSHIP/SALES OPERATIONS, LEGAL DEPARTMENT, 290 E JOHN CARPENTER FRWY, IRVING,
                     TX 75062-2730
28073734         +   VIZIENT INC, ATTN: GENERAL COUNSEL, 290 E JOHN CARPENTER FRWY, IRVING, TX 75062-2752
28073735         +   VIZIENT SUPPLY LLC F/K/A NOVATION LLC, ATTN: GENERAL COUNSEL, 290 E JOHN CARPENTER FRWY, IRVING, TX
                     75062-2730
28073736         +   VM SYSTEMS INC, 3125 HILL AVE, TOLEDO, OH 43607-2987
28073737             VMG HEALTH, PO BOX 664049, DALLAS, TX 75266-4049
28073738         +   VOCON, 3142 PROSPECT AVE, CLEVELAND, OH 44115-2612
28073739         +   VOGEL, 12109 POTTER ROAD, BELLEVUE, OH 44811-9661
28073740         +   VOGEL, 411 BRINKER STREET, BELLEVUE, OH 44811-1508
28073741         +   VOICE DATA SYSTEMS, 37690 ENTERPRISE CT, FARMINGTON HILLS, MI 48331-3440
28073742             VOLKMAN, LORRE, 1040 W MAIN ST, BELLEVUE, OH 44811-9012
28073743             VOLLMAR, JANET, 6833 COUNTY ROAD 29, BELLEVUE, OH 44811-8822
28073744         +   VOLLMAR, TIMOTHY, 806 EAST MAIN STREET, BELLEVUE, OH 44811-1563
28073745         +   VON EITZEN, 1083 BRIDGEWATER LANE, FREMONT, OH 43420-9312
28073746         +   VONAGE BUSINESS, 23 MAIN STREET, HOLMDEL, NJ 07733-2136
28073747             VONAGE BUSINESS, PO BOX 392415, PITTSBURGH, PA 15251-9415
28073748         +   VORYS, SATER, SEYMOUR & PEASE, LLP, PO BOX 631568, CINCINNATI, OH 45263-1568
28073749         +   VORYS, SATER, SEYMOUR AND PEASE LLP, ATTN: KARI B. CONIGLIO, 200 PUBLIC SQUARE, SUITE 1400, CLEVELAND,
                     OH 44114-2327
28073750             VVC HOLDING LCC, PO BOX 840952, DALLAS, TX 75284-0952
28073751         +   VYAIRE, 26125 NORTH RIVERWOODS BLVD, METTAWA, IL 60045-3420
28073752         +   W.L. GORE AND ASSOCIATES, PO BOX 751331, CHARLOTTE, NC 28275-1331
28073753         +   WAC CONCORDANCE HEALTHCARE, PO BOX 94631, CLEVELAND, OH 44101-4631
28073754         +   WADE, 223 HUFFMAN STREET, BELLEVUE, OH 44811-1019
28073755         +   WADSWORTH SERVICE, ATTN: GENERAL COUNSEL, 1500 MICHAEL OWENS WAY, PERRYSBURG, OH 43551-2975
28073756         +   WADSWORTH SLAWSON NW, 1500 MICHAEL OWENS WAY, PERRYSBURG, OH 43551-2975
28073759         +   WAGNER, AMBER, 1410 FRANKS AVENUE, CLYDE, OH 43410-1445
28073760         +   WAGNITZ, KATHARINE, 1118 LAKE ST., MARBLEHEAD, OH 43440-2034
28073761         +   WALDEN UNIVERSITY, 15297 COLLECTIONS CENTER DR, CHICAGO, IL 60693-0001




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28073762         + WALKER, 9905 STATE ROUTE 101 W, CASTALIA, OH 44824-9237
28073763         + WALLISER, 340 STUMP PIKE RD., ATTICA, OH 44807-9465
28073764           WALTERM, JANE, 1820 GUERNSEY DR, FREMONT, OH 43420-3767
28073765           WALTERS' BOILER WORKS INC, PO BOX 806, FREMONT, OH 43420-0806
28073766           WALTERS, TONI, 730 4TH ST., FREMONT, OH 43420-3811
28073767         + WARBIRD CONSULTING PAR, 600 GALLERIA PKWY, SUITE 500, ATLANTA, GA 30339-8143
28073768         + WARBIRD CONSULTING PARTNERS LLC, 600 GALLERIA PKWY, ATLANTA, GA 30339-8143
28073769           WARD, RONALD, 6302 BAUER RD, BELLEVUE, OH 44811-9796
28073770         + WARNER DIESEL FILTRATION, 2303 COLE CREEK DR, NORWALK, OH 44857-8932
28073771         + WARNER MECHANICAL CORPORATION, 1609 DICKINSON ST, FREMONT, OH 43420-1119
28073772         + WARWICK, JAMES, 740 CO RD 212 LOT 1, FREMONT, OH 43420-8400
28073773         + WASHINGTON PUBLISHING, 2107 ELLIOTT AVE, #305, SEATTLE, WA 98121-2159
28073774         + WASHINGTON PUBLISHING COMPANY, 2107 ELLIOTT AVE, SEATTLE, WA 98121-2186
28073775           WASINIAK, BETH, 72 WEST ST, MONROEVILLE, OH 44847-9797
28073776         + WATER MANAGEMENT ADVIS, 143 EAST WOOSTER STREE, SUITE B, BOWLING GREEN, OH 43402-2959
28073777         + WATER MANAGEMENT ADVISORS, LTD, 143 EAST WOOSTER STREET, BOWLING GREEN, OH 43402-2959
28073779         + WATSON, PO BOX 374, BLOOMVILLE, OH 44818-0374
28073780           WAYSTAR INC, 1311 SOLUTIONS CENTER, CHICAGO, IL 60677-1311
28073781         + WBC GROUP LLC, PO BOX 638256, CINCINNATI, OH 45263-8256
28073782         + WCG CLINICAL INC. DBA WCG IRB LLC, 212 CARNEGIE CENTER, PRINCETON, NJ 08540-6236
28073783           WE ARE ALL AROUND LLC, PO BOX 96, SANDUSKY, OH 44871-0096
28073784         + WEARS, CRAIG, 1538 SUNRISE BLVD., FREMONT, OH 43420-4724
28073785           WEASNER, BARBARA, 307 HIGH ST, BELLEVUE, OH 44811-1231
28073786           WEASNER, MELANIE, 701 LIMERICK RD, CLYDE, OH 43410-1849
28073787         + WEATHERBY LOCUMS INC, PO BOX 972633, DALLAS, TX 75397-2633
28073789         + WEBB, 208 B STATE ROUTE 61 E, NORWALK, OH 44857-9650
28073791         + WEBER, 4855 E COUNTY ROAD 38, TIFFIN, OH 44883-8435
28073792         + WEBER SHARON, 325 LOUISE AVE, BELLEVUE, OH 44811-1831
28073793           WEBPT INC, DEPT 3851, PO BOX 123851, DALLAS, TX 75312-3851
28073794           WEBPT INC, DEPT 3851, DALLAS, TX 75312-3851
28073795         + WEICHEL, 2355 N. TWP. RD. 83, ATTICA, OH 44807-9553
28073796           WEIDINGER, MARTHA, 151 WOOD ST., BELLEVUE, OH 44811-1540
28073797         + WELCH ALLYN, 4341 STATE STREET RD, SKANEATELES FALL, NY 13153-5301
28073798         + WELCH ALLYN INC, ATTN: GENERAL COUNSEL, 4341 STATE ST RD, PO BOX 220, SKANEATELES FALLS, NY 13153-0220
28073799         + WELFLE, 161 NORTH STREET, MONROEVILLE, OH 44847-9549
28073800         + WELLS JOHNSON, 8000 S. KOLB RD, TUCSON, AR 85756-9104
28073801         + WENTLING, ALLISON, 307 BRINKER ST., BELLEVUE, OH 44811-1506
28073802         + WEST COAST MEDICAL RESOURCES LLC, 520 HOWARD COURT, CLEARWATER, FL 33756-1102
28073803         + WEST PAYMENT CENTER, PO BOX 6292, CAROL STREAM, IL 60197-6292
28073804         + WETOSKEY, 417 LINDEN WAY DRIVE, SANDUSKY, OH 44870-6312
28073805           WETZEL, CHRISTOPHER, 17 MARSHALL ST., NORWALK, OH 44857-1722
28073806         + WEYANT, LOREN, 68 LINDA DRIVE, FREMONT, OH 43420-4817
28073807           WICKENS,HERZER,PANZA,., 35765 CHESTER RD, AVON, OH 44011-1262
28073808         + WIDMAN, MICHELE, 450 CR 302, BELLEVUE, OH 44811-9418
28073809           WIDMER, DINA, 115 FRIEDLEY AVE, BELLEVUE, OH 44811-1048
28073810           WIEDLE, MICHAEL, 311 W PARISH ST, SANDUSKY, OH 44870-4849
28073811         + WIGTON, 872 PARK AVENUE, AMHERST, OH 44001-2433
28073812           WILFONG, CHERYL, 6945 STATE ROUTE 101 E, CLYDE, OH 43410-9730
28073813           WILFONG, CINDY, 1565 N COUNTY ROAD 232, FREMONT, OH 43420-8709
28073814         + WILHELM, 32 PROSPECT STREET, MONROEVILLE, OH 44847-9784
28073815         + WILKERSON, 3226 COUNTY ROAD 175, CLYDE, OH 43410-9534
28073816         + WILKINS, 1249 CR 658, NOVA, OH 44859-9741
28073818         + WILLIAMS, 793 W. MAPLE ST., CLYDE, OH 43410-1401
28073819         + WILLIAMS, 179 SAINT MARYS STREET, NORWALK, OH 44857-1650
28073817         + WILLIAMS, 6060 EAST ST. RT. 18, REPUBLIC, OH 44867-9308
28073820         + WILLIAMS MEDICAL COMPANY, PO BOX 1122, YORBA LINDA, CA 92885-1122
28073821         + WILLIAMS, JESSICA, 200 E. MAIN ST., NORWALK, OH 44857-1638
28073822           WILLIAMS, KATHERINE, 4688 COUNTY RD. 177, CLYDE, OH 43410-9795
28073823         + WILLIAMS, KENNETH, 229 SE BARBARA AVE, BARTLESVILLE, OK 74006-2804
28073824         + WILLIAMSON, ANNE, 833 DEL MOY AVENUE, BELLEVUE, OH 44811-1662
28073825         + WILLIN, KHRISTOPHER, 10655 W STATE ROUTE 2, OAK HARBOR, OH 43449-8900
28073827         + WILSON, 124 PARKVIEW PLACE, BELLEVUE, OH 44811-9056
28073826         + WILSON, 4468 TWP. RD. 83, BELLEVUE, OH 44811-9523




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28073828               + WILSON, EMILY, 124 PARKVIEW PLACE, BELLEVUE, OH 44811-9056
28073829                 WILSON, ZACHARY, 404 W ADAMS ST, GREEN SPRINGS, OH 44836-9643
28073830               + WINDAU, 307 ADAMS STREET, CASTALIA, OH 44824-9525
28073831               + WINSLOW APPRAISAL INC, 713 BEACH DRIVE, WILLARD, OH 44890-9753
28073832                 WISE, BRITTANY, 6445 GARBER RD., BELLEVUE, OH 44811
28073833                 WISE, JOHN, 722 RACE ST., CLYDE, OH 43410-1827
28073834                 WITHEM, RICHARD, 419 AMES ST., CLYDE, OH 43410-1601
28073835               + WLKR/WKFM, 225 EAST AVENUE, ELYRIA, OH 44035-5634
28073836               + WOLFF BROS. SUPPLY INC., PO BOX 933474, CLEVELAND, OH 44193-0040
28073837               + WOLTERS KLUWER HEALTH, 4603 PAYSPHERE CIRCLE, CHICAGO, IL 60674-0001
28073838               + WOLTERS KLUWER HEALTH INC, ATTN: GENERAL COUNSEL, TWO COMMERCE SQ, 2001 MARKET ST, PHILADELPHIA,
                         PA 19103-7044
28073839               + WOMEN CERTIFIED INC, PO BOX 550280, DAVIE, FL 33355-0280
28073841               + WON DOOR CO., 1865 S 3480 W, SALT LAKE CITY, UT 84104-4947
28073840               + WON DOOR CO., ATTN: JEFF OLSEN, 1865 S 3480 W, SALT LAKE CITY, UT 84104-4947
28073842               + WON-DOOR CORPORATION, ATTN: GENERAL COUNSEL, 1865 SOUTH 3480 WEST, SALT LAKE CITY, UT 84104-4947
28073843               + WONDER, AMANDA, 244 KILBOURNE ST., BELLEVUE, OH 44811-1324
28073844                 WOODARD, MARC, 10 HILLTOP DR., BELLEVUE, OH 44811
28073846               + WORSTALL, ROBERT S., 16062 CR 34, BELLEVUE, OH 44811-9532
28073847                 WPS, 625 ALASKA AVE, TORRENCE, CA 90503-5124
28073848                 WRIGHT MEDICAL TECHNOL, PO BOX 503482, ST LOUIS, MO 63150-3482
28073849                 WRIGHT MEDICAL TECHNOLOGY, PO BOX 503482, ST LOUIS, MO 63150-3482
28073850               + WRIGHT MEDICAL TECHNOLOGY INC, ATTN: STRATEGIC CONTRACTING, 1023 CHERRY RD, MEMPHIS, TN 38117-5423
28073851                 WRIGHT, JO ANNE, 765 ARROWHEAD DR, BUCYRUS, OH 44820-2576
28073852               + WRIGHT, STACY, 431 HIGH ST, BELLEVUE, OH 44811-1233
28073853                 WRS GROUP LTD, PO BOX 21207, WACO, TX 76702-1207
28073854                 WURM, JAMES, 547 N COUNTY ROAD 268, CLYDE, OH 43410-9759
28073855               + WYANT, 108 WINFIELD, BELLEVUE, OH 44811-1644
28073856               + X-SPINE SYSTEMS INCORPORATED, ATTN: GENERAL COUNSEL, 452 ALEXANDERSVILLE RD, MIAMISBURG, OH
                         45342-3658
28073857               + XODUS MEDICAL, ATTN: GENERAL COUNSEL, WESTMORELAND BUSINESS AND RESEARCH PARK, 702 PROMINENCE
                         DR, NEW KENSINGTON, PA 15068-7052
28073858               + XODUS MEDICAL INC, 702 PROMINENCE DRIVE, NEW KENSINGTON, PA 15068-7052
28073859               + XTANT MEDICAL, 664 CRUISER LANE, BELGRADE, MT 59714-9719
28073860               + XTANT MEDICAL, ATTN: GENERAL COUNSEL, 664 CRUISER LN, BELGRADE, MT 59714-9719
28073861               + YECKLE, ASHLEY, 111 FLAT ROCK ROAD LOT 30, BELLEVUE, OH 44811-9416
28073862                 YETTER, AMANDA, 2148 COUNTY ROAD 270, CLYDE, OH 43410-9779
28073863                 YORK CARPET OUTLET, 2335 US ROUTE 20, CLYDE, OH 43410
28073864               + YOUNG'S INC, PO BOX 145, DUNDEE, MI 48131-0145
28073865               + YOUNG, ANGEL, 7399 COUNTY RD 175, BELLEVUE, OH 44811-8714
28073866               + YOUNG, BEVERLY, 205 LESTER ST., CASTALIA, OH 44824-9517
28073867                 YOUNG, JOHNNA, 192 COLLINGWOOD AVE, NORWALK, OH 44857-1643
28073868               + ZACK PRODUCTS CORP, PO BOX 1841, CRANBERRY TWP, PA 16066-0841
28073869               + ZEBRA TECHNOLOGIES, 333 CORPORATE WOODS, VERNON HILLS, IL 60061-3109
28073870               + ZELTIQ AESTHSTICS, 4410 ROSEWOOD DR, PLEASANTON, CA 94588-3050
28073871               + ZENITH SYSTEMS LLC, 5055 CORBIN DR, BEDFORD HEIGHTS, OH 44128-5462
28073872               + ZEPERNICK, PATRICIA, 718 MULBERRY ST., FREMONT, OH 43420-3926
28073873               + ZIEBER, CYNTHIA, 6102 COUNTY ROAD 191, BELLEVUE, OH 44811-9074
28073874               + ZIEGLER, BOBBIE, 514 GREENWICH MILAN TOWNLINE RD, NORWALK, OH 44857-9287
28073877                 ZINGG, CHRISTINE, 132 S TAFT AVE, FREMONT, OH 43420-2765
28073878                 ZIRMED INC, 1311 SOLUTIONS CENTER, CHICAGO, IL 60677-1311
28073879                 ZOLL MEDICAL, PO BOX 27028, NEW YORK, NY 10087-7028
28073880               + ZOLL MEDICAL CORPORATION, ATTN: CONTRACTS DEPARTMENT, 269 MILL RD, CHELMSFORD, MA 01824-4105
28073881               + ZORBX INC, 17647 FOLTZ INDUSTRIAL PKWY, STRONGSVILLE, OH 44149-5535
28073882               + ZORN, 5707 DELORES DRIVE, CASTALIA, OH 44824-9456
28073883                 ZURA, PEGGY, 328 LUCAS ST., CASTALIA, OH 44824-9782

TOTAL: 2564

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
db                     + Email/Text: pfs@bellevuehospital.com
                                                                                        Feb 06 2025 20:34:00      The Bellevue Hospital, 1400 West Main Street,




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                                                                                                  Bellevue, OH 44811-8952
ust              + Email/Text: ustpregion09.cl.ecf@usdoj.gov
                                                                           Feb 06 2025 20:34:00   United States Trustee, Office of the U.S. Trustee,
                                                                                                  H.M. Metzenbaum U.S. Courthouse, 201 Superior
                                                                                                  Avenue East Suite 441, Cleveland, OH
                                                                                                  44114-1234
cr               + Email/Text: kbconiglio@vorys.com
                                                                           Feb 06 2025 20:34:00   Fifth Third Bank, National Association, c/o Kari
                                                                                                  B. Coniglio, Vorys, Sater, Seymour and Pease
                                                                                                  LLP, 200 Public Square, Suite 1400, Cleveland,
                                                                                                  OH 44114-2327
28071098         + Email/Text: Gail.Good@Accredo.com
                                                                           Feb 06 2025 20:34:00   ACCREDO HEALTH GROUP, 13408
                                                                                                  COLLECTIONS CENTER DRIVE, CHICAGO,
                                                                                                  IL 60693-0001
28071113           Email/Text: amscbankruptcy@adt.com
                                                                           Feb 06 2025 20:34:00   ADT SECURITY SERVICES, PO BOX 371878,
                                                                                                  PITTSBURGH, PA 15250-7878
28071155         + Email/Text: accounts.receivable@alphasource.com
                                                                           Feb 06 2025 20:34:00   ALPHA SOURCE INC, 6619 W CALUMET
                                                                                                  ROAD, MILWAUKEE, WI 53223-4186
28071178         + Email/Text: creditbankruptcy@ama-assn.org
                                                                           Feb 06 2025 20:34:00   AMERICAN MEDICAL ASSOC, ORDER
                                                                                                  DEPARTMENT, PO BOX 930876, ATLANTA,
                                                                                                  GA 31193-0876
28071180         + Email/Text: creditbankruptcy@ama-assn.org
                                                                           Feb 06 2025 20:34:00   AMERICAN MEDICAL ASSOCIATION, ATTN:
                                                                                                  GENERAL COUNSEL, UNIFIED SERVICE
                                                                                                  CENTER, 330 N WABASH AVE STE 39300,
                                                                                                  CHICAGO, IL 60611-5885
28071181           Email/Text: AccountsReceivable@api-pt.com
                                                                           Feb 06 2025 20:34:00   AMERICAN PROFICIENCY INSTITUTE, PO
                                                                                                  BOX 30516, LANSING, MI 48909-8016
28071182           Email/Text: bankruptcy@redcross.org
                                                                           Feb 06 2025 20:34:00   AMERICAN RED CROSS, PO BOX 73013,
                                                                                                  CHICAGO, IL 60673-7013
28071207           Email/Text: legal@angiodynamics.com
                                                                           Feb 06 2025 20:33:00   ANGIODYNAMICS, ATTN: GENERAL
                                                                                                  COUNSEL, PO BOX 1549, ALBANY, NY 12201
28071206           Email/Text: legal@angiodynamics.com
                                                                           Feb 06 2025 20:33:00   ANGIODYNAMICS, PO BOX 1549, ALBANY,
                                                                                                  NY 12201-1549
28071221           Email/Text: bankruptcynotices@azdor.gov
                                                                           Feb 06 2025 20:33:00   ARIZONA DEPARTMENT OF REVENUE, PO
                                                                                                  BOX 29009, PHOENIX, AZ 85038-9009
28071277         + Email/Text: mortgagebkcorrespondence@bofa.com
                                                                           Feb 06 2025 20:34:00   BANK OF AMERICA, ATTN: GENERAL
                                                                                                  COUNSEL, 1400 BEST PLAZA DR,
                                                                                                  RICHMOND, VA 23227-1125
28071291         + Email/Text: creditdept@baxter.com
                                                                           Feb 06 2025 20:34:00   BAXTER HEALTHCARE, PO BOX 70564,
                                                                                                  CHICAGO, IL 60673-0564
28071305           Email/Text: bankruptcynotices@beekley.com
                                                                           Feb 06 2025 20:33:00   BEEKLEY CORPORATION, ONE PRESTIGE
                                                                                                  LANE, BRISTOL, CT 06010
28071382         + Email/Text: bankruptcy@bmi.com
                                                                           Feb 06 2025 20:34:00   BMI, 10 MUSIC SQUARE EAST, NASHVILLE,
                                                                                                  TN 37203-4321
28071400           Email/Text: ACCOUNTING@BOSSINST.COM
                                                                           Feb 06 2025 20:33:00   BOSS INSTRUMENTS LTD, INC, 104
                                                                                                  SOMMERFIELD DRIVE, GORDONSVILLE,
                                                                                                  VA 22942
28071411           Email/Text: accounts.receivable@diag.bracco.com
                                                                           Feb 06 2025 20:33:00   BRACCO DIAGNOSTICS INC, PO BOX
                                                                                                  978952, DALLAS, TX 75397-8952
28071439         + Email/Text: ccasdorph@buckeyepowersales.com
                                                                           Feb 06 2025 20:34:00   BUCKEYE POWER SALES, ATTN: LOUUIS
                                                                                                  HAEFNER, 6850 COMMERCE COURT DR, PO
                                                                                                  BOX 489, BLACKLICK, OH 43004-0489
28071440         + Email/Text: ccasdorph@buckeyepowersales.com
                                                                           Feb 06 2025 20:34:00   BUCKEYE POWER SALES, 6850 COMMERCE
                                                                                                  COURT DR, BLACKLICK, OH 43004-9297
28071541           Email/Text: dl-csgbankruptcy@charter.com
                                                                           Feb 06 2025 20:34:00   CHARTER COMMUNICATIONS, P.O. BOX
                                                                                                  6030, CARLO STREAM, IL 60197-6030
28071540           Email/Text: dl-csgbankruptcy@charter.com




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                                                                           Feb 06 2025 20:34:00   CHARTER COMMUNICATIONS, PO BOX
                                                                                                  6030, CAROL STREAM, IL 60197-6030
28071539         + Email/Text: dl-csgbankruptcy@charter.com
                                                                           Feb 06 2025 20:34:00   CHARTER COMMUNICATIONS, 400
                                                                                                  WASHINGTON BLVD., STAMFORD, CT
                                                                                                  06902-6641
28071546         + Email/Text: bankruptcy@nisly.com
                                                                           Feb 06 2025 20:34:00   CHOICE BOOKS, 10100 PIPER LANE,
                                                                                                  BRISTOW, VA 20136-1419
28071553         + Email/Text: stephen.malkiewicz@cintas.com
                                                                           Feb 06 2025 20:34:00   CINTAS CORPORATION, ATTN: GENERAL
                                                                                                  COUNSEL, 6800 CINTAS BLVD, MASON, OH
                                                                                                  45040-9151
28071578         + Email/Text: Finance@obix.com
                                                                           Feb 06 2025 20:34:00   CLINICAL COMPUTER SYSTEM INC, ATTN:
                                                                                                  GENERAL COUNSEL, 715 TOLLGATE RD,
                                                                                                  ELGIN, IL 60123-9376
28071598         + Email/Text: bdsupport@creditmanagementcompany.com
                                                                           Feb 06 2025 20:34:00   COLLECTION MANAGEMENT COMPANY,
                                                                                                  FOSTER PLAZA BUILDING 7, PITTSBURGH,
                                                                                                  PA 15220-2700
28071602           Email/Text: bankruptcyColumbia@nisource.com
                                                                           Feb 06 2025 20:33:00   COLUMBIA GAS, P.O. BOX 4629, CAROL
                                                                                                  STREAM, IL 60197-4629
28071603           Email/Text: bankruptcyColumbia@nisource.com
                                                                           Feb 06 2025 20:33:00   COLUMBIA GAS OF OHIO, PO BOX 4629,
                                                                                                  CAROL STREAM, IL 60197-4629
28071604         + Email/Text: bankruptcyColumbia@nisource.com
                                                                           Feb 06 2025 20:33:00   COLUMBIA GAS OF OHIO, 290
                                                                                                  NATIONWIDE BLVD., COLUMBUS, OH
                                                                                                  43215-1082
28071607         ^ MEBN
                                                                           Feb 06 2025 20:29:28   COMMERCE BANK, PO BOX 846451,
                                                                                                  KANSAS CITY, MO 64184-6451
28071623           Email/Text: kimtanney@conmed.com
                                                                           Feb 06 2025 20:33:00   CONMED, ATTN: GENERAL COUNSEL, 525
                                                                                                  FRENCH RD, UTICA, NY 13502
28071677         + Email/Text: scollins@cs-llc.com
                                                                           Feb 06 2025 20:34:00   CREDIT SOLUTIONS, LLC, 2277
                                                                                                  THUNDERSTICK DRIVE, LEXINGTON, KY
                                                                                                  40505-4878
28071697           Email/Text: account.cyclone@aol.com
                                                                           Feb 06 2025 20:33:00   CYCLONE SERVICES INC, PO BOX 85,
                                                                                                  VICKERY, OH 43464
28071719           Email/Text: litigation.recoverybkmailbox@dllgroup.com
                                                                           Feb 06 2025 20:33:00   DE LAGE LANDEN FINANCIAL SERVICES,
                                                                                                  INC., 1111 OLD EAGLE SCHOOL ROAD,
                                                                                                  WAYNE, PA 19087
28071729           Email/PDF: DellBKNotifications@resurgent.com
                                                                           Feb 06 2025 20:41:44   DELL FINANCIAL SERVICES, 4319
                                                                                                  COLLECTION CENTER DRIVE, CHICAGO, IL
                                                                                                  60693
28072195           Email/Text: uslegal@dgs.com
                                                                           Feb 06 2025 20:34:00   HEARING SCREENING ASSOCIATES, 3333
                                                                                                  NORTH KENNICOTT AVENUE, ARLINGTON
                                                                                                  HEIGHTS, IL 60004
28071817           Email/Text: uslegal@dgs.com
                                                                           Feb 06 2025 20:34:00   E3 DIAGNOSTICS INC, 3333 N KENNICOTT
                                                                                                  AVE, ARLINGTON HEIGHTS, IL 60004
28071734           Email/Text: CREDITDEPT@demdaco.com
                                                                           Feb 06 2025 20:34:00   DEMDACO, PO BOX 803314, KANSAS CITY,
                                                                                                  MO 64180-3314
28071739           Email/Text: Bankruptcy.notices@tax.state.oh.us
                                                                           Feb 06 2025 20:34:00   DEPARTMENT OF TAXATION, PO BOX 1090,
                                                                                                  COLUMBUS, OH 43216-1090
28071779         + Email/Text: billing@docusign.com
                                                                           Feb 06 2025 20:34:00   DOCUSIGN INC, ATTN: GENERAL
                                                                                                  COUNSEL, 1301 2ND AVE, STE 2000,
                                                                                                  SEATTLE, WA 98101-3810
28071777         + Email/Text: billing@docusign.com
                                                                           Feb 06 2025 20:34:00   DOCUSIGN INC, 1301 2ND AVE, SUITE 2000,
                                                                                                  SEATTLE, WA 98101-3810
28071813         + Email/Text: accountsreceivable@dutchophthalmicusa.com
                                                                           Feb 06 2025 20:33:00   DUTCH OPHTHALMIC USA INC, 10
                                                                                                  CONTINENTAL DRIVE, EXETER, NH
                                                                                                  03833-7507




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28071821           Email/Text: lpcryan@eastmansmith.com
                                                                         Feb 06 2025 20:34:00   EASTMAN & SMITH LTD, PO BOX 10032,
                                                                                                TOLEDO, OH 43699-0032
28071829           Email/Text: billing@ecri.org
                                                                         Feb 06 2025 20:33:00   ECRI INSTITUTE, 5200 BUTLER PIKE,
                                                                                                PLYMOUTH MEETING, PA 19462
28071830           Email/Text: billing@ecri.org
                                                                         Feb 06 2025 20:33:00   ECRI INSTITUTE, ATTN: JEFF MILLER, 5200
                                                                                                BUTLER PIKE, PLYMOUTH MEETING, PA
                                                                                                19462
28071854         + Email/Text: billing@ecri.org
                                                                         Feb 06 2025 20:33:00   EMERGENCY CARE RESEARCH INSTITUTE
                                                                                                D/B/A, ATTN: GENERAL COUNSEL, 5200
                                                                                                BUTLER PIKE, PLYMOUTH MEETING, PA
                                                                                                19462-1298
28071861         + Email/Text: legaladmin@empower.com
                                                                         Feb 06 2025 20:34:00   EMPOWER RETIREMENT LLC, ATTN:
                                                                                                GENERAL COUNSEL, 8515 E ORCHARD RD,
                                                                                                GREENWOOD VILLAGE, CO 80111-5002
28071909         + Email/Text: bankruptcynotices@faire.com
                                                                         Feb 06 2025 20:33:00   FAIRE WHOLESALE INC, 100 POTRERO
                                                                                                AVE, SAN FRANCISCO, CA 94103-4813
28071943         + Email/Text: strayesa@firelands.com
                                                                         Feb 06 2025 20:33:00   FIRELANDS REG MED CENT, 1111 HAYES
                                                                                                AVE, SANDUSKY, OH 44870-3323
28071944         + Email/Text: strayesa@firelands.com
                                                                         Feb 06 2025 20:33:00   FIRELANDS REG MED CENTER, 1111 HAYES
                                                                                                AVE, SANDUSKY, OH 44870-3323
28071946           Email/Text: strayesa@firelands.com
                                                                         Feb 06 2025 20:33:00   FIRELANDS REGIONAL MEDICAL CENTER,
                                                                                                ATTN: JEREMY NORMINGTON-SLAY, 1111
                                                                                                HAYES AVENUE, SANDUSKY, OH 44870
28071949         + Email/Text: SAABankruptcy@fcbanking.com
                                                                         Feb 06 2025 20:34:00   FIRST COMMONWEALTH BANK, PO BOX
                                                                                                537, INDIANA, PA 15701-0537
28071951         + Email/Text: millerd@fnblifetime.com
                                                                         Feb 06 2025 20:34:00   FIRST NATIONAL BANK OF BELLEVUE,
                                                                                                ATTN: PRESIDENT OR GENERAL COUNSEL,
                                                                                                120 NORTH ST., BELLEVUE, OH 44811-1452
28071950         + Email/Text: millerd@fnblifetime.com
                                                                         Feb 06 2025 20:34:00   FIRST NATIONAL BANK OF BELLEVUE, 120
                                                                                                NORTH ST, BELLEVUE, OH 44811-1452
28071958         + Email/Text: dfell@ftmc.com
                                                                         Feb 06 2025 20:34:55   FISHER TITUS MEDICAL CNT, 272
                                                                                                BENEDICT AVE, NORWALK, OH 44857-2374
28072000         + Email/Text: Bankruptcy@Freedommortgage.com
                                                                         Feb 06 2025 20:33:00   FREEDOM MORTGAGE, PO BOX 619063,
                                                                                                DALLAS, TX 75261-9063
28072013           Email/Text: bankruptcynotification@ftr.com
                                                                         Feb 06 2025 20:34:00   FRONTIER, PO BOX 20550, ROCHESTER, NY
                                                                                                14602-0550
28072014           Email/Text: bankruptcy@frost-arnett.com
                                                                         Feb 06 2025 20:33:00   FROST-ARNETT COMPANY, PO BOX 198988,
                                                                                                NASHVILLE, TN 37219-8988
28072019           Email/Text: ffss-credit@fujifilm.com
                                                                         Feb 06 2025 20:33:00   FUJIFILM SONOSITE INC, 21919 30TH DR,
                                                                                                SE, BOTHELL, WA 98021
28072031         + Email/Text: carolb@ganz.com
                                                                         Feb 06 2025 20:34:00   GANZ USA LLC, 60 INDUSTRIAL PKWY,
                                                                                                CHEEKTOWAGA, NY 14227-2774
28072077           Email/Text: PMELLING@GIFTCRAFT.COM
                                                                         Feb 06 2025 20:34:00   GIFTCRAFT INC., PO BOX 1270, GRAND, NY
                                                                                                14072-8270
28072086         + Email/Text: bankruptcynotices@ghx.com
                                                                         Feb 06 2025 20:34:00   GLOBAL HEALTHCARE EXCHANGE, 1315
                                                                                                WEST CENTURY DRIV, LOUISVILLE, CO
                                                                                                80027-8563
28072088           Email/Text: bankruptcynotices@ghx.com
                                                                         Feb 06 2025 20:34:00   GLOBAL HEALTHCARE EXCHANGE LLC,
                                                                                                ATTN: CUSTOMER CONTRACTS, 1315 W
                                                                                                CENTURY DR, STE 100, LOUISVILLE, CO
                                                                                                80027
28072087           Email/Text: bankruptcynotices@ghx.com
                                                                         Feb 06 2025 20:34:00   GLOBAL HEALTHCARE EXCHANGE LLC,
                                                                                                ATTN: GENERAL COUNSEL, 1315 CENTURY
                                                                                                DR, STE 100, LOUISVILLE, CO 80027




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28072093         + Email/Text: GMFINANCIAL@EBN.PHINSOLUTIONS.COM
                                                               Feb 06 2025 20:34:00             GM FINANCIAL, PO BOX 78143, PHOENIX,
                                                                                                AR 85062-8143
28072120         + Email/Text: dpetersen@greatamerica.com
                                                                         Feb 06 2025 20:34:00   GREATAMERICA FINANCIAL SERVICES
                                                                                                CORPORAT, ATTN: GENERAL COUNSEL,
                                                                                                625 FIRST ST SE, CEDAR RAPIDS, IA
                                                                                                52401-2030
28072115           Email/Text: dpetersen@greatamerica.com
                                                                         Feb 06 2025 20:34:00   GREAT AMERICA FINANCIAL SERVICES,
                                                                                                PO BOX 660831, DALLAS, TX 75266-0831
28072125         + Email/Text: info@greer-medical.com
                                                                         Feb 06 2025 20:34:00   GREER MEDICAL INC, 314 E. CARRILLO ST.,
                                                                                                SANTA BARBARA, CA 93101-7429
28072185         + Email/Text: epresnell@healthcareconnections.com
                                                                         Feb 06 2025 20:33:00   HEALTHCARE CONNECTIONS, 16105
                                                                                                SWINGLEY RIDGE R, #4696, CHESTERFIELD,
                                                                                                MO 63006-5077
28072186         + Email/Text: epresnell@healthcareconnections.com
                                                                         Feb 06 2025 20:33:00   HEALTHCARE CONNECTIONS, LLC, 16105
                                                                                                SWINGLEY RIDGE ROAD, CHESTERFIELD,
                                                                                                MO 63006-5001
28072194         + Email/Text: uslegal@dgs.com
                                                                         Feb 06 2025 20:34:00   HEARING SCREENING ASSO, 3333 NORTH
                                                                                                KENNICOTT A, ARLINGTON HEIGHTS, IL
                                                                                                60004-1429
28072286           Email/Text: emily.payne@hyland.com
                                                                         Feb 06 2025 20:33:00   HYLAND SOFTWARE INC, ATTN: GENERAL
                                                                                                COUNSEL, 28500 CLEMENS RD, WESTLAKE,
                                                                                                OH 44145
28072287           Email/Text: emily.payne@hyland.com
                                                                         Feb 06 2025 20:33:00   HYLAND SOFTWARE, INC, 28500 CLEMENS
                                                                                                ROAD, WESTLAKE, OH 44145
28072299         + Email/Text: ardept@identiphoto.com
                                                                         Feb 06 2025 20:34:00   IDENTIPHOTO, 1810 JOSEPH LLOYD PK,
                                                                                                WILLOUGHBY, OH 44094-8042
28072327         + Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                         Feb 06 2025 20:34:00   INSOLVENCY GROUP 6, 1240 EAST NINTH
                                                                                                ST, ROOM 493, CLEVELAND, OH 44199-9904
28072336         + Email/Text: payroll@interface.com
                                                                         Feb 06 2025 20:34:00   INTERFACE, 1503 ORCHORD HILL RD,
                                                                                                LAGRANGE, GA 30240-5770
28071742           Email/Text: hcsuspi_bankruptcynotices@its.jnj.com
                                                                         Feb 06 2025 20:33:00   DEPUY ORTHOPAEDICS INC, 5972
                                                                                                COLLECTIONS CENTE, CHICAGO, IL 60693
28071743           Email/Text: hcsuspi_bankruptcynotices@its.jnj.com
                                                                         Feb 06 2025 20:33:00   DEPUY ORTHOPAEDICS INC., 5972
                                                                                                COLLECTIONS CENTER DRIVE, CHICAGO,
                                                                                                IL 60693
28072417           Email/Text: bankruptcynotices@kent.edu
                                                                         Feb 06 2025 20:34:00   KENT STATE UNIVERSITY, 800 E SUMMIT
                                                                                                ST, KENT, OH 44242
28072425         + Email/Text: bankruptcynotices@keybridgemed.com
                                                                         Feb 06 2025 20:34:00   KEYBRIDGE MEDICAL REV MGMT, PO BOX
                                                                                                747, LIMA, OH 45802-0747
28072452           Email/Text: accounting@staywell.com
                                                                         Feb 06 2025 20:34:00   KRAMES STAYWELL LLC, PO BOX 90477,
                                                                                                CHICAGO, IL 60696-0477
28072466           Email/Text: govtaudits@labcorp.com
                                                                         Feb 06 2025 20:33:00   LABORATORY CORP OF, PO BOX 12140,
                                                                                                BURLINGTON, NC 27216-2140
28072467         ^ MEBN
                                                                         Feb 06 2025 20:29:14   LABORATORY CORPORATION OF
                                                                                                AMERICA HOLDIN, ATTN: GENERAL
                                                                                                COUNSEL, 531 SOUTH SPRING ST,
                                                                                                BURLINGTON, NC 27215-5866
28072585           Email/Text: contracts@mcg.com
                                                                         Feb 06 2025 20:33:00   MCG HEALTH LLC, ATTN: CONTRACTS
                                                                                                DEPT, 901 FIFTH AVE, STE 2000, SEATTLE,
                                                                                                WA 98164
28072588           Email/Text: contracts@mcg.com
                                                                         Feb 06 2025 20:33:00   MCG HEALTH, LLC, PO BOX 742350,
                                                                                                ATLANTA, GA 30374-2350
28072652         + Email/Text: accounting@medmanagementllc.com
                                                                         Feb 06 2025 20:34:00   MEDMANAGEMENT LLC, 1500 URBAN
                                                                                                CENTER DR, VESTAVIA HILLS, AL




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                                                                                                  35242-2564
28072710           Email/Text: accounts.receivable@microaire.com
                                                                           Feb 06 2025 20:33:00   MICROAIRE, 3590 GRAND FORKS BLVD,
                                                                                                  CHARLOTTESVILLE, VA 22911
28072711           Email/Text: accounts.receivable@microaire.com
                                                                           Feb 06 2025 20:33:00   MICROAIRE, LOCK BOX 96565, CHICAGO, IL
                                                                                                  60693
28072712           Email/Text: accounts.receivable@microaire.com
                                                                           Feb 06 2025 20:33:00   MICROAIRE SURGICAL INSTRUMENTS LLC,
                                                                                                  ATTN: GENERAL COUNSEL, 3590 GRAND
                                                                                                  FORKS BLVD, CHARLOTTESVILLE, VA
                                                                                                  22911
28072786         ^ MEBN
                                                                           Feb 06 2025 20:28:59   NATIONWIDE LIFE INSURANCE COMPANY,
                                                                                                  ATTN: GENERAL COUNSEL, ONE
                                                                                                  NATIONWIDE PLAZA, COLUMBUS, OH
                                                                                                  43215-2239
28072831           Email/Text: jantonelli@nomshealthcare.com
                                                                           Feb 06 2025 20:34:00   NORTHERN OHIO MEDICAL SPECIALISTS,
                                                                                                  PO BOX 378, SANDUSKY, OH 44871-0378
28072845         + Email/Text: melissa@nurses-choice.com
                                                                           Feb 06 2025 20:34:00   NURSES CHOICE CORP, PO BOX 958,
                                                                                                  WRIGHTSVILLE BEACH, NC 28480-0958
28072851         + Email/Text: payments@oemeyer.com
                                                                           Feb 06 2025 20:33:00   O E MEYER CO, PO BOX 479, SANDUSKY,
                                                                                                  OH 44871-0479
28072858           Email/Text: uibankruptcy@jfs.ohio.gov
                                                                           Feb 06 2025 20:34:00   ODJFS, PO BOX 182404, COLUMBUS, OH
                                                                                                  43218-2404
28072859         + Email/Text: payments@oemeyer.com
                                                                           Feb 06 2025 20:33:00   OE MEYER CO, ATTN: GENERAL COUNSEL,
                                                                                                  3303 TIFFIN AVE, SANDUSKY, OH
                                                                                                  44870-9784
28072864         + Email/Text: ustpregion09.cl.ecf@usdoj.gov
                                                                           Feb 06 2025 20:34:00   OFFICE OF THE UNITED STATES TRUSTEE,
                                                                                                  ATTN: KATE M. BRADLEY, TRIAL
                                                                                                  ATTORNEY, HOWARD M. METZENBAUM
                                                                                                  U.S. COURTHOUSE, 201 SUPERIOR AVENUE
                                                                                                  EAST, SUITE 441, CLEVELAND, OH
                                                                                                  44114-1234
28072870           Email/Text: OHAGCEBKYEBN@ohioattorneygeneral.gov
                                                                           Feb 06 2025 20:33:00   OHIO ATTORNEY GENERAL, COLLECTION
                                                                                                  ENFORCEMENT SECTION, ATTN:
                                                                                                  BANKRUPTCY UNIT, 30 EAST BROAD ST.,
                                                                                                  14TH FLOOR, COLUMBUS, OH 43215
28072873           Email/Text: bwclegalbankruptcy@bwc.ohio.gov
                                                                           Feb 06 2025 20:34:00   OHIO BUREAU OF WORKERS'
                                                                                                  COMPENSATION, 30 W. SPRING ST.,
                                                                                                  COLUMBUS, OH 43215-2256
28072872           Email/Text: bwclegalbankruptcy@bwc.ohio.gov
                                                                           Feb 06 2025 20:34:00   OHIO BUREAU OF WORKERS'
                                                                                                  COMPENSATION, ATTN: LAW SECTION
                                                                                                  BANKRUPTCY UNIT, P.O. BOX 15567,
                                                                                                  COLUMBUS, OH 43215-0567
28072878           Email/Text: uibankruptcy@jfs.ohio.gov
                                                                           Feb 06 2025 20:34:00   OHIO DEPARTMENT OF JOB AND FAMILY
                                                                                                  SERVIC, ATTN: LEGAL SUPPORT -
                                                                                                  BANKRUPTCY, P.O. BOX 182830,
                                                                                                  COLUMBUS, OH 43218-2830
28072879         + Email/Text: uibankruptcy@jfs.ohio.gov
                                                                           Feb 06 2025 20:34:00   OHIO DEPARTMENT OF JOB AND FAMILY
                                                                                                  SERVIC, 30 E BROAD ST, COLUMBUS, OH
                                                                                                  43215-3414
28072884         + Email/Text: Bankruptcy.notices@tax.state.oh.us
                                                                           Feb 06 2025 20:34:00   OHIO DEPARTMENT OF TAXATION, 4485
                                                                                                  NORTHLAND RIDGE BLVD, COLUMBUS, OH
                                                                                                  43229-6596
28072883           Email/Text: Bankruptcy.notices@tax.state.oh.us
                                                                           Feb 06 2025 20:34:00   OHIO DEPARTMENT OF TAXATION, ATTN:
                                                                                                  BANKRUPTCY DIVISION, P.O. BOX 530,
                                                                                                  COLUMBUS, OH 43216-0530
28072887           Email/Text: bankruptcy@firstenergycorp.com
                                                                           Feb 06 2025 20:34:00   OHIO EDISON, 1910 WEST MARKET STREET,
                                                                                                  AKRON, OH 44313
28072886           Email/Text: bankruptcy@firstenergycorp.com
                                                                           Feb 06 2025 20:34:00   OHIO EDISON, P.O. BOX 3687, AKRON, OH
                                                                                                  44309-3687




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28072932         + Email/Text: creditdept@orthoclinicaldiagnostics.com
                                                                           Feb 06 2025 20:34:00   ORTHO CLINICAL DIAGNOS, PO BOX 3655,
                                                                                                  CAROL STREAM, IL 60132-3655
28072933           Email/Text: creditdept@orthoclinicaldiagnostics.com
                                                                           Feb 06 2025 20:34:00   ORTHO CLINICAL DIAGNOSTIC, PO BOX
                                                                                                  3655, CAROL STREAM, IL 60132-3655
28072934         + Email/Text: creditdept@orthoclinicaldiagnostics.com
                                                                           Feb 06 2025 20:34:00   ORTHO-CLINICAL DIAGNOSTICS INC,
                                                                                                  ATTN: GENERAL COUNSEL, 1001 US ROUTE
                                                                                                  202, RARITAN, NJ 08869-1487
28073021         + Email/Text: bankruptcy@pb.com
                                                                           Feb 06 2025 20:34:00   PITNEY BOWES INC, ATTN: GENERAL
                                                                                                  COUNSEL, PO BOX 371887, PITTSBURGH, PA
                                                                                                  15250-7887
28073071           Email/Text: ar@progressivemedinc.com
                                                                           Feb 06 2025 20:34:00   PROGRESSIVE MEDICAL INC., 997 HORAN
                                                                                                  DRIVE, FENTON, MO 63026-2401
28073095           Email/Text: cherylanselmo@quadax.com
                                                                           Feb 06 2025 20:34:00   QUADAX INC, 25201 CHAGRIN BLVD,
                                                                                                  BEACHWOOD, OH 44122-5633
28073096         + Email/Text: cherylanselmo@quadax.com
                                                                           Feb 06 2025 20:34:00   QUADAX INC, ATTN: ATTN: ANTHONY W
                                                                                                  PETRAS, CEO, 7500 OLD OAK BLVD,
                                                                                                  CLEVELAND, OH 44130-3343
28073094         + Email/Text: cherylanselmo@quadax.com
                                                                           Feb 06 2025 20:34:00   QUADAX INC, 7500 OLD OAK BLVD,
                                                                                                  CLEVELAND, OH 44130-3343
28073157         + Email/Text: bankruptcy@republicbank.com
                                                                           Feb 06 2025 20:34:00   REPUBLIC BANK, 601 W. MARKET STREET,
                                                                                                  LOUISVILLE, KY 40202-2700
28073159         ^ MEBN
                                                                           Feb 06 2025 20:29:15   REPUBLIC SERVICES 263, PO BOX 9001099,
                                                                                                  LOUISVILLE, KY 40290-1099
28073164         + Email/Text: bankruptcynotices@keybridgemed.com
                                                                           Feb 06 2025 20:34:00   REVENUE MANAGEMENT GROUP INC,
                                                                                                  D/B/A KEYBRIDGE MEDICAL REVENUE
                                                                                                  CARE, SCOTT KOENIG, PRESIDENT, 2348
                                                                                                  BATON ROUGE AVE, LIMA, OH 45805-1167
28073166         + Email/Text: bankruptcynotices@keybridgemed.com
                                                                           Feb 06 2025 20:34:00   REVENUE MANAGEMENT GROUP INC,
                                                                                                  D/B/A KEYBRIDGE MEDICAL REVENUE
                                                                                                  CARE, 2348 BATON ROUGE AVE, LIMA, OH
                                                                                                  45805-1167
28073165         + Email/Text: bankruptcynotices@keybridgemed.com
                                                                           Feb 06 2025 20:34:00   REVENUE MANAGEMENT GROUP INC,
                                                                                                  D/B/A KEYBRIDGE MEDICAL REVENUE
                                                                                                  CARE, MICHEL A CLEMENT, CONTROLLER,
                                                                                                  2348 BATON ROUGE AVE, LIMA, OH
                                                                                                  45805-1167
28073203         + Email/Text: indianapolis.creditcbsc@roche.com
                                                                           Feb 06 2025 20:34:00   ROCHE DIAGNOSTICS CORP, 9115 HAGUE
                                                                                                  ROAD BLDG B, INDIANAPOLIS, IN
                                                                                                  46256-1045
28073206         + Email/Text: indianapolis.creditcbsc@roche.com
                                                                           Feb 06 2025 20:34:00   ROCHE DIAGNOSTICS CORPORATION,
                                                                                                  ATTN: GENERAL COUNSEL, 9115 HAGUE
                                                                                                  RD, BLDG B, INDIANAPOLIS, IN 46256-1045
28073304         + Email/Text: secbankruptcy@sec.gov
                                                                           Feb 06 2025 20:34:00   SECURITIES & EXCHANGE COMMISSION,
                                                                                                  ATTN: SECRETARY OF THE TREASURY, 100
                                                                                                  F STREET, NE, WASHINGTON, DC
                                                                                                  20549-2001
28073371         + Email/Text: mrector@skytron.us
                                                                           Feb 06 2025 20:34:00   SKYTRON, 5085 CORPORATE ESCHANGE
                                                                                                  BLVD SE, GRAND RAPIDS, MI 49512-5515
28073384           Email/Text: CreditLimit.US@smith-nephew.com
                                                                           Feb 06 2025 20:33:00   SMITH & NEPHEW INC., PO BOX 842935,
                                                                                                  DALLAS, TX 75284-2935
28073412           Email/Text: dl-csgbankruptcy@charter.com
                                                                           Feb 06 2025 20:34:00   SPECTRUM BUSINESS, C/O TIME WARNER
                                                                                                  CABLE, PO BOX 916, CAROL STREAM, IL
                                                                                                  60132-0916
28073411         + Email/Text: dl-csgbankruptcy@charter.com
                                                                           Feb 06 2025 20:34:00   SPECTRUM BUSINESS, 400 WASHINGTON
                                                                                                  BLVD., STAMFORD, CT 06902-6641
28073428           Email/PDF: ais.tmobile.ebn@aisinfo.com
                                                                           Feb 06 2025 20:42:18   SPRINT, PO BOX 4181, CAROL STREAM, IL




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                                                                                                   60197-4181
28073429         + Email/PDF: ais.tmobile.ebn@aisinfo.com
                                                                            Feb 06 2025 20:41:55   SPRINT, 6200 SPRINT PARKWAY,
                                                                                                   OVERLAND PARK, KS 66251-6105
28073438           Email/Text: jdosker@standenergy.com
                                                                            Feb 06 2025 20:33:00   STAND ENERGY CORPORATION, 1077
                                                                                                   CELESTIAL ST., SUITE 110, CINCINNATI, OH
                                                                                                   45202
28073440           Email/Text: sat_ardept@stanleyworks.com
                                                                            Feb 06 2025 20:34:00   STANLEY ACCESS TECH LLC/, PO BOX
                                                                                                   0371595, PITTSBURGH, PA 15251-7595
28073456           Email/Text: BankruptcyNotice@Stericycle.com
                                                                            Feb 06 2025 20:33:00   STERICYCLE INC, ATTN: CONTRACTS, 2355
                                                                                                   WAUKEGAN RD, BANNOCKBURN, IL 60015
28073457           Email/Text: BankruptcyNotice@Stericycle.com
                                                                            Feb 06 2025 20:33:00   STERICYCLE INC, ATTN: GENERAL
                                                                                                   COUNSEL, 4010 COMMERCIAL AVE,
                                                                                                   NORTHBROOK, IL 60062
28073455           Email/Text: BankruptcyNotice@Stericycle.com
                                                                            Feb 06 2025 20:33:00   STERICYCLE INC, PO BOX 6575, CAROL
                                                                                                   STREAM, IL 60197
28073519           Email/Text: EFBankruptcyNotices@huntington.com
                                                                            Feb 06 2025 20:34:00   TAMCO, PO BOX 77077, MINNEAPOLIS, MN
                                                                                                   55480-7777
28073553         + Email/Text: bspringer@bostwick-braun.com
                                                                            Feb 06 2025 20:34:00   THE BOSTWICK-BRAUN COMPANY, 7349
                                                                                                   CROSSLEIGH CT, TOLEDO, OH 43617-3108
28073576         + Email/Text: pdawson@toledoclinic.com
                                                                            Feb 06 2025 20:34:00   THE TOLEDO CLINIC, 4235 SECOR RD,
                                                                                                   TOLEDO, OH 43623-4299
28073611         + Email/Text: customerservicecalls@promedica.org
                                                                            Feb 06 2025 20:34:00   TOLEDO HOSPITAL-OUTSID, 2142 N COVE
                                                                                                   BLVD, TOLEDO, OH 43606-3896
28073632         + Email/Text: randall.rees@tabbank.com
                                                                            Feb 06 2025 20:33:00   TRANSPORTATION ALLIANCE BANK, 4185
                                                                                                   HARRISON BLVD., OGDEN, UT 84403-6400
28073667           Email/Text: USAOHN.BankruptcyCle@usdoj.gov
                                                                            Feb 06 2025 20:33:00   UNITED STATES ATTORNEY, ATTN
                                                                                                   BANKRUPTCY DIVISION, CARL B. STOKES
                                                                                                   UNITED STATES COURTHOUSE, 801 WEST
                                                                                                   SUPERIOR AVENUE, SUITE 400,
                                                                                                   CLEVELAND, OH 44113-1852
28073655           Email/Text: misty.hoefs@usbank.com
                                                                            Feb 06 2025 20:34:00   U.S. BANK EQUIPMENT FINANCE, PO BOX
                                                                                                   790448, ST LOUIS, MO 63179-0448
28073656         + Email/Text: misty.hoefs@usbank.com
                                                                            Feb 06 2025 20:34:00   U.S. BANK EQUIPMENT FINANCE, 1310
                                                                                                   MADRID STREET, MARSHALL, MN
                                                                                                   56258-4099
28073658           Email/Text: arbankruptcy@uline.com
                                                                            Feb 06 2025 20:34:00   ULINE, PO BOX 88741, CHICAGO, IL
                                                                                                   60680-1741
28073666           Email/Text: sluna@ur.com
                                                                            Feb 06 2025 20:34:00   UNITED RENTALS, PO BOX 100711,
                                                                                                   ATLANTA, GA 30384-0711
28073676         + Email/Text: misty.hoefs@usbank.com
                                                                            Feb 06 2025 20:34:00   US BANK EQUIPMENT FINANCE, ATTN:
                                                                                                   GENERAL COUNSEL, 1310 MADRID ST, STE
                                                                                                   101, MARSHALL, MN 56258-4002
28073681         + Email/Text: bankruptcyecf.shared@usfoods.com
                                                                            Feb 06 2025 20:34:00   US FOODS, INC., ATTN: JAMIE ARMSRONG,
                                                                                                   9399 WEST HIGGINS ROAD, SUITE 100,
                                                                                                   ROSEMONT, IL 60018-4910
28073682         + Email/Text: bankruptcyecf.shared@usfoods.com
                                                                            Feb 06 2025 20:34:00   US FOODS, INC., 9399 WEST HIGGINS ROAD,
                                                                                                   ROSEMONT, IL 60018-6900
28073686           Email/Text: sm.rd.so.bkr@usda.gov
                                                                            Feb 06 2025 20:34:00   USDA - RD, PO BOX 790170, ST LOUIS, MO
                                                                                                   63179-0170
28073687           Email/Text: HBURRER@UFPB.NET
                                                                            Feb 06 2025 20:34:00   USER FRIENDLY PHONE BOOK, PO BOX
                                                                                                   131929, THE WOODLANDS, TX 77393-1929
28073719           Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                            Feb 06 2025 20:33:00   VERIZON, P.O. BOX 16810, NEWARK, NJ
                                                                                                   07101-6810
28073720         + Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com




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District/off: 0647-3                                              User: dzeme                                                           Page 51 of 53
Date Rcvd: Feb 06, 2025                                           Form ID: pdf912                                                    Total Noticed: 2717
                                                                                   Feb 06 2025 20:33:00     VERIZON, 1095 AVENUE OF THE
                                                                                                            AMERICAS, NEW YORK, NY 10036-6704
28073721                 Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                                  Feb 06 2025 20:33:00      VERIZON WIRELESS, PO BOX 16810,
                                                                                                            NEWARK, NJ 07101-6810
28073845                 Email/Text: peggy@workman.com
                                                                                   Feb 06 2025 20:34:00     WORKMAN PUBLISHING CO, 225 VARICK
                                                                                                            ST, NEW YORK, NY 10014-4381
28073875              + Email/Text: bankruptcies@zimmerbiomet.com
                                                                                   Feb 06 2025 20:34:00     ZIMMER BIOMET, 14235 COLLECTION
                                                                                                            DRIVE, CHICAGO, IL 60693-0001

TOTAL: 154


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
28071199                      ANDRES, HUNTER, FBC-TBH
28071367                      BISIGNANO, HANAH, RESPIRATORY THERAPY
28071394                      BOLLINGER, COURTNEY, DIAG IMAGING
28071426                      BROKAW, SARA, ADMINISTRATION
28071503                      CARLSON, GINA, CARDIO/RT-TBH
28071638                      COOK, DONNA, HUMAN RESOURCES
28071655                      COUSINO RESTORATION, ATTN: MICHAEL AUGHINBAUCH
28072042                      GAZDECKI, ANDREA, TBH-WOUND
28072140                      HACKENBURG, MATTHEW, PLANT OPS
28072189                      HEALTHCARE REIMBURSEMENT SERVICES
28072382                      JESSICA RAPP, HOSPITALIST
28072432                      KISTLER, SUE, INFECTION PREVENTION -
28072451                      KRAMER, DAN, CARDIAC REHAB
28072570                      MASON, CARRIE, EDUCATION TBH
28072594                      MCGINNIS, SUZANNE, CASE MGT-TBH
28072687                      MERIATIVE, ORIGINALLY DR BECAME MERGE, BECAME IBM, BECAME MERATIVE)
28072777                      NASON, TRACEY, DIETARY-TBH
28072795                      NEO GOV POWER DMS
28072802                      NICHOLS, LORETTA, ONCOLOGY
28072838                      NORTHWEST OHIO TRAUMA REGISTRY
28072952                      OVERMYER, LINDSAY, MED SURG-TBH
28073172                      RHOADES, AMY, PT COMM ED
28073390                      SMITH, KATHRYN, MED SURG
28073536                      TERRA STATE COMMUNITY COLLEGE, ATTN: SARAH RESOR
28073592                      THOMPSON, CHRISTIN, REHAB - TBH
28073758                      WADSWORTH SOLUTIONS, ATTN: MIKE HOTZ, ACCOUNT MANAGER
28073790                      WEBB, TERRY, CARDIO/RT-TBH
28071072        *             3M, PO BOX 371227, PITTSBURGH, PA 15250-7227
28071159        *             ALTERA DIGITAL HEALTH INC, PO BOX 735183, CHICAGO, IL 60673-5183
28071232        *+            ARUP LABORATORIES, PO BOX 27964, SALT LAKE CITY, UT 84127-0964
28071353        *             BIOMERIEUX INC, PO BOX 500308, ST LOUIS, MO 63150-0308
28071555        *             CINTAS CORPORATION 318, PO BOX 630910, CINCINNATI, OH 45263-0910
28071620        *+            CONCORDANCE HEALTHCARE SOLUTIONS LLC, ATTN: GENERAL COUNSEL, 85 SHAFFER PARK DR, TIFFIN, OH
                              44883-9290
28071707        *+            DARLING INGREDIENTS INC, ATTN: GENERAL COUNSEL, 5601 N MACARTHUR BLVD, IRVING, TX 75038-2619
28071800        *             DRFIRST.COM, INC, PO BOX 791487, BALTIMORE, MD 21279-1487
28071864        *+            EMRHEIN & ASSOCIATES, 7515 PEARL ROAD, MIDDLEBURG HTS, OH 44130-6409
28071930        *             FIFTH THIRD BANK, PO BOX 633589, CINCINNATI, OH 45263-3589
28072030        *             GANNETT OHIO LOCALIQ, PO BOX 630599, CINCINNATI, OH 45263-0599
28072048        *P++          GE HEALTHCARE, 3000 N GRANDVIEW BLVD, WAUKESHA WI 53188-1615, address filed with court:, GE MEDICAL
                              SYSTEMS, ATTN: JOANNE ACKLAND, PO BOX 96483, CHICAGO, IL 60693
28072049        *P++          GE HEALTHCARE, 3000 N GRANDVIEW BLVD, WAUKESHA WI 53188-1615, address filed with court:, GE MEDICAL
                              SYSTEMS, PO BOX 96483, CHICAGO, IL 60693
28072862        *P++          GE HEALTHCARE, 3000 N GRANDVIEW BLVD, WAUKESHA WI 53188-1615, address filed with court:, OEC MEDICAL
                              SYSTEMS INC, ATTN: GENERAL COUNSEL, 5517 COLLECTIONS CENTER DR, CHICAGO, IL 60693
28072044        *P++          GE HEALTHCARE, 3000 N GRANDVIEW BLVD, WAUKESHA WI 53188-1615, address filed with court:, GE
                              HEALTHCARE, ATTN: JOANNE ACKLAND, PO BOX 96483, CHICAGO, IL 60693




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28072221     *            HFMA, PO BOX 4237, CAROL STREAM, IL 60197-4237
28072267     *            HOY, DOUG, 1265 W. MAIN STREET, BELLEVUE, OH 44811-9055
28072293     *            ICAD, INC., PO BOX 97454, LAS VEGAS, NV 89193-7454
28072331     *            INTEGRATED MEDICAL, INC., 7012 S REVERE PARKWAY STE 140, CENTENNIAL, CO 80112-6769
28072340     *            INTERNAL REVENUE SERVICE, P.O. BOX 7346, PHILADELPHIA, PA 19101-7346
28072342     *+           INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATION, 2970 MARKET STREET, MAIL STOP 5
                          Q30 133, PHILADELPHIA, PA 19104-5002
28072343     *            INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATION, P.O. BOX 7346, PHILADELPHIA, PA
                          19101-7346
28072341     *+           INTERNAL REVENUE SERVICE, INSOLVENCY GROUP 6, 1240 EAST NINTH STREET, ROOM 493, CLEVELAND, OH
                          44199-9941
28072635     *            MEDICAL MUTUAL, L - 3963, COLUMBUS, OH 43260-3963
28072648     *P++         MEDLINE INDUSTRIES INC, ATTN ANNE KISHA, ONE MEDLINE PL, MUNDELEIN IL 60060-4486, address filed with
                          court:, MEDLINE INDUSTRIES INC, BOX 382075, PITTSBURGH, PA 15251-8075
28072774     *            NANOSONICS INC, DEPT CH 10899, PALATINE, IL 60055-0899
28072852     *            O E MEYER CO, PO BOX 479, SANDUSKY, OH 44871-0479
28072876     *            OHIO CAT, PO BOX 854439, MINNEAPOLIS, MN 55485-4349
28072905     *            OLYMPUS AMERICA INC., PO BOX 200194, PITTSBURG, PA 15251-0194
28072908     *            OLYMPUS FINANCIAL SERV, PO BOX 200183, PITTSBURGH, PA 15251-0194
28073003     *P++         PERRY PROTECH INC, 265 COMMERCE PARKWAY, LIMA OH 45804-4011, address filed with court:, PERRY PROTECH,
                          ATTN: GENERAL COUNSEL, 1089 FAIRINGTON DR, SIDNEY, OH 45365
28073055     *            PRESS GANEY ASSOC. INC., BOX 88335, MILWAUKEEE, WI 53288-0335
28073315     *+           SENECA MEDICAL LLC, ATTN: GENERAL COUNSEL, 85 SHAFFER PARK DR, TIFFIN, OH 44883-9290
28073548     *+           THE BANK OF NEW YORK MELLON TRUST COMPAN, ATTN. GARY S. BUSH, SENIOR VICE PRESIDENT, 240
                          GREENWICH STREET 7 EAST, NEW YORK, NY 10286-0001
28073574     *+           THE ORTHOPAEDIC INSTITUTE OF OHIO, INC., ATTENTION: PRESIDENT, 801 MEDICAL DRIVE, SUITE A, LIMA,
                          OH 45804-4030
28073633     *+           TRANSPORTATION ALLIANCE BANK INC., 4185 HARRISON BLVD., OGDEN, UT 84403-6400
28071097     ##+          ACCESSRN INC, ATTN: CONTRACTS, 1540 S HOLLAND SYLVANIA, STE 101, MAUMEE, OH 43537-1368
28071129     ##+          AIR FORCE ONE INC, 5810 SHIER RINGS ROAD, DUBLIN, OH 43016-6239
28071169     ##+          AMENDIA INC, ATTN: GENERAL COUNSEL, 1755 WEST OAK PKWY, MARIETTA, GA 30062-2260
28071173     ##           AMERICAN COLLEGE OF RA, 1891 PRESTON WHITE DRI, RESTON, VA 20191-4397
28071227     ##+          ARROW HEALTHCARE STAFF, 27777 FRANKLIN, STE 12, SOUTHFIELD, MI 48034-8216
28071228     ##+          ARROW HEALTHCARE STAFFING, LLC, 27777 FRANKLIN, STE 1200, SOUTHFIELD, MI 48034-8216
28071325     ##           BENTLEY & SMART, PO BOX 588, FAIRFIELD, PA 17320-0588
28071332     ##+          BERKELEY MEDEVICES INC, 1330 S 51ST STREET, RICHMOND, CA 94804-4628
28071348     ##           BIODEX MEDICAL SYSTEMS, 20 RAMSAY ROAD, SHIRLEY, NY 11967-4704
28071368     ##+          BIZMATICS INC, ATTN: GENERAL COUNSEL, 4010 MOORPARK AVE, STE 222, SAN JOSE, CA 95117-1813
28071474     ##+          CANDY DEPOT, 120 EAST MAIN ST, BELLEVUE, OH 44811-1407
28071486     ##+          CAPSULE TECH INC, 300 BRICKSTONE SQUARE, ANDOVER, MA 01810-1454
28071494     ##+          CARDTHARTIC, LLC, 3102 RESEARCH ROAD, CHAMPAIGN, IL 61822-1175
28071671     ##+          CRANEWARE, ATTN: GENERAL COUNSEL, 3340 PEACHTREE RD NE, STE 850, ATLANTA, GA 30326-1072
28071680     ##+          CROS.NET INC., 125B MAPLE ST, PORT CLINTON, OH 43452-1350
28071801     ##+          DRFIRSTCOM INC, ATTN: GENERAL COUNSEL, 9420 KEY WEST AVE, STE 101, ROCKVILLE, MD 20850-6379
28071831     ##+          EDGE PHARMACY SERVICES, LLC, 450 WEAVER ST, STE 3, WINOOSKI, VT 05404-4401
28071880     ##+          EPIPHANY HEALTHCARE, 3000 E BOUNDRY TERRACE, MIDLOTHIAN, VA 23112-3934
28071879     ##+          EPIPHANY HEALTHCARE, 3000 E BOUNDRY TERRACE, SUITE 2, MIDLOTHIAN, VA 23112-3934
28071899     ##+          ESTES PARK INSTITUTE, PO BOX 400, ENGLEWOOD, CO 80151-0400
28072090     ##+          GLOBAL HR RESEARCH, 9530 MARKETPACE RD, SUITE 301, FORT MYERS, FL 33912-0393
28072176     ##+          HAYES LOCUMS, 6700 N ANDREWS AVE, FT. LAUDERDALE, FL 33309-2199
28072192     ##+          HEALTHSCOPE BENEFITS, PO BOX 779, LITTLE ROCK, AR 72203-0779
28072202     ##+          HELMER, 14395 BERGEN BLVD, NOBELSVILLE, IN 46060-3305
28072305     ##+          IMPRIVATA, 10 MACGUIRE RD, LEXINGTON, MA 02421-3120
28072319     ##+          INNOVATIVE CAREER CONSULTING INC, 1873 S BELLAIRE STREET, DENVER, CO 80222-4301
28072421     ##+          KEVIN MCGOVERN ASSOCIATES, INC, 4245 DIPLOMACY DR, COLUMBUS, OH 43228-3803
28072435     ##+          KMJ COMMUNICATIONS, 7380 32ND AVENUE NORTH SUITE 200, MINNEAPOLIS, MN 55427-2857
28072460     ##+          KWICKSCREEN, 760 LEONA LANE, MOUNTAIN VIEW, CA 94040-3752
28072608     ##+          MCRA LLC, ATTN: GENERAL COUNSEL, 1050 K ST NW, STE 1000, WASHINGTON, DC 20001-4492
28072658     ##+          MEDSPHERE SYSTEMS CORP, 1220 E 7800S, FL 3, SANDY, UT 84094-7283
28072673     ##+          MEGADYNE MEDICAL PRODUCT, PO BOX 1332, SANDY, UT 84091-1332
28072827     ##+          NORTHEAST MEDICAL CONSULTING, INC., 57 WEST LIBERTY, HUBBARD, OH 44425-1706
28072828     ##+          NORTHEDGE STEEL, PO BOX 911, NEW CASTLE, IN 47362-0911
28072833     ##+          NORTHWEST OHIO MEDICAL, 1749 TIFFIN AVE, FINDLAY, OH 45840-6833
28072834     ##+          NORTHWEST OHIO MEDICAL EQUIPMENT, 1749 TIFFIN AVE, FINDLAY, OH 45840-6833




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District/off: 0647-3                                               User: dzeme                                                        Page 53 of 53
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28072894            ##+          OHIO PHYSICIANS HEALTH PROGRAM, 130 E CHESTNUT ST., STE 400, COLUMBUS, OH 43215-2598
28073027            ##+          POLYMEDICS INNOVATIONS INC., 8681 HIGHWAY 92, WOODSTOCK, GA 30189-6515
28073240            ##+          RZLYNT LLC, 48 1/2 EAST MAIN ST, NORWALK, OH 44857-1508
28073336            ##+          SHIPPERT MEDICAL, 6248 S TROY CIRCLE, CENTENNIAL, CO 80111-6485
28073561            ##+          THE DAISY FOUNDATION, 11995 DUNBAR RD, GLEN ELLEN, CA 95442-9611
28073572            ##+          THE NUTMAN COMPANY USA, INC, 1319 SR 175, HUBERTUS, WI 53033-9312
28073660            ##+          ULRICH MEDICAL USA, INC, 18221 EDISON AVE, CHESTERFIELD, MO 63005-3703
28073778            ##           WATER SERVICE CO LTD, PO BOX 8317, CANTON, OH 44711-8317

TOTAL: 27 Undeliverable, 36 Duplicate, 44 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 08, 2025                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 6, 2025 at the address(es) listed
below:
Name                             Email Address
Andrew Dennis Rebholz
                                 on behalf of Debtor The Bellevue Hospital rebholz@asnalaw.com

Carrie M. Brosius
                                 on behalf of Creditor Fifth Third Bank National Association cmbrosius@vorys.com, mdwalkuski@vorys.com

James Alan Coutinho
                                 on behalf of Debtor The Bellevue Hospital coutinho@asnalaw.com schenck@asnalaw.com

Kari B. Coniglio
                                 on behalf of Creditor Fifth Third Bank National Association kbconiglio@vorys.com, mdwalkuski@vorys.com

Kate M. Bradley ust44
                                 on behalf of U.S. Trustee United States Trustee kate.m.bradley@usdoj.gov

Lauren Schoenewald ust47
                                 on behalf of U.S. Trustee United States Trustee lauren.schoenewald@usdoj.gov

Patricia B. Fugee
                                 on behalf of Creditor THE BANK OF NEW YORK MELLON TRUST COMPANY N.A. patricia.fugee@fisherbroyles.com,
                                 cpbf11@trustesolutions.net

Richard K. Stovall
                                 on behalf of Debtor The Bellevue Hospital stovall@asnalaw.com kittle@asnalaw.com;ecf@OmniAgnt.com;kittle@asnalaw.com

Thomas R. Allen
                                 on behalf of Debtor The Bellevue Hospital allen@asnalaw.com schenck@asnalaw.com


TOTAL: 9




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  The court incorporates by reference in this paragraph and adopts as the findings and orders
  of this court the document set forth below. This document has been entered electronically in
  the record of the United States Bankruptcy Court for the Northern District of Ohio.




                Dated: February 6 2025




                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

  In re:                                               :           Case No. 25-30191
           The Bellevue Hospital                       :           Chapter 11
                                                       :
                  Debtor.                              :           Judge Mary Ann Whipple

    ORDER GRANTING MOTION FOR EXTENSION OF TIME TO FILE SCHEDULES
     OF ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS
                                (DOC. 17)

           This matter comes before the Court on the Motion for Extension of Time to File Schedules

  of Assets and Liabilities and Statement of Financial Affairs (the “Motion”) (Doc. 17), filed by The

  Bellevue Hospital, debtor and debtor in possession (the “Debtor”). Through the Motion, the Debtor

  requests an extension of the deadline for filing its Schedules of Assets and Liabilities and

  Statement of Financial Affairs through and including February 26, 2025.

           The Court held a hearing on the Motion on an expedited basis with other first day matters.

  The Debtor demonstrated at the hearing that notice of the hearing was in accordance with the

  Court’s orders and was proper. Notice of the Motion has been given to the Debtor, the Office of

  the United States Trustee, the twenty largest unsecured creditors, Fifth Third Bank, First National



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  Bank, the Debtor’s members, and those other parties requesting notice. Notice of the Motion was

  adequate and no further notice need be given.

         Based on the matters contained in the Motion, proper service of the Motion having been

  completed, and consideration of the matters presented at the hearing, the Court finds the Motion

  to be well-taken and it is approved.

         It is therefore ORDERED that the deadline for the Debtor to file its Schedules and

  Statement and any related documents is hereby extended to February 26, 2025.

         SO ORDERED.

  SUBMITTED BY:

   /s/ Richard K. Stovall
  Thomas R. Allen         (0017513)
  Richard K. Stovall (0029978)
  James A. Coutinho (0082430)
  Andrew D. Rebholz (0102192)
  Allen Stovall Neuman & Ashton LLP
  10 West Broad Street, Suite 2400
  Columbus, OH 43215
  allen@asnalaw.com; stovall@asnalaw.com
  coutinho@asnalaw.com; rebholz@asnalaw.com
  Proposed Counsel for Debtor




                                                  2



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